Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 1 of 120

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

 

 

 

  
  

ATLANTA DIVISION
K. JEFF CARNEY, M.D., PHARMD., )
) CIVIL ACTION FILE NUMBER:
Plaintiff, )
)
v. )
)
EMORY UNIVERSITY, )
)
Defendant. )
COMPLAINT
GARY BUNCH LG,
Sung /
orgia Bar Number 094612
\ttorney for Plaintiff K. Jeff Carney,
M.D., Pharm D.
208 Corporate Drive f

Carrollton, Georgia 30117
(770) 836-0405

July 13, 2021

  
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 2 of 120

TABLE OF CONTENTS

Jurisdiction and Venue... ... 0... ccc ce eee eee nee ens l
PartieS 0. cece e eee eee eee ee nes 2
Facts 0... eee eee eee eee eee eee eee 2
1. Dr. Carney’s is widely recognized as a brilliant urology

TECONStIUCTIVE SUTZEON. 2... eee ee eens 2
2. Defendant’s two types of faculty states: limited and continuous .... 6
3. Defendant, nearly 20 years ago, entered into its only written

employment contract with Dr. Carney............. 00.000 e eee 8
4. Dr. Carney’s continuous faculty status .... 0.2... eee ee ee eee 9
5. Dr. Carney has de facto tenure ........ 0.0... cece eee ee 19
6. Dr. Sanda’s suspicious and baseless allegations, last September,

against Dr. Carney... 2.2... eee eee ee nees 25
7. Defendant’s relentless and wrongful efforts to force Dr. Carney to

undergo psychological counseling involving a

medical examination ....... 0.0... eee cece eee eens 28
8. Defendant’s demand for Dr. Carney to undergo psychological

counseling, which would have involved a medical examination,

violated the ADA... 0... ccc cece eee nn ees 32
9. Defendant’s planned wrongful termination of Dr. Carney in violation

of the ADA because he rightfully refused the proposed

psychological counseling... 0... 0.0.0... ee eee eens 34
10. Defendant’s blatant and inexcusable violations of Dr. Carney’s due

 

process rightS 2.0... eee cece eee eee ee eee ene ee 36

-li-
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 3 of 120

11. The SOM’s Dean treats the SOM’s clinical faculty members as
Virtual non-entities 22... . cee eee eee tenes 38

12. The Dean’s hands off approach to personnel decisions involving
clinical faculty members has enabled Dr. Sanda to engage in a
retaliatory personal vendetta against Dr. Carney .............. 40

13. Defendant’s decision-makes, above Dr. Sanda in Defendant’s Chain
of Command, have been derelict in their duty to protect Dr. Carney’s
rights by refusing to address the planned wrongful
termination of Dr. Carney’s employment ..................0.4. 42

14. Defendant’s violations of Dr. Carney’s rights will cause Dr. Carney
to suffer irreparable harm ......... 0... cece cece eee eee ees 46

15. Defendant’s termination of Dr. Carney’s employment will have
profound collateral consequences upon other persons causing
them to suffer irreparable harm... ........... 0c cece eee 48

Count One: Dr. Carney’s right, under the ADA, to injunctive relief ..... 50

Count Two: Dr. Carney’s entitlement to injunctive relief because of his
quasi-tenure rights... 0.0... ce eee eee eee eens 54

ili
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 4 of 120

JURISDICTION AND VENUE
l.

The Court, pursuant to the Americans with Disabilities Act 41 U.S.C, 12101
et. seq. (“ADA”), has jurisdiction over the subject matter and the parties. Plaintiff,
also, invokes this Court’s jurisdiction under the Declaratory Judgment Act, 28
U.S.C. 2201, et. seq., as Plaintiff seeks declaratory and injunctive relief as such
relief is necessary and desirable and in the interest of justice to provide Plaintiff a
full and complete remedy for Defendant’s indefensible violations of his rights.
The Court, pursuant to 28 U.S.C. 1367, has supplemental jurisdiction over
Plaintiff's pendent state law claims.

2.

Venue, pursuant to 28 U.S.C. 1391, is proper in this Judicial district,

because Defendant resides in this judicial district and its wrongful acts given rise

to plaintiffs claims occurred in this judicial district.
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 5 of 120

PARTIES
3.

Plaintiff K. Jeff Carney, M.D., PharmD. (“Dr. Carney”) is a physician
licensed to practice medicine by the State of Georgia and a pharmacist licensed to
practice pharmacy by the State of Georgia.

4.

Defendant Emory University (“Defendant”) is an institute of higher
education with several professional schools including a School of Medicine
(“SOM”). Defendant’s registered agent for service of process is Amy Adelman
located at Emory University, 201 Dowman Drive, 312 Administration Building,
Atlanta, Georgia 30322.

FACTS
1.

DR. CARNEY IS WIDELY RECOGNIZED AS A
BRILLIANT UROLOGY RECONSTRUCTIVE SURGEON

5.
Dr. Carney, for the past several years, has been the go-to surgeon in the

Southeast for complex urology reconstructive surgeries.
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 6 of 120

6.

Defendant’s 2015 personnel evaluation of Dr. Carney stated: “[Y]ou have
established a reputation as a premier reconstructive urological surgeon in the
Georgia-Alabama-South Carolina-Florida region.”

7.

Martha Terris, M.D., a faculty member of Augusta University f/k/a Medical
College of Georgia, has stated: “For years, Dr. Carney has been the first urologist
most of the urology community in Georgia call when they encounter difficult
reconstruction cases. . . over the years, Dr. Carney’s reputation has extended
beyond the borders of Georgia throughout the Southeast, the nation and even
internationally.” (Emphasis supplied.)

8.

Harry Clarke, M.D., a faculty member of the Medical College of South
Carolina, has stated that Dr. Carney “is recognized as one of the top
Reconstructive Urologists in the country, not only by myself and his peers but by

the residents who seek out his fellowship program.”
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 7 of 120

9.

Allen Morey, M.D., a faculty member of the University of Texas Medical
College Southwest, has characterized Dr. Carney as being the “regional/referral
surgeon for reconstructive urology in the Southeast US.”

10.

The above accolades, about Dr. Carney’s incredible surgical skills and
unsurpassed reputation as a urology reconstructive surgeon, are illustrative and not
exhaustive.

11.

Dr. Carney routinely performs successfully complex urology reconstructive
surgeries that other SOM’s clinical urology faculty members lack the ability to
perform.

12.

Many of the SOM’s clinical faculty members, in fact, are unwilling to
attempt many of the complex urology reconstructive surgeries that Dr. Carney
routinely performs successfully.

13,

Approximately 30% of Dr. Carney’s surgical patients are Georgia residents

residing outside the Atlanta Metropolitan area, who seek out Dr. Carney because

of his phenomenal results in high risk surgeries.

-4-
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 8 of 120

14.

Approximately 20% of Dr. Carney’s surgical patients are persons residing
outside of the State of Georgia, who seek out Dr. Carney because of his
phenomenal results in high risk surgeries.

15.

Dr. Carney’s reconstructive urology surgery practice focuses on the most

complex and challenging urological complications.
16.

Dr. Carney has developed a clinical program in reconstructive urology for
the most complex injuries to the urinary system due to retrogenic. penetration or
blunt trauma.

17.

Dr. Carney, who primarily performs high risk urological surgeries with little

or no margin of error, has never had a medical malpractice claim against him.
18.

Dr. Carney, throughout his nearly 20 year career as a member of
Defendant’s SOM faculty, has received glowingly superlative personnel
evaluations that reflect his unique and incredible reconstructive surgical talent and

his many valuable contributions to the SOM.

-5-
Case 1:21-cv-02802-TWT Document1 Filed 07/13/21 Page 9 of 120

19,

Defendant’s personnel evaluations of Dr. Carney are attached as Exhibit

 

“A”
2.
DEFENDANT’S TWO TYPES
OF FACULTY STATUS: LIMITED AND CONTINUOUS
20.
Defendant has two status of faculty members: limited status and continuous
status.

21.

Defendant’s Statement of Policy’s provides that limited faculty status is
terminated at the close of a period of time specified in writing for the appointee.
(See Exhibit “B.”)

22.

A limited faculty status member, if the faculty member is to continue after
the close of the period of time for his or her faculty appointment, has to be
renewed. (See Exhibit “B.’’)

23.

A faculty appointment, from its inception, can be a continuous appointment.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 10 of 120

24.

A limited faculty appointment can evolve into continuous faculty status.
25.

A non-tenured faculty member can have continuous faculty status.
26.

A continuous faculty status, whether from inception or as a result of
evolving over time, cannot to be terminated except for adequate cause, or by
retirement in accordance with the procedures of Defendant’s Retirement Plan. (See
Exhibit “B.”)

27.
Continuous faculty status does not have to be renewed.
28.
Continuous faculty status continues until the faculty member retires, resigns

or is terminated for cause. (See Exhibit “B.”)
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 11 of 120

29.
Continuous status faculty member may be terminated for only the following
limited reasons:
moral delinquency, neglect of academic duty,
incompetence, permanent physical or mental incapacity
for which there is no reasonable accommodation, or
other such adequate cause.
(See Exhibit “B.”)
3.

DEFENDANT, NEARLY 20 YEARS AGO, ENTERED INTO ITS ONLY
WRITTEN EMPLOYMENT CONTRACT WITH DR. CARNEY

30.
Dr. Carney, nearly 20 years ago, August 16, 2001, became a member of the
SOM faculty.
31,
Defendant drafted Dr. Carney’s August 16, 2001 faculty appointment
contract.
32.
Any ambiguity, in Dr. Carney’s written contract with Defendant, is resolved

against Defendant as the document’s drafter.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 12 of 120

33.

Defendant, in direct violation of its policy that a limited faculty status be for
a specific period of time, in its written contract with Dr. Carney failed to specify a
period of time for Dr. Carney’s limited faulty appointment status.

34.

A copy of Dr. Carney’s August 16, 2001 written contract appointing him to

the SOM’s faculty is attached as Exhibit “C.”
35.

Defendant’s contract with Dr. Carney explicitly stated: “University
guidelines requiring that these [limited status] faculty be given appropriate notice
if the appointment is not to be renewed in the subsequent year.”

4.
DR. CARNEY’S CONTINOUS FACULTY STATUS
36.

Dr. Carney, for 20 years next month, continuously has been a member of the

SOM’s faculty.
37.
Dr. Carney’s August 16, 2001 contract with Defendant, although potentially

renewable annually, did not automatically renew.

-9-
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 13 of 120

38.
Defendant, for the past several years, until May 26, 2021, has treated Dr.
Carney’s faculty status as if he has continuous faculty status.
39.
Defendant has never presented another faculty appointment contract to Dr.
Carney.
40.
Defendant has never asked Dr. Carney to go through the faculty
appointment renewal process or to renew his faculty appointment.
41.
Defendant has never discussed the renewal of Dr. Carney’s faculty
appointment with him.
42.
Defendant, by its agents’ words and actions, has represented to Dr. Carney
that he has continuous faculty status.
43.
Defendant’s 2014 personnel evaluation of Dr. Carney, stated that “[Dr.
Carney] is the cornerstone of Emory Urology present and future.” (Emphasis

supplied.)

-10-
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 14 of 120

44.

Defendant’s description of Dr. Carney, as being the Urology Department’s
“cornerstone in the present and future,” is consistent only with Dr. Carney having
continuous faculty status.

45.

Defendant’s description of Dr. Carney as being the Urology Department’s
“cornerstone in the present and future” is inconsistent with Defendant’s current
position that Dr. Carney only has limited faculty status.

46.

The SOM’s leadership, in many conversations and meetings with Dr.
Carney, throughout the last several years, has made statements about the SOM’s
future events and programs, that made sense only if Dr. Carney has continuous
faculty status.

47.

Defendant’s 2015 personnel evaluation of Dr. Carney, in pertinent part,
states: “In the coming years, the Urology Department would benefit from your
continued leadership as the GME site Director for the Grady location, your
leadership of the Emory GURS Fellowship, and your continued participation in
mentoring of medical students, residents and junior faculty alike.” (Emphasis

supplied.)

-lil-
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 15 of 120

48.

Defendant’s 2019 personnel evaluation of Dr. Carney stated: “In the coming
years, Emory SOM the Department would benefit from your continued leadership
and contribution to these existing internal services.” (Emphasis supplied.)

49,

Defendant’s repeated references, in its personnel evaluations of Dr. Carney,
to the “coming years” and “continued leadership” are consistent with Dr. Carney
having continuous faculty status.

50.

Defendant’s repeated reference, in its personnel evaluations of Dr. Carney,
to the “coming years” and “continued leadership” are inconsistent with
Defendant’s current position that Dr. Carney has limited faculty status.

51.

Defendant, for the past several years, has given long term assignments to

Dr. Carney consistent with his continuous faculty status.
52.

Defendant, ten years ago, asked Dr. Carney to start a Urology Fellowship

program for reconstructive urology surgery, a time consuming task requiring

substantial time and energy over many years.

-12-
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 16 of 120

53.
It takes a Fellowship Program many years to build a national reputation that
attracts top Fellowship talent.
54.
Dr. Carney, during the past ten years, has developed a top ranked
Fellowship Program for reconstructive urology surgery.
55,
Six of the Fellows in Defendant’s Urology Fellowship Program, for whom
Dr. Carney has acted as mentor, have been appointed to the faculties of leading
American Medical Schools.
56.
Defendant, during 2020, had Dr. Carney participate in the Genitourinary
Reconstructive Surgery Fellowship match program for Fellows.
57.
Defendant, during 2020, entered into a contract with Natalie Swavely, M.D.
for her to be a Fellow with Defendant’s Urology Fellowship Program, under Dr.

Carney’s direction, for a year August 1, 2021 through July 31, 2022.

16
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 17 of 120

58.

Defendant staffs Urology departments at five major Atlanta Metropolitan
area hospitals.

59.

Defendant’s Urology Fellowship Program, because of the extensive time
and effort required to be devoted to the Fellowship Program, is based primarily at
Grady Memorial Hospital (“Grady”) under Dr. Carney’s direction.

60.

Fellows in Defendant’s Urology Fellowship Program spend approximately
80-85 percent of their time at Grady and the remaining 15-20 percent of their time
at Emory University Hospital.

61.

Defendant, in addition to having Dr. Carney develop a top ranked Urology
Fellowship Program, assigned Dr. Carney to be the Chief of Services for Grady’s
Urology Department, where many of the SOM’s medical resident train.

62.

Dr. Carney, for the past nearly 20 years until July 1, 2021, until Defendant

wrongfully terminated him as the Chief of Services for Grady’s Urology

Department.

17
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 18 of 120

63.

Grady’s Chief of Urology Services’ responsibilities include (1) providing
and ensuring that the SOM’s Urology residents based at Grady receive proper
training; (2) supervising patient care and treatment; and (3) developing new
clinics.

64.

In the recommendation for Dr. Carney’s promotion to Associate Professor,
it was noted that “Dr. Carney has led [the Grady] Urology services to become one
of the most prominent gems in Grady’s crown.”

65.

Dr. Carney’s nearly 20 years, as being the Chief of Grady’s Urology

Services, is consistent with him having continuous faculty status.
66.

Dr. Carney’s nearly 20 year longevity as a member of the SOM’s faculty,
coupled with Defendant’s assignments and representations to him and Defendant’s
adoption of the AAUP’s policy governing the rights of long term faculty members,
reasonably led Dr. Carney to believe that he has had continuous faculty status for

the past several years.

18
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 19 of 120

67.

Dr. Carney’s reasonable belief that he has continuous status was material to
many of Dr. Carney’s career decisions, such as not seeking or accepting faculty
positions at other medical schools, devoting substantial time and energy, while not
receiving additional compensation, for being the Director of the SOM’s Urology
Fellowship Program and being Grady’s Chief of Urology Services.

68.

Dr. Carney, because of the SOM treating him as if he had continuous faculty
status, reasonably believed that, as long as he satisfactorily performed his duties,
which he has done, he would continue to be a member of the SOM’s faculty.

5.
DR. CARNEY HAS DE FACTO TENURE
69.

A faculty member, after seven years of continuous service as a faculty
member, according to the governing policy American Association of University
Professors (“AAUP”), should be treated as having de facto tenure.

70.

Defendant’s Board of Trustees (“Board”), long ago in Defendant’s
Statement of Principles Governing Faculty Relations, accepted the AAUP’s
general principles and purposes regarding faculty member’s substantive and

procedural rights. (See Exhibit “B.”’)

19
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 20 of 120

71.
Defendant’s Statement of Principles Governing Faculty Relationship, in
connection with incorporating the AAUP’s governing policy regarding long term
faculty members, in pertinent part, states:

A concern to provide a University atmosphere in which
there is freedom to pursue truth and to discuss all
relevant questions has led the trustees of Emory
University to accept the general principles and purposes
embodied in the 1940 Statement of Principles on
Academic Freedom and Tenure that was originally
cosponsored by .. . the American Association of
University Professors and subsequently endorsed by
more than a score of major educational associations and
learned societies.

The 1940 Statement emphasizes that to ensure maximum
effectiveness; faculty members should have security
adequate for freedom to teach and to seek truth. This
includes security of position after a reasonable period of
probation... and assurance of explicit contract.

XXX

With the acceptance by trustees, administrative officers,
and faculty members of the related principles of freedom

and obligation, an individual faculty member is assured
of reasonable protection against arbitrary pressures and

procedures....

(See Exhibit “B.”) (Emphasis supplied.)

20
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 21 of 120

72.

Thomas D. Rogers, PhD., President of Defendant’s AAUP Chapter,
recently wrote a letter to the SOM’s Dean protesting Defendant’s egregious
violations of Dr. Carney’s rights as a long term faculty member.

73.

Dr. Rogers’ letter protesting Defendant’s violations of Dr. Carney’s rights

as a continuous faculty member, in pertinent part, states:

Those who are reappointed beyond seven years should
be recognized as having the protections that would

accrue with tenure - termination only for adequate case
and with due process.

Dr. Carney appears to have long since attained the
protections of tenure through the length of his service.
Regarding due process, the 1940 Statements state:
‘[t]ermination for cause of a continuous appointment, or
the dismissal for cause of a teacher previous to the
expiration of a term appointment, should, if possible, be

considered by both a faculty committee and the
governing board of the institution.’

The AAUP’s Statement on Government of Colleges and
Universities asserts straightforwardly that “faculty status
and related matters are primarily a faculty responsibility;
this area includes appointments, reappointments,
decisions not to reappoint, promotions, the granting of
tenure, and dismissal.”

 

This means that faculty must play a role in the weightiest
decisions of university life, including contact renewals.

(Emphasis supplied.)

21
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 22 of 120

74.

Dr. Rogers’ letter to the SOM’s Dean protesting Defendant’s violations of

Dr. Carney’s rights as a continuous faculty member is attached as Exhibit “D.”

75.

The SOM’s Dean has failed to respond to Dr. Rogers’ letter.

76.

Anita Levy, PhD., the National AAUP’s Associate Secretary, recently wrote

a letter to Defendant’s President Gregory L. Fenves protesting Defendant’s

violations of Dr. Carney’s rights as a long term faculty member.

77.

Dr. Levy’s letter to Defendant’s President protesting Defendant’s egregious

violations of Dr. Carney’s rights as a long term faculty member, in pertinent part,

states:

The general academic community recognizes that the
dismissal for cause of a faculty member on continuous
appointment, or with a special or probationary
appointment before the end of a specified term should
occur only after the affordance of requisite safeguards of
academic due process. The following specific procedures
are among those set forth in Regulation 5 of the
Recommended Institutional Regulations: ‘a statement of
charges, framed with reasonable particularity by the
president or the president’s delegate’; a formal hearing of
record on the charges, conducted by an elected faculty

22
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 23 of 120

body: the faculty member’s right to have legal counsel:
the faculty member’s right to have evidence introduced
at the hearing and placed in the record; the
administration’s bearing the burden of demonstrating
adequate cause for dismissal through clear and
convincing evidence in the record considered as a whole;
opportunity for the affected faculty member to cross-
examine witnesses.
(Emphasis supplied.)
78.
Dr. Levy’s letter to Defendant’s President protesting Defendant’s violations
of Dr. Carney’s rights as a continuous faculty member is attached as Exhibit “E.”
79,

Defendant’s President has failed to acknowledge much less respond to Dr.

Levy’s letter.
80.

The United States Supreme Court in Perry v. Sinderman, 408 U.S. 593

(1972), recognized the de facto tenure principle.

23
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 24 of 120

81.

The Supreme Court, in Perry, stated:

A written contract with an explicit tenure provision
clearly is evidence of a formal understanding that
supports a teacher's claim of entitlement to continued
employment unless sufficient ‘cause’ is shown. Yet
absence of such an explicit contractual provision may
not always foreclose the possibility that a teacher has a
property interest in re-employment.

Id. at 601. (Emphasis supplied.)

82.

The Supreme Court, in Perry, stressed:

A teacher, like the respondent, who has held his position
for a number of years, might be able to show from the
circumstances of this service and from other relevant

facts that he has a legitimate claim of entitlement to job
tenure.

Id. at 602. (Emphasis supplied.)

83.

The Supreme Court, in Perry, in concluding its de facto tenure analysis,

stated:

We disagree with the Court of Appeals insofar as it held
that a mere subjective expectancy is protected by

procedural due process, but we agree that the respondent
must be given an opportunity to prove the legitimacy of
his claim for such entitlement in light of the policies and

24
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 25 of 120

practices of the institution. Proof of such a property
interest would not, of course, entitle him to
reinstatement. But such proof would obligate college
officials to grant a hearing at his request, where he could
be informed of the grounds for his nonretention and
challenge their sufficiency.

Id. at 603. (Emphasis supplied.)
84.
Dr. Carney, because of all of the facts set forth above, has de facto tenure.
6.

DR. SANDA’S SUSPICIOUS AND BASELESS ALLEGATIONS, LAST
SEPTEMBER, AGAINST DR. CARNEY

 

85.
Dr. Sanda, during September 2020, presented five baseless alleged
complaints against Dr. Carney.
86.
A serious question exists if Dr. Sanda, as part of his irrational personal
vendetta against Dr. Carney, fabricated the alleged complaints that he presented

against Dr. Carney.

25
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 26 of 120

87.

Dr. Carney has never seen a document containing the alleged allegations

against him, which Dr. Sanda referenced in his September 2020 communication.
88.

During Dr. Carney’s nearly 20 year career at Defendant’s SOM, there has

never been similar allegations against Dr. Carney.
89.

The timing of Dr. Sanda’s allegations against Dr. Carney, last September, is
very suspicious.

90.

Dr. Sanda suspiciously, only three weeks after Dr. Carney forcefully and
firmly responded to Dr. Sanda’s fallacious statements in his 2020 personnel
evaluation of Dr. Carney, made the statement about the alleged allegations against
Dr. Carney, without any underlying documentary support.

91.

When the alleged complaints against Dr. Carney mentioned by Dr. Sanda

last September were investigated by Defendant’s Title IX Department, no one

made a complaint against Dr. Carney.

26
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 27 of 120

92.

If the alleged complaints against Dr. Carney mentioned by Dr. Sanda last
September were real and not fabricated by Dr. Sanda, one would assume
reasonably that at least one complainant would have responded to the inquiries by
Emory Title IX Department.

93,

Two of the alleged complaints against Dr. Carney were so baseless on their
face that Dr. Sanda, if he had been acting in good faith, would not have brought
them to the attention of Dr. Carney or anyone else.

94.

The alleged complaints against Dr. Carney, last September, quickly were

found by Defendant’s Title IX Department to be without merit and were not

pursued.

27
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 28 of 120

7.

DEFENDANT’S RELENTLESS AND WRONGFUL EFFORTS TO FORCE
DR. CARNEY TO UNDERGO PSYCHOLOGICAL COUNSELING
INVOLVING A MEDICAL EXAMINATION
95.

Dr. Sanda acknowledged that the alleged complaints last September against
Dr. Carney, even if true which they were not, did not warrant any disciplinary
action.

96.

Dr. Sanda, on Defendant’s behalf, inexplicably and abusively used the
baseless alleged complaints against Dr. Carney to demand on Defendant’s behalf
that Dr. Carney obtain psychological counseling from a psychologist on
Defendant’s staff, Gordon Tuttle, PhD. (“Dr. Tuttle’).

97.
Defendant, thereafter, through the wrongful and abusive actions of its agent

Dr. Sanda, engaged in a relentless campaign, in violation of the ADA, to force Dr.

Carney to undergo a medical examination through psychological counseling.

28
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 29 of 120

98.

Defendant’s demand that Dr. Carney receive psychological counseling,
which would include a medical examination violated Dr. Carney’s rights under the
ADA.

99.

The wrongfully demanded psychological counseling, by Defendant,

involved, as defined by the ADA, a medical examination.
100.

Dr. Sanda, in his written communications demanding Dr. Carney receive
psychological counseling from Dr. Tuttle, equivocated about the scope and nature
of the demanded psychological counseling with Dr. Tuttle.

101.

Dr. Sanda, in his written communications, coyly and disingeniunely
attempted to conceal the scope of his demand for Dr. Carney to receive
psychological counseling with Dr. Tuttle.

102.

Dr. Sanda, however, in his numerous personal communications with Dr.

Carney, made it perfectly clear to Dr. Carney that the demanded psychological

counseling with Dr. Tuttle included a medical examination.

29
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 30 of 120

103.

Dr. Sanda, in his personal communications with Dr. Carney, without a
scintilla of evidence, suggested that Dr. Carney had a mental disability, which
needed to be “nipped in the bud.”

104.

Dr. Sanda repeatedly berated Dr. Carney as needing to address his mental
issues.

105.

Dr. Sanda’s malicious and preposterous statements to Dr. Carney about him
having an allegedly unspecified mental disability were as demeaning and insulting
as they were baseless.

106.

Dr. Sanda had the audacity to tell Dr. Carney that his refusal to receive

psychological counseling from Dr. Tuttle reflected Dr. Carney’s denial of his

disability requiring psychological counseling.

30
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 31 of 120

107.

Dr. Sanda’s intention for the demanded psychological counseling to include

a medical examination is further reflected by Dr. Sanda’s inflexible demands.
108.

When Dr. Carney attended and successfully completed Duke University
Fuqua Business School’s leadership program, Dr. Sanda remained adamant that
Dr. Carney receive psychological counseling.

109.

When Dr. Carney met with the SOM’s Associate Dean and another faculty
member several times to discuss interpersonal skills, Dr. Sanda remained adamant
that Dr. Carney receive psychological counseling.

110.

Dr. Sanda, in his communications with Dr. Carney, stated that Dr. Carney’s
efforts with regard to leadership and interpersonal skills did not eliminate the need
for Dr. Carney to receive psychological counseling.

111.

Nothing that Dr. Carney did, or could do, would satisfy Dr. Sanda, except
for Dr. Carney receiving psychological counseling that included a medical
examination.

3]
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 32 of 120

112.

Dr. Carney did everything that Dr. Sanda requested, except for Dr. Sanda’s
demand, in violation of the ADA, for Dr. Carney to receive psychological
counseling that would involve a medical examination.

8.
DEFENDANT’S DEMAND FOR DR. CARNEY TO UNDERGO

PSYCHOLOGICAL COUNSELING, WHICH WOULD HAVE INVOLVED
A MEDICAL EXAMINATION, VIOLATED THE ADA

 

113.
Defendant’s demand for Dr. Carney to undergo psychological counseling,
which would have involved a medical examination, violated the ADA.
114.
Defendant’s personnel evaluations of Dr. Carney conclusively establish that
the demanded psychological counseling was not job related.
115.
Defendant’s personnel evaluations of Dr. Carney conclusively establish that
the demanded psychological counseling was not consistent with Defendant’s

business necessity.

32
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 33 of 120

116.

Defendant’s personnel evaluations of Dr. Carney conclusively establish that

Defendant’s demand for psychological counseling was abusive.
117.

Defendant’s personnel evaluations of Dr. Carney conclusively establish that
Defendant’s demand for psychological counseling was made in the utmost bad
faith.

118.

Dr. Carney refusal of Defendant’s wrongful and bad faith demand, in
violation of the ADA that he receive psychological counseling involving a medical
examination, was reasonable.

119.

Dr. Carney had the absolute right to refuse to submit to a medical

examination, through psychological counseling, that was neither job related nor

consistent with Defendant’s business necessity.

33
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 34 of 120

9.

DEFENDANT’S PLANNED WRONGFUL TERMINATION OF DR.
CARNEY IN VIOLATION OF THE ADA BECAUSE HE RIGHTFULLY
REFUSED THE PROPOSED PSYCHOLOGICAL COUNSELING
120.

Because Dr. Carney rightfully continued to refuse to receive psychological
counseling from Dr. Tuttle, which based upon Dr. Sanda’s statements and actions
would have involved a medical examination in violation of the ADA, Defendant
has stated its intention to terminate Dr. Carney’s employment August 31, 2021.

121.

Defendant, May 26, 2021, advised Dr. Carney that his faculty appointment

expires August 31, 2021 and will not be renewed.
122.

Defendant’s self-serving statement that Dr. Carney’s faulty appointment

expires August 31, 2021 1s utterly false.
123.

Defendant knows that its statement, about Dr. Carney’s faculty appointment

expiring August 31, 2021, is false.

34
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 35 of 120

124.

Defendant has presented only one faculty appointment contract to Dr.
Carney.

125.

Defendant’s only faculty appointment contract with Dr. Carney was nearly
20 years ago, August 16, 2001.

126.

Dr. Carney’s original August 16, 2001 faculty appointment, because of Dr.
Carney’s longevity as a faculty member and Defendant’s actions and
representations, several years ago converted into Dr. Carney having continuous
faculty status.

127.

Defendant knows that Dr. Carney’s 2001 faculty appointment years ago was

converted into continuous faculty status.
128.

A continuous faculty member’s appointment does not expire.

35
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 36 of 120

129.

A faculty member, with continuous faculty status, does not go through the
reappointment process.

130.

Contrary to Defendant’s blatant and outrageous misrepresentation,
Defendant is terminating Dr. Carney’s continuous faculty status in violation of the
ADA, because of his rightful refusal to receive psychological counseling from Dr.
Tuttle.

10.

DEFENDANT’S BLATANT AND INEXCUSABLE VIOLATIONS OF
DR. CARNEY’S DUE PROCESS RIGHTS

131.

Dr. Carney, by his continuous faculty status, has fundamental due process
rights with regard to any adverse actions to be taken by Defendant. (See Exhibits
“B,” “D” and “E.”)

132.

Defendant, in connection with terminating Dr. Carney in violation of Dr.

Carney’s continuous faculty status, has failed to provide any due process to Dr.

Carney.

36
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 37 of 120

133.

Due process ensures that the actions taken with regard to a faculty member
are for just cause.

134.

Due process is designed to protect faculty members from employment
decisions, such as the situation here, made out of malice, vindictiveness,
intolerance, prejudice, jealousy or retaliation.

135.

Due process facilitates better and more just decision-making made by
independent factfinders based on real evidence that can be tested by the faculty
member whose conduct is at issue.

136.

Due process protects a faculty member from an unscrutinized decision by a
single superior, such as here by Dr. Sanda, with suspect motives arising from a
personal grudge.

137.
Defendant has failed and refused to provide Dr. Carney a single due process

right to which he is entitled.

37
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 38 of 120

138.

Defendant’s violation of any of Dr. Carney’s due process rights, stated in

paragraph 76, entitle Dr. Carney to his requested relief.
139,

Defendant’s cumulative violations of Dr. Carney’s due process rights, set

forth in paragraph 76, make a mockery of Dr. Carney’s de facto tenure status.
140.

Defendant’s cumulative violations of Dr. Carney’s due process rights show
Defendant’s utter bad faith in connection with its wrongful plan to terminate Dr.
Carney’s employment.

11.

THE SOM’S DEAN TREATS CLINICAL FACULTY
MEMBERS AS VIRTUAL NON-ENTITIES

141.
The SOM’s Dean shows zero interest in patient care and treatment.
142.
The SOM’s Dean shows zero interest in whether patients receiving care and
treatment by the SOM’s clinical faculty members are satisfied with the care and

treatment proved by the SOM’s clinical faculty members.

38
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 39 of 120

143,
The SOM’s Dean views any time spent involving a SOM’s clinical faculty
member as totally wasted time.
144,
The SOM’s Dean, despite Dr. Carney being the SOM’s super star
reconstructive urology surgeon, has never met or spoken with Dr. Carney.
145.
The SOM’s Dean, despite Dr. Carney developing a nationally top ranked
Fellowship Program, has never met or spoken with Dr. Carney.
146.
The SOM’s Dean, despite Dr. Carney for several years being the Chief of
the Urology Services at Grady, has never met or spoken with Dr. Carney.
147.
The SOM’s Dean, to Dr. Carney’s knowledge, has never been to Grady to
observe Defendant’s Urology Fellowship Program based primarily at Grady.
148.
The SOM’s Dean, to Dr. Carney’s knowledge, has never been to Grady to
observe the patient care and treated provided by the Urology Department’s clinical

staff and residents at Grady.

39
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 40 of 120

12.

THE DEAN’S HANDS OFF APPROACH, TO PERSONNEL
DECISIONS INVOLVING CLINICAL FACULTY MEMBERS, HAS
ENABLED DR. SANDA TO ENGAGE IN A RETALIATORY PERSONAL
VENDETTA AGAINST DR. CARNEY
149.

The SOM’s Dean does not become involved in personnel decisions
involving the SOM’s clinical faculty members.

150.

The SOM’s Dean perfunctory, without any independent analysis or factual
review, signs off on Department Chairs’ personnel decisions involving clinical
faculty members.

151.

The SOM’s Dean, without considering the impact that personnel decisions
will have upon the SOM’s clinical faculty and the clinical faculty’s patients,
blindly signs off on Department Chairs’ personnel decisions.

152.

The SOM’s Dean delegates total control over personnel decisions involving

clinical faculty members to Department Chairs.

40
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 41 of 120

153.
The policy of the SOM’s Dean’s to delegate complete authority of personnel
decisions to the Department Chairs is imprudent and irresponsible.
154.
Dr. Sanda, because of the SOM’s Dean’s well-known total hands off policy
with regard to personnel matters, is able to engage in his personal vendetta against

Dr. Carney with impunity.
155.

Dr. Sanda has engaged in many irrational and abusive actions against Dr.
Carney that can be explained only as arising from an irrational personal vendetta.
156.
Dr. Carney, because of Dr. Sanda’s edict, is the only Urology Department
clinical faculty member, who does not have the assistance of a resident.
157,
Dr. Sanda, to spite Dr. Carney and to the great injury to the SOM, has
refused to have the SOM participate in the GURS Fellowship Match Program for

2022.

41
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 42 of 120

13.
DEFENDANT’S DECISION-MAKERS, ABOVE DR. SANDA
IN DEFENDANT’S CHAIN OF COMMAND, HAVE BEEN DERELICT IN
THEIR DUTY TO PROTECT DR. CARNEY’S RIGHTS BY
REFUSING TO ADDRESS THE PLANNED WRONGFUL
TERMINATION OF DR. CARNEY’S EMPLOYMENT
158.

Defendant’s decision-makers, in addition to failing to provide due process
to Dr. Carney with regard to Defendant’s planned termination of his employment,
have refused to meet with Dr. Carney to address its wrongful termination of his
employment.

159.

Defendant’s decision-makers, in addition to its blatant violation of Dr.
Carney’s due process rights, refuse and fail to treat Dr. Carney with the basic
human decency, dignity and respect that a 20 year faculty member deserves.

160.
The SOM’s Dean refuses to acknowledge much less respond to Dr.

Carney’s appeal of Defendant’s arbitrary and capricious decision to terminate him

as a member of the SOM’s faculty.

42
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 43 of 120

161.

The Urology Department’s clinical faculty members’ personnel evaluations
of Dr. Sanda, as the Chair of the SOM’s Urology Department, make it abundantly
clear that he lacks minimal leadership skills.

162.

The Urology Department’s clinical faculty members’ personnel evaluations
of Dr. Sanda, as the Chair of the SOM’s Urology Department, show that many of
the SOM’s Urology Department faculty members view Dr. Sanda’s heavy handed
leadership with utter disdain.

163.

Dr. Sanda’s Machiavellian tactics, in connection with running the Urology
Department, not only violate the faculty members’ rights but, also, place patient
health and safety at risk.

164.
The SOM’s Dean cavalierly ignores the horrible evaluations of Dr. Sanda

by the Urology Department’s clinical faculty.

43
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 44 of 120

165.

Defendant’s Board has refused to respond to Dr. Carney’s appeal of

Defendant’s planned termination of his employment.
166.

Defendant’s Board, if it had performed a minimal investigation, would have
learned that any problem associated with the Urology Department does not arise
from Dr. Carney.

167.

A minimal investigation by Defendant’s Board would have led to the
inescapable conclusion that Dr. Sanda’s demand for Dr. Carney to have
psychological counseling and plan to terminate Dr. Carney’s employment August
31, 2021, arise from Dr. Sanda’s irrational personal vendetta against Dr. Carney.

168.

A minimal investigation by Defendant’s Board would have established,

beyond a shadow of a doubt, that there is not legitimate reason to terminate Dr.

Carney’s employment.

44
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 45 of 120

169.

A minimal investigation by Defendant’s Board would have established that

Defendant is trampling over Dr. Carney’s due process rights.
170.

The Board has been derelict in its duty by failing to (1) protect Dr. Carney’s
right to have his employment terminated for only legitimate reasons as set forth in
paragraph 29; (2) protect Dr. Carney’s due process rights; and (3) protect the
integrity of Defendant’s personnel decision-making process.

171.

The Board’s dereliction of duty is unfathomable as will as unreasonable and
unacceptable.

172.

Defendant’s Office of the President has refused to respond to Dr. Carney’s
appeal of Defendant’s planned termination of his employment.

173.

No legitimate excuse or justification exists for the refusal by Defendant’s

Chain of Command to address Defendant’s stated intent to terminate Dr. Carney’s

employment effective August 31, 2021.

45
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 46 of 120

14.

DEFENDANT’S VIOLATION OF DR. CARNEY’S RIGHTS WILL
CAUSE DR. CARNEY IRREPARABLE HARM

174.

Defendant’s violations of Dr. Carney’s rights, under the ADA and his quasi-
tenure rights, will cause Dr. Carney to suffer irreparable harm for which he has no
adequate remedy of law.

175.
Dr. Carney, if his being a member of the SOM’s faculty ends August 31,
2021, will be forced to sell his home because of financial considerations.
176.
Each piece of property, such as Dr. Carney’s home, is unique.
177.
The loss of an unique piece of property, such as Dr. Carney’s home,

constitutes irreparable harm.

46
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 47 of 120

178.

Dr. Carey, if his faculty member status ends August 31, 2021, will have to
move away from the Atlanta Metropolitan area, which will impair substantially his
ability to continue his weekly visits with his elderly Mother, who resides in a
Rome, Georgia assisted living facility.

179.

Dr. Carney’s Father is deceased and his only sibling (his mother’s only

other child) lives in San Francisco, California.
180.

Dr. Carney’s weekly visits with his elderly Mother who is unable to travel,

is of critical importance not only to him but, also, to her.
181.

The substantial impairment of Dr. Carney’s ability to visit his elderly

Mother weekly, during the last years of her life, will cause Dr. Carney irreparable

harm.

47
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 48 of 120

182.

No amount of money can compensate Dr. Carney adequately for being
deprived of time with his Mother during the last years of her life, particularly
when his visits with her are so important to her.

15.

DEFENDANT’S TERMINATION OF DR. CARNEY’S EMPLOYMENT
WILL HAVE PROFOUND COLLATERAL CONSEQUENCES UPON
OTHER PERSONS CAUSING THEM TO SUFFER IRREPARABLE HARM
183.

Defendant’s planned termination of Dr. Carney’s employment as a faculty
member will cause Dr. Carney simultaneously to lose his privileges to practice
medicine at Grady.

184.

Dr. Carney has many long term Grady patients with severe urology medical
issues.

185.

Dr. Carney is the only member of the SOM’s faculty capable of dealing with

many of his Grady patients’ severe urology issues that require reconstructive

surgery.

48
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 49 of 120

186.

Defendant’s planned replacement for Dr. Carney is not a reconstructive
surgeon.

187.

Many of Dr. Carney’s Atlanta based indigent minority patients at Grady,
because of their limited financial resources, will be unable to follow Dr. Carney to
another hospital if he is forced, because of Defendant’s wrongful and retaliatory
termination of his employment, to move away from the Atlanta Metropolitan area.

188.

Dr. Carney, if Defendant goes forward with its plan to terminate his
employment, will lose his privileges to practice at Grady, because of Defendant’s
staffing agreement with Grady.

189.

Dr. Carney, if Defendant goes forward with its plan to terminate his

employment, will lose the ability to treat his long standing Grady patients at other

hospitals, because he will lose access to their electronic medical records.

49
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 50 of 120

190.

Dr. Carney, if Defendant goes forward with its plan to terminate his
employment, will lose access to his Emory hospital email, which contains his
Grady patients’ medical records and his confidential communications with his
counsel.

191.
Dr. Carney, as part of his extraordinary skill for performing reconstructive
surgery, is a top flight trauma surgeon.
192.
Defendant’s planned replacement for Dr. Carney is not a trauma surgeon.
193.

Many Grady patients needing Urology trauma surgery will not be able to

receive care and treatment from Dr. Carney.
194,

Dr. Swavely, who has entered into a year contract with Defendant to be a

Urology Fellow under Dr. Carney’s direction and supervision from August 1, 2021

to July 31, 2022, will lose a year of her professional life.

50
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 51 of 120

195.
Dr. Swavely’s loss of a year of her professional life will cause her to suffer
irreparable harm.
196.
There is no one else at the SOM’s Urology Department, who can provide
the training to Dr. Swavely that Dr. Carney would provide.
COUNT ONE
DR. CARNEY’S RIGHT UNDER THE ADA TO INJUNCTIVE RELIEF
197,
Dr. Carney reincorporates paragraphs “1" through “196" as if fully stated
herein.
198.
Title 42 U.S.C. § 12112(d)(4)(A) prohibits employers from requiring a
medical examination or making inquiries of an employee as to whether such
employee is an individual with a disability ... unless such examination or inquiry is

shown to be job-related and consistent with business necessity.

51
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 52 of 120

199,

Employees can be instructed to undergo medical examinations by employers
only in certain limited circumstances, confined by the job-relatedness and business
necessity requirements.

200.

The ADA was intended to prevent against medical tests and inquiries that

do not serve a legitimate business purpose.
201.

The EEOC has explained that the above stated restriction reflects
Congress’s intent to protect the rights of applicants and employees to be assessed
on merit alone, while protecting the rights of employers to ensure that individuals
in the workplace can efficiently perform the essential functions of their jobs.
(EEOC Employment Guidance: Disability Related Injuries and Medical
Examinations of Employers under the Americans with Disabilities Act at 4).

202.

Defendant’s planned termination of Dr. Carney for refusing the demanded

psychological counseling will cause Dr. Carney to suffer irreparable harm for

which he has no adequate remedy at law.

52
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 53 of 120

203.
The equities tip decidingly in Dr. Carney’s favor.
204.
The entry of the requested injunctive relief will be in the public’s interest.
Wherefore, Dr. Carney requests the Court to enter a judgment against
Defendant:

(a) Awarding Dr. Carney a temporary restraining order, interlocutory
injunction and permanent injunction enjoining Defendant, its officers,
agents, servants, employees and attorneys, as well as all persons in
active concert or participation with them, from interfering in any
manner with Dr. Carney’s continued employment by Defendant’s

SOM;

(b) Awarding Dr. Carney his costs of litigation including attorney’s fees;
and

(c) Awarding Dr. Carney whatever other relief the Court deems just and
proper.

53
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 54 of 120

COUNT TWO

DR. CARNEY’S ENTITLEMENT TO INJUNCTIVE
RELIEF BECAUSE OF HIS QUASI-TENURE RIGHTS

205.

Dr. Carney reincorporates paragraphs “1" through “196" as if fully stated
herein.

206.

Dr. Carney, for the past several years, had the reasonable expectation that he
has continuous faculty status.

207.
Defendant treated Dr. Carney as if he has continuous faculty status.
208.

A long-term faculty member, who reasonably believes from longevity as a
faculty member and the University’s statements and actions that the faculty
member has continuous faculty status, has quasi-tenure.

209.
A quasi-tenured faculty status does not require any confirming

documentation.

54
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 55 of 120

210.
A quasi-tenured faculty status does not require any official appointment.
211.
A faculty member’s quasi-tenure status restricts the SOM’s ability to
terminate the faculty member.
212.
A quasi-tenured faculty member has the rights of continued employment
similar to that of a tenured faculty member.
213.
A quasi-tenured faculty member can be terminated only for the reasons that
a faculty with a continuous appointment can be terminated.
214.
Dr. Carney, by his 20 years on the SOM’s faculty and the SOM’s actions as
well as statements by the SOM’s leadership, has quasi-tenure.
215.
None of the grounds entitling the SOM to terminate a continuous faculty

member apply to Dr. Carney.

55
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 56 of 120

216.

The SOM has announced its intention to terminate Dr. Carney’s faculty
status August 31, 2021.

217.

The SOM, despite the fact that it has not presented another contract to Dr.
Carney after his initial August 16, 2001 contract, falsely claims that Dr. Carney’s
faculty appointment expires August 31, 2021.

218.

The SOM states that it will not renew Dr. Carney’s faculty appointment

when it allegedly expires August 31, 2021.
219,
The SOM’s statement that Dr. Carney’s faculty appointment expires August
31, 2021 is not merely wrong but is profoundly wrong.
220.
Dr. Carney’s continuous faculty status does not expire.
221.
Dr. Carney’s continuous faculty status, because it does not expire, does not

have to be renewed.

56
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 57 of 120

222.
Dr. Carney’s continuous faculty status continues without being renewed.
223.
A quasi-tenured faculty member has the due process rights similar to those
of a tenured faculty member.
224,
Defendant failed to provide the due process to which Dr. Carney is entitled.
225.
Defendant has failed to provide any due process to Dr. Carney.
226.
Dr. Carney has a likelihood of prevailing on the merits.
227.
The equities of whether or not to grant injunctive relief are in Dr. Carney’s
favor.
228.

The granting of equitable relief will be in the public interest.

57
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 58 of 120

229,
Defendant, in connection with violating Dr. Carney’s quasi-tenure rights,
has acted in bad faith.
230.
Dr. Carney, because of Defendant’s bad faith conduct, is entitled, under
O.C.G.A. 13-6-11, to recover his costs of litigation including attorney’s fees.
Wherefore, Dr. Carney requests the Court to enter a judgment against
Defendant:

(a) Awarding Dr. Carney a temporary restraining order, interlocutory
injunction and permanent injunction enjoining Defendant, its officers,
agents, servants, employees and attorneys, as well as all persons in
active concert or participation with them, from interfering in any
manner with Dr. Carney’s continued employment by Defendant’s

SOM;

(b) Awarding Dr. Carney his costs of litigation including attorney’s fees;
and

(c) Awarding Dr. Carney whatever other relief the Court deems just and
proper.

58
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 59 of 120

208 Corporate Drive
Carrollton, Georgia 30117
(770) 836-0405

July 13, 2021

GARY BUN€H, P.

 

By:
GaryBunch pe

Geoérgia Bar Number 094612

Attorney for Plaintiff K. Jeff Carney, M.D.,
Pharm D.

 

59
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 60 of 120

_ 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

June 7, 2021 Career Conference and Performance Review Print this Page

2013

Part |

Name Kenneth Jeff Carney

Rank/Title Associate Professor - SOM

Track Not Applicable

Appointment or Last Promotion Date 09/01/2019

Department Urology

Division Urology

Date of Conference

Evaluator Sanda, Martin Professor And Chair

Time Allocation

This document is not meant to reflect your official effort commitment as documented on the biannual Effort
Certification Form. However, this estimate should be a realistic reflection of your activity and not vary significantly

from your Effort Certification.
0 % research 0 % teaching 0 % patient care
0 % administration 0 % consulting 0 % other (specify):
Are there any activities in which you would like to spend
More time? No
Less time? No

Scholarship
Publications (past academic year)

Extramural research support: ( past academic year)

intramural research support: ( past academic year)

Teaching

Medical, graduate, or allied health students:
Course or program directorships

Lectures (contact hours) 0

All Teaching (contact hours)(e.g. bedside, 0
small group, med school lab):

Other (e.g. thesis, reading thesis and examination committees)

Residents and clinical or postdoctoral fellows:
Fellowship or residency program director

Lectures (contact hours) 0
Teaching (contact hours) 0
Other (including bedside teaching)

Faculty Development and Mentoring:
Who are your mentors?
Who are your mentees?

land regional lectures, symposia, visiting prof ‘ships, CME courses, workshops:
Organization of National and International Conferences:

Teaching Awards:

Courses Attended:
Continuing Medical Education Courses

Career Development Courses

Service

Clinical:

Number of weeks of inpatient clinical 0
coverage (per year)

Number of half-day clinics (per year) 0

Number of week day nights oncall (per
year)
Number of weekend call days (per year) 0

Oo

Iexhibit “A”

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=20 13&fdept=554&fdiv=1128&CFID=6578... 1/3
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 61 of 120

_ 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

Clinical Service:
Describe clinical responsibilities, location, site, and impact.

Quality:
(Describe your efforts to assess and improve the quality of care provided by you, your colleagues and your
team.)

Administrative responsibilities (if applicable):
(institutional committees, unpaid consulting, regional, national, and international societies, and national
committees and leadership positions, community service)

Awards and Notable Achievements
Society officer

Study sections

Advisory committees

Editorial boards

Titled lectureships

National and international prizes

Patents

Describe any awards and notable achievements:

Goals

FY 2012 Goals and Success
(proposed by faculty member)

Success in Achieving Goals

(filled out jointly)

1. Expand Grady Urology - succesful in patient volume, % insured, and support by Grady leadership with spec
FTE expansion request pending approval. 2. Organize CV - partially copmleted 3. REgional/national educaton -
reconstructive surgery courses and service

This Year's Goals and Success
(proposed by faculty member)

Action Plan

(filled out jointly)

4. guide building & move into new Urology clinic 2. on-board recosniructive fellow (Dr. Ng), empower her to
enable shcolarship 3. on-board and clinical mentorship/grady path and surgical maturation for new faculty
recruits 4. empower administratie support and how to use it 5. Refine leadership skills and self-awareness

Items for discussion: Other topics you would like to discuss

Part Il

Needs Meets ; Exceeds NA
Improvment Expectations Expectations

Scholarship x

Teaching x

Clinical Service x“

Professional Service x

National Contributions x

Overall Contributions to
Deparmtent

Narrative Summary

Principal mentors are G Jordan and J McAninch, Jeff will seek to identify one or two mentors at Emory - eg Dr.
Issa, build and formalize that relationship - eg meet quarterly two along minimum $0 minutes meeting is about

Jeff. Move to MEST track, with guidance from Sharon Weiss re: timing of promotion to Assoc Prof and whether
additional items are needed. We will find out about implications of promotion for copmensation from Grady and
adjust plan accordingly and clarify for Jeff timing of copmensation adjustments.

Part Ill

hitps://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2013&fdept=554&fdiv=1128&CFID=6578... 2/3
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 62 of 120

, 8/7/2021 Emory University Schoo! of Medicine Career Conference and Performance Review

Faculty Comments:

Part IV
Upload PDF Chair Comments of Faculty Review (

[ Choose File No file chosen

Or Enter Chair Comments: (Up to 4000 Characters)

stname_year.pdf):

  
 

Evaluator Signature Sanda, Martin Date: 11/05/2013
Equivalent:
Faculty Signature Kenneth Jeff Carney Date: 11/19/2013
Equivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2013&fdept=554&fdiv=1128&CFID=6578... 3/3
: Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 63 of 120

, 6/7/2021

Part |

Name

Rank/Title

Track

Appointment or Last Promotion Date
Department

Division

Date of Conference

Evaluator

cv

Emory University School of Medicine Career Conference and Performance Review

dune 7, 2021 Career Conference and Performance Review Print this Page

2015

Kenneth Jeff Carney
Associate Professor - SOM
Not Applicable

09/01/2018

Urology

Urology

Sanda, Martin Professor And Chair

View Attached CV: KENNETHEFFCARNEYCV 5-17-13.doc a

Describe any awards and notable achievements:

Goals

FY 2014 Goals and Success
(proposed by faculty member)
opened new grady urology clinic

Success in Achieving Goals
{filled out jointly)

new clinic - done change to MEST - done second consec fellow transition - done increase dr chang role - done
course director at AUA visiting professor MCG and EVMS Lavonne starts as Assistant

This Year's Goals and Success
(proposed by faculty member)

increase block time and faculty support at grady

Action Plan
{filled out jointly)

1) Submit promotion materials for MEST early - Lavonne helping 2) Increase role in res applicants to core
interview team - 2/4 dates 2015, plan 4/4 in 2016 3) Continue to strategize with Dustin Diggs for more OR time
4) Onboarding Aaron Lay 5) encourgae/increase expectation of consistent presence of a reisdent in recon clinic
Wednesday, recon OR thursday 6) increase Chang FTE with ESWL in the clinic 7) build relationship with new
CMO 8) fellow selection for 2017 9) mission surgical care- engage medical students, include fellow in Haiti trip

Items for discussion: Other topics you would like to discuss

expanding fellowship to include 2 fellows

Part ll
Far Below
Expectations
Scholarship
Teaching

Clinical Service
Professional Service

National
Contributions

Overalt

Contributions to
Deparmtent

Narrative Summary

 

Below Meets Exceeds Far Exceeds
tat} fati E tati rr tat NA
is Exp is Exp E
x

x
x

x
x

x

Jeffis a cornerstone of Emary Urology present aand future. Grady expansion and growing impact of
reconstructive urology training - residents or fellows - is and should continue to rise as flagship program of
Emory urology. generally a high funtions academician, opportunities to refnie/enhance reisdent and fellow
interface and detail/operational management at Grady. Will explore executiv ecoach for admin leadership

development

Part Ill

Faculty Comments:

Part IV

Upload PDF Chair Comments of Faculty Review (chair, firstname_lastname_year.pdf):

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=201 5&fdept=554&fdiv=1128&CFID=6578...

1/2
: Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 64 of 120
. 8/7/2021 Emory University School of Medicine Career Conference and Performance Review
Or Enter Chair Comments: (Up to 4000 Characters)

Evaluator Signature

i Sanda, Martin Date: 11/06/2015
Equivalent:

pacuty Signature Kenneth Jeff Carney Date: 11/20/2015
quivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2015&fdept=554&fdiv=1128&CFID=6578... 2/2
: Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 65 of 120

, 8/7/2021 Emory University School of Medicine Career Conference and Performance Review

June 7, 2021 Career Conference and Performance Review Print this Page

2016

Part I

Name Kenneth Jeff Carney

Rank/Title Associate Professor - SOM

Track Not Applicable

Appointment or Last Promotion Date 09/01/2018

Department Urology

Division Urology

Date of Conference 11/18/0016

Evaluator Sanda, Martin Professor And Chair

Describe any awards and notable achievements:

Visiting Faculty The 4th Mekelle Medical Education Collaboration (MMEC) CME on Urogynecology-Il sponsored
by The World Wide Fistula Fund Mekelle University, College of Health Sciences, Mekelle, Ethiopia

Goals
FY 2015 Goals and Success
{proposed by faculty member)
increase block time and faculty support at grady

Success In Achieving Goals
{filled out jointly)
continued success in expanding Emory Urology at Grady, including addition of new faculty member (Lay)

This Year's Goals and Success

(proposed by faculty member)

Promotion to Associate Professor

Action Plan

(filled out jointly)

a) Academic: complete CV, submit to Dept FCAP by Dec 1, then follow in working on Teaching and Service
portfolio with member of Urology FCAP and Toni Cross b) Teaching: improve participation at Grand Rounds,
especially M/M. Find ways to better engage residents in cases wher the fellow is participating c) service:
continue leading as Urology Service Chief at GMH...show team leadership by continuing to participate in off-
hours call

Items for discussion: Other topics you would like to discuss
A Full Time Faculty partner at Grady

 

Part Il
Far Below Below Meets Exceeds Far Exceeds NA
Ee tatl 5 tati Ec. tat rc. tati Ee. tati
Exp p is Exp is Exp on p
Scholarship x
Teaching x
internal Service x
External Service x
Citizenship 4
Overall
Performance x
Assessment

Narrative Summary

Dr, Carney is a pleasure to work with. He blends leadership with team service in a selfless way. He has
unwavering work ethic and care passionately about his patients, about our Urology trainees (students,
residents, and fellows), about his faculty colleagues, and about the staff who comprise his team at Grady. He
communicates effectively with colleagues and leadership in the department and effectively enlists
administration/management team members as needed. | continue to encourage him to submit his promotion
portfolio to the Department FCAP and have repeatedly explained to him that | believe he has met criteria for
promotion, that the only thing holding the promotion back is the need for him to assemble the materials (CV and
teaching and service portfolio), with which we are offering him help and guidance from the Department.

Part Ill

Faculty Comments:

Part IV

Upload PDF Chair Comments of Faculty Review (chair _firstname_lastname_year.pdf):
Choose File | No file chosen
Or Enter Chair Comments: (Up to 4000 Characters)

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2016&fdept=554&fdiv=1128&CFID=6578...

1/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 66 of 120

. 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

Evaluator Signature

: Sanda, Martin Date: 11/18/2016
Equivalent:
Faculty Signature Kenneth Jeff Carney Date: 11/20/2016
Equivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cder_eva_print2.cfm?review_user_id=1509&get_year=20 16&fdept=554&fdiv=1128&CFID=6578... 2/2
‘ Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 67 of 120

, 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

June 7, 2021 Career Conference and Performance Review Print this Page

2017

Part |

Name Kenneth Jeff Carney

Rank/Title Associate Professor - SOM

Track Not Applicable

Appointment or Last Promotion Date 09/01/2019

Department Urology

Division Urology

Date of Conference 12/16/2017

Evaluator Sanda, Martin Professor And Chair

Describe any awards and notable achievements:
Obtained GURS certification for Reconstructive fellowship

Goals

FY 2016 Goals and Success
{proposed by faculty member)

Promotion to Associate Professor

Success in Achieving Goals
(filled out jointly)

This Year's Goals and Success
(proposed by faculty member)

Promotion to Associate Professor Develop Mentorship Skills

Action Plan
(filled out jointly)

Items for discussion: Other topics you would like to discuss
Grady Urology Service

Part ll

Below Needs

Expectations Development Commendable Accomplished Exemplary NA

Scholarship x

Teaching x“
Internal Service *
External Service x

Citizenship x

Overail
Performance bo
Assessment

Narrative Summary

Dear Jeff, Thank you for taking the time to submit your updated CV, past year’s accomplishments, this year's
goals and long-term goais onto the Emory School of Medicine CCPR website, and for meeting with me on
December 15, 2017 to review your performance as an Emory Urology faculty member, as well as to discuss
how the Urology Department can facilitate your career development and job satisfaction. A summary of this
review and career development plan are summarized as follows, in the context of the Emory SOM and Urology
Department's mission goals of Education/Teaching, Innovation/Scholarship, internal Service, External Service,
and Citizenship/Professionalism (ie adherence to the Emory SOM Pledge), with your performance in each of
these 4 goals rated based on the Emory SOM CCPR performance evaluation metrics. In addition, | have taken
the opportunity of the annual review process to re-emphasize the importance of your contribution to mentorship
of others and/or plans for your receiving mentorship and ongoing guidance and advice regarding your own
career development. EDUCATION: You have provided pivotal contribution in education through your role as Site
Director of the Emory Urology Residency for the EUH rotation; your leadership, with Dr. Galloway, of the
Reconstructive Urology Fellowship, for which you secured certification by the GURS; your serving on the Emory
Urology Resident Applicant Interview Committee; and your providing invaluable operative clinical teaching of
urological to Urology residents, especially as relates to operative techniques and perioperative care in
reconstructive urology. Additionally, you have continued to teach M-IIi UME and M-IV subinterns in the OR and
clinic. Accordingly, your performance in teaching during the past year is rated as exemplary. In the coming
years, ihe Urology Department would benefit from your continued leadership as GME site Director for the Grady
location, your leadership of the Emory GURS Fellowship, and your continued participation in mentoring of
medical students, residents, and junior faculty alike. INNOVATION/SCHOLARSHIP: You have participated in
scholarship by being a collaborator in reconstructive urology research being begun by Dr Hartsell, Dr. David,
and Dr. Aliperti. Accordingly, in context of the MEST track of your faculty appointrnent, your performance in
scholarship during the past year has been commendable. In the coming year, the Department would benefit
from your continuing to encourage, enable, and help guide the research activities of the Reconstructive Urology
Fellow as well as the research activities of junior faculty at Grady (eg Dr. Lay). INTERNAL SERVICE: You have
participated in multiple internal service roles in your capacity as the Chief of the Urology Service at Grady, which
continues to be, per your leadership, among the model surgical services at Grady Memorial Hospital. Notably,

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2017&fdept=554&fdiv=1128&CFID=6578... 1/2
: Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 68 of 120

, 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

you continue to have one of the most productive subspecialty clinical practices among Emory Urology faculty, in
your practice that focuses on GU reconstruction, and for which you have established a reputation as the premier
reconstructive urological surgeon in the Georgia-Alabama-South Carolina-Florida region. Your practice
exemplifies a regional “top-of-subspecialty” expertise that is a model for junior faculty in urology to emulate.
Accordingly, your contribution to internal service at Emory in the past year is rated as exemplary. In the coming
years, Emory SOM the Department would benefit from your continued leadership and contribution to these
existing internal service endeavors. EXTERNAL SERVICE: You have participated in leadership roles in
professional society activities of the GURS and the AVA, including your participation in AUA Guidelines for
trauma and reconstructive urology, and your role as faculty in the Reconstructive Urology course at the national
AUA meeting. Accordingly, your contribution in external service during the past year has been accomplished. In
the coming year(s), continuing your contributions in these professional groups and seeking related leadership
roles will be helpful for enabling the goal of your eventual academic promotion on the MEST Track, which will
depend predominantly on your accomplishments in national levels of service.
CITIZENSHIP/PROFESSIONALISM: You have demonstrated consistency of temperament in a busy and
stressful environment, and navigated challenging circumstances with poise, while showing equally exceptional
effectiveness as a service leader in Urology at Grady Memorial Hospital, despite capacity limitations in the
Grady OR’s. You have been a very positive ambassador of Emory Urology in the region, and beyond.
Accordingly, your adherence to citizenship and professionalism in the past year has been exemplary.
MENTORSHIP: During the performance review meeting, we discussed the importance and opportunity, for you
to further prioritize your role as a mentor for junior and mid-career faculty in the Urology Department. You
mentioned your mentorship activities in coaching and enabling the career development of Dr. Lindsey Hartsell
(who just completed the reconstructive fellowship) and Dr. Sam David (current fellow), and | encouraged you to
further formalize your mentor role in their career, such as through regular individual meetings with each
throughout the year (eg to discuss strategies for their career progress and/or other concerns), and for your
formalizing your role and responsibility as being one of their primary mentors. We also discussed the pivotal
importance of your potential as a mentor for Dr. Aaron Lay, in your capacity as Chief of Service at one of his
principal clinical care, teaching and research settings. | strongly encourage you to engage a more intentional
mentorship rote with Dr. Lay, and prioritize your enabling progress of his work in endourology and minimally
invasive urology at Grady, and to provide him guidance regarding evolution of his teaching style, so as to benefit
both him, and you, and the entire clinical service and education environment at Grady. Conversely, we
discussed what individuals might be suitable mentors to help guide your career development. In this regard, we
discussed Dr, Galloway as a suitable subspeciaity mentor, and you mentioned Dr, Master as someone whom
you could look toward for guiding you as you undertake the necessary next steps of assembling your teaching
and service portfolios, so as to enable your eligibility and consideration for potential academic promotion.
OVERALL: Overall, your performance in the past year has been accomplished/outstanding. Two key
opportunities to enable your performance to rise to an exemplary level, in the coming year, would be for you to
complete your teaching & service portfolios (to enable your consideration for eligibility to be promoted in
academic rank), and for you to engage and embrace more structured mentorship of junior faculty at the Grady
location (eg Dr. Lay, to enhance team effectiveness in education, scholarship, and service). | look forward to
meeting again with you in 2018, to explore how the Department can continue to facilitate your ongoing career
development and success. With utmost respect and appreciation, Martin G. Sanda, MD

Part Ill

Faculty Comments:

Part IV

Upload PDF Chair Comments of Faculty Review (chair_firstname lastname_year.pdf):

Choose File | No file chosen U Chair

Or Enter Chair Comments: (Up to 4000 Characters)

 
 

Evaluator Signature Sanda, Martin Date: 12/30/2017

Equivalent:

Paculty Signature Kenneth Jeff Carney Date: 01/13/2018
quivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2017 &fdept=554&fdiv=1128&CFID=6578... 2/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 69 of 120

_ 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

dune 7, 2021 Career Conference and Performance Review Print this Page

2018
Part |
Name Kenneth Jeff Carney
Rank/Title Associate Professor - SOM
Track Not Applicable
Appointment or Last Promotion Date 09/01/2019
Department Urology
Division Urology
Date of Conference 08/24/2018
Evaluator Sanda, Martin Professor And Chair
cv

View Attached CV: Dr. Carney CV JAN 2018.docx @

Describe any awards and notable achievements:

Invited Faculty for 2018 Society of Laparoendoscopic surgeons meeting Georgia Urology Association Faculty, 2
talks in 2018

Goals

FY 2017 Goals and Success
(proposed by faculty member)

Promotion to Associate Professor Develop Mentorship Skills

Success In Achieving Goals
(filled out jointly)

This Year's Goals and Success

(proposed by faculty member)

Continue to Grow the Grady GU service Submit 1 or 2 abstracts to SESAUA Promotion to associate Professor
Expand present mentorship responsibilities Possibly Expand and grow the GURS Fellowship

Action Plan
(filled out jointly)

Items for discussion: Other topics you would like to discuss

Part Il

Below Needs
Expectations Development Commendable Accomplished Exemplary NA

Scholarship x

Teaching x
Internal Service x
External Service x

Citizenship x

Overall
Performance x
Assessment

Narrative Summary

Dear Jeff, Thank you for taking the time to submit your updated CV, past year’s accomplishments, this year’s
goals and long-term goals onto the Emory School of Medicine CCPR website, and for meeting with me earlier
this fall to review your performance as an Emory Urology faculty member, as well as to discuss how the Urology
Department can facilitate your career development and job satisfaction. A summary of this review and career
development plan are summarized as follows, in the context of the Emory SOM and Urology Department's
mission goals of Education/Teaching, Innevation/Scholarship, internal Service, External Service, and
Citizenship/Professionalism (ie adherence to the Emory SOM Pledge), with your performance in each of these 4
goals rated based on the Emory SOM CCPR performance evaluation metrics. In addition, | have taken the
opportunity of the annual review process to re-emphasize the importance of your contribution to mentorship of
others and/or plans for your receiving mentorship and ongoing guidance and advice regarding your own career
development. |. EDUCATION: You have provided significant contribution in education through teaching
residents, students, and practicing urologists through activities including but not limited to the following: a) You
secured certification by the GURS for the Reconstructive Urology Fellowship, which you lead, and led
successful participation by the fellowship in the GURS Fellowship match for the first time b) Serving as Site
Director of the Emory Urology Residency for the EUH rotation, and in this capacity providing invaluable
operative clinical teaching of urological to Urology residents, especially as relates to operative techniques and
perioperative care in reconstructive urology. c) You continue teaching M-II| UME and M-IV subinterns in the OR
and clinic, with Grady being one of 4 Emory sites where the subinters spend their time, and the Grady rotation
consistently receives the highest accolades from our visiting and Emory medical students alike Accordingly,
your performance in teaching during the past year is rated as exemplary. In the coming years, the Urology
Department would benefit from your continued leadership as GME site Director for the Grady location, your

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2018&fdept=554 &fdiv=1128&CFID=6578... 1/3
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 70 of 120
_ 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

leadership of the Emory GURS Fellowship, and your continued participation in mentoring of medical students,
residents, and junior faculty. Il. INNOVATION/SCHOLARSHIP: Your efforts and accomplishments in
scholarship/innovation have been anchored in the innovative elements of your reconstructive urology practice.
Moreover, you have provided constant encouragement to the reconstructive urology fellows in supervising their
interrogation of outcomes of the reconstructive urology patients. The work that you helped inspire Dr Hartsell,
Dr. David, and Dr. Aliperti to begin has led to abstracts submitted to regional and national meetings by the
current fellow. Accordingly, in context of the MEST track of your faculty appointment, your performance in
scholarship during the past year has been commendable. In the coming year, the Department would benefit
from your continuing to encourage, enable, and help guide the research activities of the Reconstructive Urology
Fellow as well as the research activities of junior faculty at Grady. Ill. INTERNAL SERVICE: You continue to
lead in multiple internal service roles in your capacity as the Chief of the Urology Service at Grady, which
continues to be, per your leadership, among the model surgical services at Grady Memorial Hospital. Notably,
you continue to have one of the most productive subspecialty clinical practices among Emory Urology faculty, in
your practice that focuses on GU reconstruction, and for which you have established a reputation as the premier
reconstructive urological surgeon in the Georgia-Alabama-South Carolina-Florida region. Your practice
exemplifies a regional “top-of-subspecialty” expertise that is a model for junior faculty in urology to emulate.
Accordingly, your contribution to internal service at Emory in the past year is rated as exemplary. In the coming
years, Emory SOM the Department would benefit from your continued leadership and contribution to these
existing internal service endeavors. IV. EXTERNAL SERVICE: You have participated in leadership roles in
professional society activities of the GURS and the AUA, including your participation in AUA Guidelines for
trauma and reconstructive urology, and your role as faculty in the Reconstructive Urology course at the national
AUA meeting. Accordingly, your contribution in external service during the past year has been accomplished. In
the coming year(s), continuing your contributions in these professional groups and seeking related leadership
roles will be helpful for enabling the goal of your eventual academic promotion on the MEST Track, which will
depend predominantly on your accomplishments in national levels of service. V.
CITIZENSHIP/PROFESSIONALISM: You have demonstrated consistency of temperament in a busy and
stressful environment, and navigated challenging circumstances with poise, while showing equally exceptional
effectiveness as a service leader in Urology at Grady Memorial Hospital, despite capacity limitations in the
Grady OR’s. You have been a very positive ambassador of Emory Urology in the region, and beyond.
Accordingly, your adherence to citizenship and professionalism in the past year has been exemplary.
MENTORSHIP: You have been a highly effective mentor for the Reconstructive Urology Fellows, attested by
several of them (Dr. Ng, Dr. Wyre, and now Dr. Hartsell) having proceeded to faculty positions at major
academic medical centers. You have also become a valued mentor for junior faculty, highlights of which include
your having found a perspective of complementary expertise to guide the development of Dr. Lay, your most
junior faculty member at Grady, whose successes attest in part to the effectiveness of your mentorship. In the
coming year, | encourage you to continue formalizing your mentor role for junior faculty, including Dr Hartsell
and Dr. Lay, such as through regular individual meetings with each throughout the year (eg to discuss strategies
for their career progress and/or other concerns), and for your formalizing your role and responsibility as being
one of their primary mentors. Conversely, we discussed what individuals might be suitable mentors to help
guide your career development, and especially your seeing through the responsibilities of your preparation of
your service and teaching portfolios for consideration of your candidacy for academic promotion. Please reach
out to Dr. Ritenour, Dr. Master, and me for guidance you as you undertake the necessary next steps of
assembling your teaching and service portfolios, so as to enable your eligibility and consideration for potential
academic promotion. OVERALL: Overall, your performance in the past year has been
accomplished/outstanding. Two key opportunities to enable your performance to rise to an exemplary level, in
the coming year, would be for you to complete your teaching & service portfolios (to enable your consideration
for eligibility to be promoted in academic rank), as per several emails you have received from myself and Dr.
Ritenour (in his capacity as Chair of the Urology FCAP). | look forward to meeting again with you in 2019, to
explore how the Department can continue to facilitate your ongoing career development and success. With
utmost respect and appreciation, Marty Martin G. Sanda, MD

Part Ill

Faculty Comments:

Part IV

Upload PDF Chair Comments of Faculty Review (chair firstname _lastname_year.pdf):
Choose File | No file chosen f

Or Enter Chair Comments: (Up to 4000 Characters)

 

Evaluator Signature

Equivalent: Sanda, Martin Date: 11/12/2018
Faculty Signature Kenneth Jeff Carney Date: 11/26/2018
Equivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cim?review_user_id=1509&get_year=2018&fdept=554&fdiv=1128&CFID=6578... 2/3
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 71 of 120

_ 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

https://secure.web.emory.edu/med/prod/database/fes/cder_eva_print2.cfm?review_user_id=1509&get_year=2018&fdept=554&fdiv=1128&CFID=6578... 3/3
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 72 of 120

- 6/7/2021

Part |

Name

Rank/Title

Track

Appointment or Last Promotion Date
Department

Division

Date of Conference

Evaluator

Emory University School of Medicine Career Conference and Performance Review

June 7, 2021 Career Conference and Performance Review Print this Page

2019

Kenneth Jeff Carney

Associate Professor - SOM

Not Applicable

09/01/2019

Urology

Urology

08/01/2019

Sanda, Martin Professor And Chair

Describe any awards and notable achievements:

Promoted to Associate Prof.

Goals

FY 2018 Goals and Success
(proposed by faculty member)

Continue to Grow the Grady GU service Submit 1 or 2 abstracts to SESAUA Promotion to associate Professor
Expand present mentorship responsibilities Possibly Expand and grow the GURS Fellowship

Success in Achieving Goals
(filled out jointly)

This Year's Goals and Success
(proposed by faculty member)

Continue to Grow the Grady GU service Submit 1 or 2 abstracts to SESAUA Promotion to associate Professor
Expand present mentorship responsibilities Possibly Expand and grow the GURS Fellowship

Action Pian
{filled out jointly)

Items for discussion: Other topics you would like to discuss

Increase in Compensation

Part Il
Below
Expectations
Scholarship
Teaching

Internal Service
External Service
Citizenship
Overall

Performance
Assessment

Narrative Summary

 

Development ¢ dable A plished Exemplary NA
*
x
x»
x
x
x

View Attached Summary: Carney 2019 COPR pdf @

Please see attached evaluation summary that was emailed on August 26, 2019 to Dr Carney

Part Ill

Faculty Comments:

Part IV

Upload PDF Chair Comments of Faculty Review chair. firstname_lastname_year.pdf):

Choose 2 File | No file chosen

 

Or Enter Chair Comments: (Up to 4000 Characters)

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=201 9&fdept=554&fdiv=1128&CFID=6578...

1/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 73 of 120

. 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

Evaluator Signature

. Sanda, Martin Date: 10/16/2019
Equivalent:
Faculty Signature Kenneth Jeff Camey Date: 10/30/2019
Equivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=20 19&fdept=554&fdiv=1128&CFID=6578... 2/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 74 of 120

Department of Urology
EMORY Martin G. Sanda, MD
UNIVERSITY Professor of Urology
SCHOOL OF Chairman and Chief of Service
M EDI Cc I N E Director, Prostate Cancer Center

Winship Cancer Institute of Emory University

Annual Career Conference and Performance Review: 2019
August 22, 2019
Jeff Carney, MD, PharmD
Dear Jeff,

Thank you for submitting your updated CV, accomplishments, and goals onto the Emory School
of Medicine CCPR website, as well as for meeting with me earlier this summer to review your
performance and discuss how Emory Urology can facilitate your job satisfaction.

A review of your performance in the past year and career development plan looking ahead are
summarized as follows, in the context of the Emory School of Medicine’s and Urology Department’s
mission goals of Education, Innovation/Scholarship and Service, as well as your demonstration of
citizenship, professionalism, and adherence to the Emory SOM Pledge.

I, EDUCATION:

You have provided significant contribution in education through teaching residents, students, and

practicing urologists through activities including but not limited to the following:

a) You are the faculty Director for the Reconstructive Urology Fellowship, for which you had
secured certification by the GURS, and secured a successful GURS Fellowship match for the
second consecutive year

b) You continue serving as Site Director of the Emory Urology Residency for the Grady
rotation, and in this capacity provide invaluable operative clinical teaching of urological to
Urology residents, especially as relates to operative techniques and perioperative care in
reconstructive urology.

c) You continue teaching M-IT] UME and M-IV subinterns in the OR and clinic, with Grady
being one of 4 Emory sites where the subinterns spend their time, and the Grady rotation
consistently receives the highest accolades from our visiting and Emory medical students
alike

Accordingly, your performance in teaching during the past year is rated as exemplary.

In the coming years, the Urology Department would benefit from your continued leadership as
GME site Director for the Grady location, your leadership of the Emory GURS Fellowship, and your
continued participation in mentoring of medical students, residents, and junior faculty.
Il. INNOVATION/SCHOLARSHIP:

Your efforts and accomplishments in scholarship/innovation have been anchored in the

innovative elements of your reconstructive urology practice. Moreover, you have provided constant
encouragement to the reconstructive urology fellows in supervising their interrogation of outcomes of the

The Emory Clinic Tel 404.778.6874

1365 Clifton Road NE Fax 404.778.0995
Building B, Suite 1400 msanda@emory.edu
Atlanta, GA 30322 www.urology.emory.edu

The Robert W. Woodruff Health Sciences Center
An equal opportunity, affirmative action university
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 75 of 120

reconstructive urology patients. The work that you helped inspire Dr. Hartsell, Dr. David, Dr. Aliperti has
led to abstracts submitted to regional and national meetings by Dr. Cancian.

Accordingly, your performance in scholarship during the past year has been commendable.

In the coming year, the Department would benefit from your continuing to encourage, enable, and
help guide the research activities of the Reconstructive Urology Fellow as well as the research activities
of junior faculty at Grady.

Il]. INTERNAL SERVICE:

You continue to lead in multiple internal service roles in your capacity as the Chief of the
Urology Service at Grady, which continues to be, per your leadership, among the model surgical services
at Grady Memorial Hospital. Notably, you continue to have one of the most productive subspecialty
clinical practices among Emory Urology faculty, in your practice that focuses on GU reconstruction, and
for which you have established a reputation as the premier reconstructive urological surgeon in the
Georgia-Alabama-South Carolina-Florida region. Your practice exemplifies a regional “top-of-
subspecialty” expertise that is a model for junior faculty in urology to emulate.

Notably, after expressing an interest in potentially opting out of call as of September 2019, you
heard concerns I communicated, about how such a change would be highly disruptive and could induce a
cascade of team disengagement from one of our most fundament pillars of teamwork in the Department:
that of shared responsibility for off-hours call. You’re subsequently agreeing to continue to participate in
off-hours call is greatly appreciated, especially as you already perform more than your share of call
coverage because you routinely cover off-hours trauma emergencies at Grady on many nights/weekends
when you are not on call.

Accordingly, your contribution to internal service at Emory in the past year is rated as
exemplary.

In the coming years, Emory SOM the Department would benefit from your continued leadership
and contribution to these existing internal service endeavors.

IV. EXTERNAL SERVICE:

You have participated in leadership roles in professional society activities of the GURS and the
AUA, including your participation in AUA Guidelines for trauma and reconstructive urology, and your
role as faculty in the Reconstructive Urology course at the national AUA meeting.

Accordingly, your contribution in external service during the past year has been
accomplished.

In the coming year(s), continuing your contributions in these professional groups and seeking
related leadership roles will be helpful for promoting the your national reputation and the visibility of the
Emory GURS Fellowship under your directorship. .

V. CITIZENS HIP/PROFESSIONALISM:

You have demonstrated consistency of temperament in a busy and stressful environment, and
navigated challenging circumstances with poise, while showing equally exceptional effectiveness as a
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 76 of 120

service leader in Urology at Grady Memorial Hospital, despite capacity limitations in the Grady OR’s.
You have been a very positive ambassador of Emory Urology in the region, and beyond.

You have shown flexibility and were open to feedback regarding the interest you had voiced
about the possibility of your opting out from off-hours call participation. I am delighted that you agreed to
continue participating in call in FY20 and look forward to continued dialogue with you about how we can
mitigate the burden of your call coverage, to make it possible to extend the longevity of your team
participation.

Accordingly, your adherence to citizenship and professionalism in the past year has been
exemplary.

MENTORSHIP:

You have been a highly effective mentor for the Reconstructive Urology Fellows, attested by
several of them (Dr. Ng, Dr. Wyre, Dr. Hartsell, and Dr. Cancian) having proceeded to faculty positions
at major academic medical centers. You have also become a valued mentor for junior faculty, highlights
of which include your having found a perspective of complementary expertise to guide the development
of Dr. Lay, your most junior faculty member at Grady, whose successes attest in part to the effectiveness
of your mentorship.

In the coming year, I encourage you to continue formalizing your mentor role for junior faculty,
including Dr. Hartsell and Dr. Lay, such as through regular individual meetings with each throughout the
year (e.g. to discuss strategies for their career progress and/or other concerns), and for your formalizing
your role and responsibility as being one of their primary mentors.

OVERALL:

Overall your performance in FY19 has been accomplished/outstanding.

Congratulations once again on your academic promotion to Associate Professor. I look forward to
meeting again with you again soon, to explore how the Department can continue to facilitate your
ongoing career development and success and the success of Emory Urology at Grady under your

leadership.

With respect and appreciation,

|p ALL

Martin G. Sanda, MD
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 77 of 120

_ 8/7/2021 Emory University School of Medicine Career Conference and Performance Review

June 7, 2021 Career Conference and Performance Review Print this Page

2020
Part |
Name Kenneth Jeff Carney
Rank/Title Associate Professor - SOM
Track Not Applicable
Appointment or Last Promotion Date 09/01/2019
Department Urology
Division Urology
Date of Conference 07/17/2020
Evaluator Sanda, Martin Professor And Chair
CV

View Attached CV: Carney, Kenneth-Urology-Curriculum Vitae-2-2.doox?”

Describe any awards and notable achievements:

Goals
FY 2019 Goals and Success
(proposed by faculty member)
Continue to Grow the Grady GU service Submit 1 or 2 abstracts to SESAUA Promotion to associate Professor
Expand present mentorship responsibilities Possibly Expand and grow the GURS Fellowship
Success in Achieving Goals
{filled out jointly)
SEE SUMMARY

This Year's Goals and Success
(proposed by faculty member)

CONTINUE TO GROW THE GRADY UROLOGY SEVICE AND FACULTY IMPROVE THE GURS
FELLOWSHIP BE MORE INVOLVED IN MEDICAL STUDENT EDUCATION BE THE IDEAL MENTOR AND
TEACHER FOR ALL OUR RESIDENTS BE A ADVOCATE FOR EMORY AND GRADY

Action Plan
(filled out jointly)

SEE SUMMARY

items for discussion: Other topics you would like to discuss
GURS FELLOWSHIP

 

 

Part Il
Expectations Develoament c dable A plished Exemplary NA
Scholarship x
Teaching be
Internal Service x
External Service x
Citizenship x
Overall
Performance x
Assessment

Narrative Summary
View Attached Summary: SUMMARY J Carney 2020. pdf o
ANNUAL REVIEW IS THE ATTACHED PDF DOCUMENT

Part Ill

Faculty Comments:

Having the opportunity to respond and provide feedback to allegations and terminology in my annual Career
Conference Performance Review is much appreciated. | find it more than coincidental that Dr. Sanda
responded to a very critical email | had sent hirn pertaining to concerns | voiced about he interfering and
weakening the GURS fellowship, which ! direct, and he bullying the fellow at 8:38 AM on August 27; | then
receive the SOM-CCPR notification that Dr. Sanda has completed my less than stellar annual Career
Conference Performance Review a little more than 2 hours later at 10:55 AM on August 27. | find this a clear
example of an unwelcome repercussion for my standing up to Dr. Sanda and confronting his inflexible,
intimidating, manipulative, and Machiavellian tactics. My biggest mistake during this year's annual CCPR was
meeting with Dr. Sanda alone. | have been warned by other senior faculty in our department to never go into a
meeting with Dr. Sanda alone so that it is his word against my word, | asked our departmental administrator Tari
Owi to be present, but he conveniently "forgot" to send her the zoom invite until the last 10 minutes.
Coincidence? | think not. A lesson learned on my behalf? Most definitely. For these reasons, | will not be

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2020&fdept=554&fdiv=1128&CFID=6578... 1/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 78 of 120
, 6/7/2021 Emory University School of Medicine Career Conference and Performance Review

attending any future meetings in which Dr. Sanda and | are alone. He makes me uncomfortable. It should be a
requirement for someone else to be present with Dr. Sanda at all future faculty annual CCPRs. This is in stark
contrast fo our former chairman, Frey Marshail, where no one ever felt intimidated or uncomfortable to be alone
in his presence. During the annual CCPR, Dr. Sanda tried relentlessly to strong-arm me into giving up the GME
site directorship voluntarily. There is no documentation of me being subpar in my role as GME site director, and
| have held this position for most of my 20 years at Grady. Dr. Sanda wants to give this title to a new faculty
member who just started work on September 1, 2020. | adamantly refused. He then twisted my arm into giving
up the UME site director title, again a job | have performed for most of my 20 years at Grady. | have no
documented deficiencies in UME area. Fearing vengeance and repercussions, and knowing that | had used
significant political capital to keep my GME title, | reluctantly agreed to give up the UME position to be given to
an inexperienced new hire on his first day. Let the record show this was not voluntary, as described by Dr.
Sanda in my annual CCPR, Initially, | found it hard to believe that Dr. Sanda chose to state that "the GME
program at Grady has at times struggled with maintaining compliance with resident work hour guidelines." |
appreciate the opportunity to set the record straight. | find it interesting that we did not discuss work hour
violations during my annual evaluation, but it appeared in the final written version. | find it even more interesting
that Dr. Sanda has chosen to critique me on work hour violations when he is why those work hour violations
occurred. Truth be known, if there were resident work hour violations at Grady, they occurred during the last
academic year and resulted from Dr. Sanda's Machiavellian and confrontational leadership style and inability to
partner efficiently with our general surgery colleagues, which resulted in: 1) General surgery removing the quad
callintern from the Grady urology service. In my 20 years serving as chief of urology at Grady, we have
ALWAYS had a general surgery intern either rotating on the service or covering in-house quad night call. This
most necessary team member was removed, and hence our urology service had no cross cover, which placed
a huge burden on the junior team members. This loss was accompanied by the Grady service being short one
resident, a PGY-4. One of our residents left the program two years ago, and the department decided not to
replace him, which left us short on residents during a critical time of lacking quad call coverage. 2) The failure of
Dr, Sanda to listen to my repeated pleas for increased fellow support at Grady. | am the fellowship director for
the GURS reconstructive fellowship. On numerous occasions, | have pleaded with my chairman that due to
Grady's uniqueness and the increasing number and unpredictability of GradyHospital traumas, | need more
help. | have repeatedly requested my fellow to be full time at Grady, and the Grady administration has offered
100% support of the GURS fellow salary. However, Dr, Sanda refuses to allow the fellow to be at Grady full
time. In their program evaluations, all fellows have requested spending more time with me. During the COVID-
19 pandemic, we were short-staffed at Grady, and the fellow was placed at Grady full time. Since reinstituting
the quad call intern and placing the fellow at Grady full time, we had ZERO resident work hour violations. Now it
is perfectly clear to me the reason Dr, Sanda is not permitting my fellow to be at Grady, despite 100% salary
commitment on Grady's behalf, he wants to criticize me for resident workhour violations, so he can unfairly strip
me of my GME responsibilities in the near future. Suppose only Dr. Sanda would partner better with other
services and me as Grady chief of service and GURS fellowship director and provide the relevant support. In
that case, the above issues could be avoided. For the last 7 months, we have proven that even during the
COVID-19 pandemic, we will not have urology resident work hour violations at Grady when appropriately
supported by full-time GURS fellow presence and when we partner effectively with general surgery for the quad
call intern. | do not think one incident qualifies as a"struggle". It is so unfair to hold me responsible for resident
work hour violations when removing the quad call intern was not my choice; if asked if | would have vehemently
opposed. And, with the lack of relevant fellow support. Perhaps Dr. Del Rio or Dr. Jansen, the Grady CMO, can
be involved in my future evaluations, For they, like me, work at Grady every day and are aware of Grady's
increasing trauma numbers and my contributions and importance to the overall mission of Grady Hospital.
Finally, | appreciate Dr. Sanda's comment—" Notably, you continue to have one of the most productive
subspecialty clinical practices among Emory Urology faculty.” | will make a bold prediction that this year, even in
the middle of the COVID pandemic, when others have seen a decline in their productivity, my wRVU production
will hold steady or possibly exceed last year.

Part IV

Upload PDF Chair Comments of Faculty Re

Choose File | No file chosen Je
Or Enter Chair Comments: (Up to 4000 Characters)

lam sorry to read Dr, Carney’s interpretation of his annual performance review meeting and perspective
regarding my leadership. The Department Administrator, Tari Owi, was aware of the time for the review and an
unforeseen other obligation impeded her participation. Dr. Carney's description of the meeting is inaccurate with
regard to the style of dialogue and our mutual collaborative conversation, Regarding the GME concerns, |

simply reiterated concerns that had previously been communicated to Dr. Carney in meetings led by the Urology
GME Program Director, Dr. Mehta, in which | and others (Ms Owi and Dr Ritenour) have participated, so this was
not new information to Dr Carney.

| am more than willing to include other Urology leaders in future meetings with Dr. Carney, and based on the
manner in which he has misrepresented the content and conduct of this year's annual review, | will be sure to
adjust the approach of communication with Dr.Carney to be team-based, to ensure clarity of content and tone.

 

view (chair_firstname lastname_year.pdf):

Ad et

  
 

mie}
air

    

Evaluator Signature

: Sanda, Martin Date: 08/27/2020
Equivalent:

Raculty Signature Kenneth Jeff Carney Date: 09/08/2020
quivalent:

 

https://secure.web.emory.edu/med/prod/database/fes/cdcr_eva_print2.cfm?review_user_id=1509&get_year=2020&fdept=554 &fdiv=1128&CFID=6578... 2/2
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 79 of 120

Annual Career Conference and Performance Review: 2020
Jeff Carney, MD, PharmD

Dear Jeff,

Thank you for taking the time to submit your updated CV, past year’s accomplishments, this
year’s goals and long-term goals onto the Emory School of Medicine CCPR website, and for meeting with
me earlier this fall to review your performance as an Emory Urology faculty member, as well as to
discuss how the Urology Department can facilitate your career development and job satisfaction.

A highlight of your accomplishments in the past year was your leadership in navigating Grady
Urology through the pressures of the COVID pandemic. Grady and Emory Urology alike are indebted

to your indefatigable efforts to maintain necessary urology services at Grady despite the pandemic.

A summary of your annual review and career development plan are summarized as follows, in
the context of the Emory SOM and Urology Department’s mission goals of Education/Teaching,
Innovation/Scholarship, Internal Service, External Service, and Citizenship/Professionalism (ie adherence
to the Emory SOM Pledge), with your performance in each of these 4 goals rated based on the Emory
SOM CCPR performance evaluation metrics.

in addition, | have taken the opportunity of the annual review process to re-emphasize the
importance of your contribution to mentorship of others and/or plans for your receiving mentorship and
ongoing guidance and advice regarding your own career development.

|. EDUCATION:

You have provided significant contribution in education through teaching residents, students,
and practicing urologists through activities and strengths of your performance including but not limited
to the following:

a) You continue as faculty Director for the Reconstructive Urology Fellowship and secured a

successful GURS Fellowship match for the third consecutive year

b) You continue serving as Site Director of the Emory Urology Residency for the EUH rotation,

and in this capacity provide invaluable operative clinical teaching of urological to Urology
residents, especially as relates to operative techniques and perioperative care in
reconstructive urology.

c) You continue teaching M-IV subinterns in the OR and clinic, with Grady being one of 4

Emory sites where the subinterns spend their time, and the Grady rotation is consistently
receives accolades from visiting and Emory medical students alike.

However, the GME program at Grady has at times struggled with maintaining compliance with
resident work hour guidelines, with successes in this regard counterbalanced by reports from residents
to the GME Director. The residents have also reported being asked to perform duties that some of them
consider to be inappropriately directive outside of normal duty hours. | understand you have begun
dialogue with the GME Director about how to address these concerns.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 80 of 120

Accordingly, your performance in teaching during the past year is rated as accomplished.

it is challenging for the Chief of the Clinical Service to serve, concurrently, as Site Director for the
GME rotations, because the clinical service needs and priorities are not always aligned with those of the
residents. On this basis, | asked when we met whether you would be willing to delegate the GME faculty
lead role to another faculty member at Grady, and you emphasized that you want to maintain you GME
leadership role. | urge you to consider selecting, together with Dr. Mehta as Urology GME PD, a faculty
member to serve as Associate Site Director, to work under your tutelage in attending to some of the
GME faculty tasks, and to broaden the opportunity for feedback from the residents and broaden your
ability to determine and/or implement rotation adjustments and/or refinements as needed.

in order to broaden ownership of the education mission and leadership opportunities to some
of the more junior Grady Urology faculty, you agreed to transition lead role in UME Site Directorship to
Dr. Narayan. Thank you very much for agreeing to take this important step to broaden team ownership
of leadership at Emory Urology at Grady, which will enhance engagement and career development of
the junior faculty while broadening input for Urology UME at Grady.

Recently you advocated to change the scope of service of the GURS non-ACGME Fellow,
including your request to remove the fellow from participating in the Reconstructive Urology clinic at
EUH. That could be a somewhat drastic response to feedback from recent graduating fellows (that the
EUH clinic time involved either too much general urology or too much time with one faculty member). |
would ask you to consider whether/how the fellow feedback could be addressed with some compromise
steps that could enhance the reconstructive learning at EUH, as a possible alternative to eliminating
altogether the fellow’s time at EUH (for example some manner of reducing and focusing the fellow clinic
and balancing the time gained with research time, which you have also requested).

Il, INNOVATION/SCHOLARSHIP:

Your efforts and accomplishments in scholarship/innovation have been anchored in the
innovative elements of your reconstructive urology practice. Moreover, you have provided constant
encouragement to the reconstructive urology fellows in supervising their interrogation of outcomes of
the reconstructive urology patients. You have co-authored new publications and continue to encourage
clinical research at Grady.

Accordingly, your performance in scholarship during the past year has been commendable.

In the coming year, the Department would benefit from your continuing to encourage, enable,
and help guide the research activities of the Reconstructive Urology Fellow as well as the research
activities of junior faculty at Grady.

Ili, INTERNAL SERVICE:

You continue to lead in multiple internal service roles in your capacity as the Chief of the
Urology Service at Grady, which continues to be, per your leadership, among the model surgical services
at Grady Memorial Hospital. Notably, you continue to have one of the most productive subspecialty
clinical practices among Emory Urology faculty, in your practice that focuses on GU reconstruction, and
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 81 of 120

for which you have established a reputation as a premier reconstructive urological surgeon in the
Southeast.

A highlight of your internal service in the past year was your leadership in navigating Grady
Urology through the pressures of the COVID pandemic.

Accordingly, your contribution to internal service at Emory in the past year is rated as
exemplary.

In the coming years, Emory SOM the Department would benefit from your continued leadership
and contribution to these existing internal service endeavors.

IV. EXTERNAL SERVICE:

You have participated in leadership roles in professional society activities of the GURS and the
AUA, including your participation in AUA Guidelines for trauma and reconstructive urology. The COVID
pandemic diminished these opportunities so it is understandable that your activities in the arena of
external service may have been somewhat less in the past year than in prior years

Accordingly, your contribution in external service during the past year remains accomplished,
i.e. preserving the rating of last year, despite reduced activity as such reduction is expected due to
COVID pandemic.

In the coming year(s), continuing your contributions in these professional groups and seeking
related leadership roles will be helpful for promoting the your national reputation and the visibility of
the Emory GURS Fellowship under your directorship.

V. CITIZENSHIP/PROFESSIONALISM:

You have demonstrated consistency of temperament in a busy and stressful environment, and
navigated challenging circumstances with poise, while showing equally exceptional effectiveness as a
service leader in Urology at Grady Memorial Hospital, despite capacity limitations in the Grady OR’s.
You have been a positive ambassador of Emory Urology in the region, and you continue to contribute in
teamwork by participating in off-hours call.

Accordingly, your adherence to citizenship and professionalism in the past year has been
accomplished.
MENTORSHIP:

You have mentored the Reconstructive Urology Fellows, attested by several of them (Dr. Ng, Dr.

Wyre, Dr. Hartsell, and Dr Cancian) having proceeded to faculty positions at major academic medical
centers.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 82 of 120

You have also mentored junior faculty, highlights of which include your having found a
perspective of complementary expertise to guide the development of Dr. Lay, your most junior faculty
member at Grady, whose successes attest in part to the effectiveness of your mentorship.

In the coming year, | encourage you to continue formalizing your mentor role for junior faculty,
including Dr Hartsell, Dr. Lay, and Dr. Narayan, such as through regular individual meetings with each
throughout the year (eg to discuss strategies for their career progress and/or other concerns), and for
your formalizing your role and responsibility as being one of their primary mentors.

OVERALL:
Overall, your performance in FY20 has been accomplished.
| look forward to meeting again with you again soon, to explore how the Department can

continue to facilitate your ongoing career development and success and the success of Emory Urology at
Grady under your leadership.

With utmost respect and appreciation,

Martin G. Sanda, MD
Professor and Chair
Department of Urology
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 83 of 120

Approved by BOT
May 2017

STATEMENT OF PRINCIPLES GOVERNING FACULTY RELATIONSHIPS
(“THE GRAY BOOK”)

Academic Freedom and Responsibility

A concern to provide a University atmosphere in which there is freedom to pursue truth and to discuss all
relevant questions has led the trustees of Emory University to accept the general principles and purposes
embodied in the 1940 Statement of Principles on Academic Freedom and Tenure that was originally
cosponsored by the Association of American Colleges and the American Association of University
Professors and subsequently endorsed by more than a score of major educational associations and learned
societies.

According to the authors: “The purpose of this statement is to promote public understanding and support
of academic freedom and tenure, and agreement of procedures to assure them in colleges and universities.
Institutions of higher education are conducted for the common good and not to further the interest of
either the individual faculty member or the institution as a whole. The common good depends on the free
search for truth and its free exposition.”

The 1940 Statement emphasizes that to ensure maximum effectiveness; faculty members should have
security adequate for freedom to teach and to seek truth. This includes security of position after a
reasonable period of probation, income commensurate with professional attainments, and assurance of
explicit contract. As a citizen, the faculty member is also entitled to the right to participate in activities
related to citizenship in a democratic society.

The 1940 Statement further emphasizes the correlative obligations and responsibilities imposed by the
special position occupied by the faculty. Most important is the obligation for effective performance of
duty. In addition, the 1940 Statement emphasizes that when a faculty member speaks or writes as a
citizen, he or she should remember that the public may judge his or her profession and institutions by
those utterances. Hence, a faculty member should at all times be accurate, should exercise appropriate
restraint, should show respect for the opinions of others, and should indicate that he or she speaks as an
individual and not for the institution.

With the acceptance by trustees, administrative officers, and faculty members of the related principles of
freedom and obligation, an individual faculty member is assured of reasonable protection against arbitrary
pressures and procedures; and the institution, students, and the general public are assured of reasonable
protection against incompetence and irresponsible utterance.

Appointment and Tenure:

1. Appointments to the faculty shall be of two kinds: limited and continuous. A limited appointment is
terminated at the close of a period of time specified in writing to the appointee. A continuous
appointment is not to be terminated by the university except for adequate cause as specified below or
by retirement in accordance with the provisions of the Emory University Retirement Plan.

2. (a) As provided in Article IV, Sec. 3 of the By-Laws of Emory University: “Limited appointment
shall be made by the Dean of the academic unit primarily concerned and shall be reported
annually to the Provost and Executive Vice President for Academic Affairs or the Executive
Vice President for Health Affairs, whomever is appropriate

Exhibit “B”
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 84 of 120

Approved by BOT
May 2017

“Continuous appointments shall be made by the Board of Trustees or its Executive Committee
upon the recommendation of the President who shall have conferred regarding such
recommendation with the Dean of the academic unit primarily concerned and the appropriate
academic Executive Vice President. “The deans shall establish and communicate to their
faculty the procedures for expressing faculty opinion in matters of individual appointment,
promotion and termination. The precise terms and conditions of each appointment shall be
stated in writing, shall be in accordance with the principles approved and published by the
Board of Trustees, and shall be in possession both of the University and the appointee before
the appointment is final.”

(b) Copies of the procedures mentioned above shall be filed with the Provost and Executive Vice
President for Academic Affairs, the Executive Vice President for Health Affairs, when
appropriate, and the Executive Committee of the Faculty Council.

The Continuous Appointment Track: Except as otherwise provided herein, the following conditions
shall apply to full-time appointments in the ranks of professor, associate professor, assistant
professor, and instructor:

(a) Appointments to the rank of professor shall be continuous.

(b) Appointments to the rank of associate professor may be continuous or limited. Limited
appointments at the rank of associate professor shall not exceed five years.

(c) Appointments to the ranks of assistant professor on the tenure track and instructor shall be
limited.

(d) The duration of a limited appointment at the rank of assistant professor at Emory is established
by the school or college in which the faculty member is appointed and is described in the tenure
policies for that school. The time period is typically counted from the date of appointment. In
certain cases, the years may be counted from the time the terminal degree is received. When a
formal extension of the tenure clock has been granted, the time spent in a limited appointment
may be extended beyond the school’s stated time period.

(ec) Standards for appointments at rank, along with promotion and tenure, reflect the expectations
that a faculty holds of its members. Each academic unit will set forth specific rules and
guidelines for attaining a continuous appointment or promotion. Candidates for appointment or
promotion to Associate Professor must show academic excellence, including meritorious
scholarship, creative inquiry, and outstanding teaching, as well as have the demonstrated
promise to become leaders and transform their field as their career progresses. Candidates for
appointment or promotion to Professor must show scholarly excellence and be established,
nationally or internationally, as among the most distinctive and recognized voices in their
disciplines, consistently examining and addressing their fields’ most pressing questions.

The Limited Appointment Track: Appointment to the rank of professor (clinical), associate professor
(clinical), assistant professor (clinical), instructor (clinical), professor (research), associate professor
(research), assistant professor (research), instructor (research), professor (medical educator and
service), associate professor (medical educator and service), assistant professor (medical educator and
service), professor of practice, professor of pedagogy, or professor of performance), and instructor
shall be limited. Limited appointments as Senior Associate and Associate only are used in the health
10.

11.

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 85 of 120

Approved by BOT
May 2017

sciences. Such appointments carry no restrictions on years of service in these ranks and may be
reserved for those individuals who serve in specialized capacities in which advancement to
continuous appointment would not ordinarily be anticipated. Specific rules and guidelines for
appointment and promotion on these limited appointments are set forth by each academic unit.

In cases where appointment to one of the ranks enumerated above is inappropriate, the title of
lecturer, special lecturer, senior lecturer may be given by the Dean of the academic unit primarily
concerned and shall be reported annually to the Provost and Executive Vice President for Academic
Affairs. Such appointment shall be limited.

Visiting, part-time, temporary, and uncompensated appointments are governed by the written
conditions of each individual appointment but shall, in all cases, be limited. Such appointments shall
not exceed three years and shall be reported annually to the Provost and Executive Vice President for
Academic Affairs. In the School of Medicine, two-year appointments of uncompensated volunteer
faculty may be renewed based on performance and need.

Appointments using the acting title Acting Associate Professor or Acting Professor shall be used only
for new faculty members at the rank of Associate Professor or Professor whose tenure decision is
pending review by the Board of Trustees or its Executive Committee.

The terms of the limited appointment shall be stated in writing. Written notice of renewal for a
limited appointment shall be provided by the Dean of the academic unit primarily concerned and shall
be reported annually to the Provost and Executive Vice President for Academic Affairs or the
Executive Vice President for Health Affairs. Written notice of non-renewal for a limited appointment
shall be provided by the Dean of the academic unit primarily concerned and shall be reported
annually to the Provost and Executive Vice President for Academic Affairs or the Executive Vice
President for Health Affairs ideally six months, but at a minimum three months in advance of the end
of the appointment. .

In each case the Dean of the academic unit primarily concerned shall have conferred regarding any
recommendation for appointment and, promotion for continuous faculty, appointments or nonrenewal
of a limited faculty appointment with members of the department or faculty concerned, according to
procedures, which shall have been previously established and communicated to the faculty.

A member of the faculty who intends to resign shall give notice in ample time, preferably at least one
academic semester, to permit the university to plan accordingly.

A member of the faculty who has served on a regular full-time basis continuously for a period of ten
or more years and who is at least age fifty-five, and whose total age and years of continuous service
equals at least seventy-five, may retire at the end of any semester at the option of the faculty member.
Under unusual circumstances, appointments may be extended to retired faculty on a year-to-year
basis by the Dean of the academic unit.

A retired member of the faculty who has reached age fifty-five and has served as a member of the
Emory faculty for at least ten continuous years, and whose total age and years of continuous service
equal at least seventy-five, may be considered for an ‘“‘emeritus” title that reflects rank and
appointment track at the time of retirement. Following rules and guidelines for academic titles, the
Dean of the academic unit where the faculty member’s appointment is housed may recommend a

 

* The use of the senior associate and associate title for limited faculty appointments currently is under
review.
12.

13.

14.

15.

16.

17.

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 86 of 120

Approved by BOT
May 2017

faculty member to the Provost and Executive Vice President for Academic Affairs and the President,
who shall inform the Board of Trustees, if awarded.

Continuous appointments may be terminated:
(a) By resignation;
(b) By retirement in accordance with the provisions of the Emory University Retirement Plan;

(c) For one or more of the following reasons: moral delinquency, neglect of academic duty,
incompetence, permanent physical or mental incapacity for which there is no reasonable
accommodation, or other such adequate cause.

The Executive Committee of the Faculty Council, in consultation with the Provost and Executive
Vice President for Academic Affairs, shall select five members of the tenured faculty to serve as the
Faculty Hearing Committee. The Faculty Hearing Committee shall conduct hearings, make findings
of fact, and make recommendations to appropriate university officers when a faculty member’s
employment is or may be suspended, transferred or terminated for any reason specified in Paragraph
12(c) above or Paragraph 14 below. When a faculty member seeks review for a reason listed under
paragraph 14 below, the jurisdiction of the Faculty Hearing Committee shall be limited to whether the
individual faculty member has been treated in a manner that is arbitrary or capricious and shall not
extend to an inquiry in to the propriety of any action by the board of Trustees under paragraph 14(a)
or (c) or of the president under paragraph 14(b). The methods of invoking jurisdiction of the Faculty
Hearing Committee, the procedures to be employed by it, and additional regulation of its membership
and responsibilities shall be established by resolution of the Faculty Council approved by the
president of the university.

Nothing in the provisions set forth above shall be interpreted as restricting:

(a) The right of the Board of Trustees under extraordinary circumstances to discontinue any
academic program, department, or unit of the university.

(b) The right of the President and the Provost and Executive Vice President for Academic Affairs,
after conference with the appropriate Dean, and when appropriate, department chairs, to assign
any faculty member to any appropriate position, provided no such assignment shall carry with it
reduction in rank or change of status as to tenure.

It is the express desire and purpose of the President and the Board of Trustees to use the powers
expressly reserved (Paragraph 14 above) only in cases of the utmost necessity, when failure to use
such powers would adversely affect the interest of the university.

A faculty member on continuous appointment, whose appointment is terminated on the initiative of
the university for reasons not involving moral delinquency, shall receive his or her salary for one year
from the date of notification of termination, or until such time, within one year, as he or she may have
entered into other employment, or commenced receipt of disability income insurance.

The provisions set forth above shall not apply to administrative offices. Appointment to, or
retirement from, such offices shall not deprive faculty members of their tenure in the highest rank in
which they have served prior to or during their service in administrative office.
18.

19.

20.

21,

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 87 of 120

Approved by BOT
May 2017

Promotion: Promotion is based upon departmental needs and upon the faculty member’s growth
in professional competence and increased service to the university. Recommendations for
promotion are made by the dean of the school for college primarily concerned as provided in
Paragraph 2 above.

Leaves of Absence: Emory strongly encourages faculty members to take such leaves of absence

as may benefit themselves and the university. At intervals of at least six years of continuous service
at Emory University, leaves of absence may be granted for a half year on full pay or for a year on
half pay by the Dean of the academic unit. Other leaves of absence may be granted on such terms as
may appear justified in individual cases.

In conformity with paragraphs 2(a), 2(b), 3 and 8 of this “Statement of Principles Governing Faculty
Relationships,” the Dean and Faculty of each School and Division have established more detailed
procedures for appointments, promotions and tenure. Members of the faculty are urged to secure
copies of such procedures to their appointments and become familiar with them.

Definition of year(s)” and “year(s) of service.”’ Throughout the “Statement of Principles
Governing Faculty Relationships,” the terms “‘year(s)” and “year(s) of service” shall be construed
based on the start date of employment as a faculty member at Emory.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 88 of 120

EMPLOYMENT AGREEMENT WITH THE EMORY CLINIC, INC.

THIS IS AN EMPLOYMENT AGREEMENT ("this Agreement") made and
entered into on the 16th day of August, 2001 by and between THE EMORY CLINIC,
INC., a Georgia non-profit corporation (the "Clinic") and, Kenneth J. Carney, MD, PharmD
(“Physician”), in which the parties hereto, in consideration of the mutual covenants and
conditions contained in this document, the sufficiency of which is hereby acknowledged,
do hereby agree as follows:

1. Employment. The Clinic hereby employs Physician as a physician in the
practice of medicine, and Physician hereby accepts such employment, all upon the terms
and conditions set forth in this Agreement. Employment pursuant to this Agreement shall
be at will and shall commence on August 1, 2001.

2. Section. Physician shall be a member of the Section of Urology (the
"Section’).
3. Covenants of Physician.

 

(a) Employment. Physician agrees to devote all of Physician’s
professional working time and attention to the practice of medicine with the Clinic, except
such time as is required to perform Physician’s duties as a member of the faculty of the
Emory University School of Medicine. During Physician’s employment with the Clinic,
Physician shall not engage in any other employment involving the practice of medical
services, without the written consent of the Chief Executive Officer.

(b) Fees. Physician agrees that all accounts receivable and fees for
professional services rendered by Physician, including, without limitation, fees for providing
testimony, opinion or review as an expert or fact witness and fees for consultative services
to the Veterans Administration Hospital located in DeKalb County, Georgia, shall be the
property of the Clinic except (1) fees collected through the Emory Medical Care
Foundation, Inc. (which fees shall belong to such foundation), (2) salary received from
Emory University or the Veterans Administration and (3) honoraria and other similar fees.
Physician will turn over to the Clinic all fees collected from such professional services
performed by Physician except those derived from services described in (1), (2) or (3) of
the preceding sentence. Physician must obtain the written approval of his Section Head
prior to rendering any professional services outside of the Emory University System of
Health Care affiliated institutions and prior to being engaged to provide any testimony,
opinion or review as an expert or fact witness.

(c) Supervision. Physician agrees to be directly accountable to
Physician’s Section Head on all matters relating to Physician’s employment hereunder.

4. Insurance. The Clinic shall carry, as an expense of the Clinic, professional
liability insurance covering Physician in an amount approved by the Clinic annually.

Exhibit “C”
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 89 of 120

ad wt

5. Restrictive Covenants. Physician expressly acknowledges that during the
course of employment with the Clinic, Physician will be introduced to patients and referral
sources of the Clinic who Physician would not otherwise have met except through
employment under this Agreement. Physician acknowledges that the restrictions imposed
in this paragraph are essential for Physician to be offered employment by the Clinic.
Physician further acknowledges that should employment be terminated for any reason,
whether voluntarily or involuntarily, Physician would be in a position to cause irreparable
harm to the Clinic unless Physician abides by the restrictions imposed herein.

(a) Recruiting of Clinic Employees. During Physician's employment with
the Clinic, and for a period of two (2) years after the termination of such employment, for
whatever reason, Physician shall not, personally, or on behalf of any other person,
business, corporation or entity (other than on behalf of the Clinic or as specifically
authorized by the Clinic), recruit or hire or attempt to recruit or hire or assist others in
recruiting or hiring any employee of the Clinic who is a physician, nurse or other
professional or technical employee with whom Physician had material contact in a
professional capacity during the two years preceding the termination of Physician's
employment with the Clinic.

 

(b) Solicitation of Clinic Patients. During Physician's employment with the
Clinic, and for a period of two (2) years after the termination of Physician's employment
with the Clinic, for whatever reason, Physician shall not personally, or on behalf of any
other person, business, corporation or entity (other than on behalf of the Clinic or as
specifically authorized by the Clinic) solicit any former or current patients of the Clinic, with
whom Physician had material contact on behalf of the Clinic during the two (2) years
preceding such termination of employment, for the purposes of providing medical care
services.

 

(c) Non-Compete Covenant. During Physician's employment with the
Clinic, and for a period of two (2) years after Physician resigns or terminates his
employment with the Clinic, Physician shall not, personally or on behalf of any other
person, business, corporation or entity (other than on behalf of the Clinic or as specifically
authorized by the Clinic), engage in the practice of Urology within a 25 mile radius of
Grady Memorial Hospital, 80 Butler Street, Atlanta, GA 30303. The provisions
contained in this paragraph 5(c) shall not become operative until ninety (90) days following
the commencement date of employment contained in paragraph 1 above.

6. Miscellaneous.

 

(a) Notices. All notices or other communications or deliveries provided
for under this Agreement shall be in writing signed by the party making the same and shall
be deemed to be given when delivered in person or on the third (3rd) business day after
deposit in the United States mail, first-class postage prepaid, addressed to:

 

-2-
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 90 of 120

“ e

(i) If to the Clinic: With a copy to:
The Emory Clinic, Inc. Office of the General Counsel
1365 Clifton Road, N.E. The Emory Clinic, Inc.
Atlanta, Georgia 30322 1365 Clifton Road NE
Attn: Clinic Director Building B, Suite 6431

Atlanta, GA 30322
(ii) If to Physician:

Kenneth J. Carney, MD, PharmD
Department of Urology

or to such other persons or at such different addresses as may be specified in writing,
given by one party to the other in accordance with the foregoing.

(b) Medical Records of the Clinic. If Physician ceases to be employed by
the Clinic for any reason, Physician shall have no right to charts or records of patients
treated by Physician, but all such charts and records shall remain the property of the Clinic.

 

(c) Applicable Law. This Agreement shall be subject to, governed by and
construed in accordance with the laws of the State of Georgia.

7. Termination by University. If not sooner terminated, this Agreement will
terminate on the date the Physician ceases to be a member of the regular full-time faculty
of the Emory University School of Medicine or accepts Emeritus status.

 

IN WITNESS WHEREOF, the undersigned have caused this Agreement to be duly
executed, under seal, as of the day and year first above written.

THE EMORY CLINIC, INC. PHYSICIAN
By: a) XK wroauh / Cony
mD

Rein Saral, M.D. Kenneth J. Carney /MD, Phar
Chief Executive Officer
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 91 of 120

From: Rogers, Thomas <tomrogers@emory.edu>

Sent: Friday, June 25, 2021 10:58 AM

To: Sukhatme, Vikas <vsukhatme@emory.edu>

Ce: Carney, Jeff <kjcarne@emory.edu>; Wakefield, Peter W <pwakefi@emory.edu>; McAfee, Noelle C
<noelle.c.mcafee@emory.edu>

Subject: Dr. K. Jeff Carney contract

June 25, 2021

Dean Vikas P. Sukhatme, Woodruff Professor
Emory School of Medicine

Dear Dean Sukhatme,

Dr. K. Jeff Carney contacted the Emory chapter of the American Association of University Professors (AAUP) to inform us
that his contract with the School of Medicine had not been renewed effective August 31, after nearly 20 years of full-time
service at Emory. We, the executive committee of the AAUP chapter, request that Dr. Carney be afforded a hearing before
an elected faculty committee. We do not write to comment on the merits of the reasons presented to Dr. Carney, but to
insist on adherence to the core principles of academic freedom, due process, and shared governance that the AAUP
defends.

The chapter’s interest in Dr. Carney’s case stems from the AAUP’s longstanding commitment to academic freedom and
tenure, the basic tenets of which are set forth in the 1940 Statement of Principles on Academic Freedom and Tenure. The
Association holds that long-serving full-time faculty members should enjoy the stability that tenure brings, even if their
“track” or job title does not explicitly grant them that status. Regulation 1b of the Association's Recommended
institutional Regulations on Academic Freedam and Tenure provides that, “With the exception of special appointments
clearly limited to a brief association with the institution .. . all full-time appointments are of two kinds: (1) probationary
appointments; (2) appointments with continuous tenure.” The 1940 Statement of Principles calls for a maximum period of
probation not to exceed seven years of full-time faculty service, a principle reinforced in the Association’s report
onContingent Appointments and the Academic Profession.

The authors and endorsers of the AAUP Statement consider continuance of full-time service beyond the maximum
probationary period as entitling faculty members who so serve to the procedural protections that accrue with tenure,
whether or not there has been specific action by the college or university concerned to grant tenure in a particular case.
The report on continent appointments clearly states that “those who are reappointed beyond seven years should be
recognized as having the protections that would accrue with tenure—termination only for adequate cause and with due
process.” Clearly, the principle applies to Dr. Carney, who has served as a full-time faculty member at Emory for nearly 20
years. After such a protracted period, Dr. Carney appears to have long since attained the protections of tenure through
the length of his service.

Regarding due process, the 1940 Statement states: “Termination for cause of a continuous appointment, or the dismissal
for cause of a teacher previous to the expiration of a term appointment, should, if possible, be considered by both a
faculty committee and the governing board of the institution.” The AAUP’s Statement on Government of Colleges and
Universities asserts straightforwardly that “Faculty status and related matters are primarily a faculty responsibility; this
area includes appointments, reappointments, decisions not to reappoint, promotions, the granting of tenure, and
dismissal.” This means that faculty must play a role in the weightiest decisions of university life, including contract
renewals.

We hope the School of Medicine will adhere to best practices in granting Dr. Carney a hearing before faculty to consider
the reasons for his non-renewal and to present his perspective.

Thank you for your attention.

Exhibit “D”

Thomas D. Rogers
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 92 of 120
Associate Professor of History

President, Emory AAUP

Peter Wakefield
Professor of Pedagogy, Institute for the Liberal Arts
Vice President, Emory AAUP

Noélle McAfee
Professor of Philosophy, Secondary Appointment as Professor of Psychiatry and Behavioral Sciences
At-large officer, Emory AAUP

 

This e-mail message (including any attachments) is for the sole use of
the intended recipient(s) and may contain confidential and privileged
information. If the reader of this message is not the intended

recipient, you are hereby notified that any dissemination, distribution
or copying of this message (including any attachments) is strictly
prohibited.

if you have received this message in error, please contact
the sender by reply e-mail message and destroy all copies of the
original message (including attachments).
_Case 1:21-cv-02802-TWT_ Document 1_Filed 07/13/21_Page 93 of 120

 

1133 19th Street, NW, Suite 200, Washington, DC 20036
PHONE: 202.737.5900 « FAX: 202.737.5526 » www.aaup.org

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS

June 29, 2021
VIA ELECTRONIC MAIL

Dr. Gregory L. Fenves
President

505 Kilgo Circle
Atlanta, Georgia 30322

Dear President Fenves:

Dr. Kenneth Jeff Carney, an untenured associate professor of urology in the School of
Medicine at Emory University, has sought the advice and assistance of the American
Association of University Professors as a result of a May 26, 2021, letter from
department chair Martin Sanda and associate dean Ira Horowitz informing him that his
appointment would not be renewed effective August 31, 2021. The basis for the action
was allegedly his refusal to accept training “to address issues of navigating conflict,
leadership and responding appropriately to feedback.” We understand that Dr. Carney has
sharply denied these allegations.

The Association’s interest in Dr. Carney’s case stems from our longstanding commitment
to principles of academic freedom and due process, the basic tenets of which are set forth
in the enclosed 1940 Statement of Principles on Academic Freedom and Tenure. As you
may know, the 1940 Statement was issued jointly by the AAUP and the Association of
American Colleges and Universities. It has received the endorsement of more than 250
professional organizations and learned societies. We are pleased to note the prominent
incorporation of the 1940 Statement in the university’s Statement of Principles Governing
Faculty Relationships (“Gray Book”) and the decision of the Emory board of trustees to
“accept the general principles and purposes embodied in” the 1940 Statement. Derivative
procedural standards applicable to Dr. Carney’s case are set forth in the AAUP’s
Recommended Institutional Regulations on Academic Freedom and Tenure (also
enclosed).

With regard to the dismissal process, the general academic community recognizes that
the dismissal for cause of a faculty member on continuous appointment, or with a special
or probationary appointment before the end of a specified term should occur only after
the affordance of requisite safeguards of academic due process. The following specific
procedures are among those set forth in Regulation 5 of the Recommended Institutional
Regulations: "a statement of charges, framed with reasonable particularity by the
president or the president's delegate"; a formal hearing of record on the charges,
conducted by an elected faculty body; the faculty member's right to have legal counsel;
the faculty member's right to have evidence introduced at the hearing and placed in the

Exhibit “E”
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 94 of 120

President Fenves
June 29, 2021.
Page 2

record; the administration's bearing the burden of demonstrating adequate cause for
dismissal through clear and convincing evidence in the record considered as a whole;
opportunity for the affected faculty member to cross-examine witnesses.

We appreciate that the administration’s action was in the form of nonrenewal of a
contract. Even were we to accept that the action is properly characterized as a
nonreappointment of a faculty member on renewable annual contracts rather than a
dismissal for cause, there is the issue of protections for non-tenured faculty members.
The Association’s enclosed Statement on Procedural Standards in the Renewal or
Nonrenewal of Faculty Appointments calls for, in the event of a decision not to renew an
appointment, the faculty member upon request to be advised of the reasons which
contributed to that decision, and also upon request to have the reasons confirmed in
writing. The Statement further provides that there be opportunity for appeal of a decision
against reappointment when it is requested.

We are also concerned with regard to the case of Dr. Carney, who states that he was in
his twentieth year of full-time service on the faculty of Emory University, with the
adequacy of notification provided him. Notice was issued to Dr. Carney on May 26
effective August 31. Even assuming again that the action against Dr. Carney can be
accurately described as the nonreappointment, rather than the dismissal, of a faculty
member, Association-supported standards call for the provision of at least a year of notice
after two or more years of service at the institution. In this regard, note Regulation 2 (c)
of the Recommended Institutional Regulations.

We recognize that the information on which this letter is based has been provided to us
exclusively by Dr. Carney. We would therefore welcome your comments. If, however,
the facts recounted above are essentially accurate, we recommend that the notice of May
26 be withdrawn and that future action regarding Dr. Carney, if any is to be taken, be
consistent with the principles and standards referenced above.

We look forward to your response.
Sincerely,

Anita Levy, Ph.D.

Associate Secretary

Enclosures

cc: Mr. Robert Goddard, Chair, Board of Trustees
Mr. Stephen D. Sencer, Chief Legal Officer
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 95 of 120

President Fenves
June 29, 2021
Page 3

Dr. Vikas Sukhatme, Dean, Emory University School of Medicine

Dr. Ira Horowitz, Associate Dean, Emory University School of Medicine

Dr. Martin Sanda, Chair, Department of Urology, Emory University School of
Medicine

Professor Thomas D. Rogers, President, Emory University AAUP Chapter

Professor Peter Wakefield, Vice President, Emory University AAUP Chapter

Professor Matthew Boedy, President, AAUP Georgia Conference

Dr. Kenneth Jeff Carney
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 96 of 120

 

1940 Statement of Principles on Academic
Freedom and Tenure

with 1970 Interpretive Comments

In 1915 the Committee on Academic Freedom and Academic Tenure of the
American Association of University Professors formulated a statement of prin-
ciples on academic freedom and academic tenure known as the 1915 Declaration
of Principles, which was officially endorsed by the Association at its Second An-
nual Meeting held in Washington, D.C., December 31, 1915, and January 1, 1916.

In 1925 the American Council on Education called a conference of represen-
tatives of a number of its constituent members, among them the American
Association of University Professors, for the purpose of formulating a shorter
statement of principles on academic freedom and tenure. The statement formu-
lated at this conference, known as the 1925 Conference Statement on Academic
Freedom and Tenure, was endorsed by the Association of American Colleges
(now the Association of American Colleges and Universities) in 1925 and by the
American Association of University Professors in 1926.

In 1940, following a series of joint conferences begun in 1934, representa-
tives of the American Association of University Professors and of the Associa-
tion of American Colleges agreed on a restatement of the principles that had
been set forth in the 1925 Conference Statement on Academic Freedom and
Tenure. This restatement is known to the profession as the 1940 Statement of
Principles on Academic Freedom and Tenure.

Following extensive discussions on the 1940 Statement of Principles on
Academic Freedom and Tenure with leading educational associations and with
individual faculty members and administrators, a joint committee of the
AAUP and the Association of American Colleges met during 1969 to reevaluate
this key policy statement. On the basis of the comments received, and the discus-
sions that ensued, the joint committee felt the preferable approach was to formu-
late interpretations of the 1940 Statement from the experience gained in imple-
menting and applying it for over thirty years and of adapting it to current needs.

The committee submitted to the two associations for their consideration
Interpretive Comments that are included below as footnotes to the 1940 State-
ment.’ These interpretations were adopted by the Council of the American As-
sociation of University Professors in April 1970 and endorsed by the Fifty-Sixth
Annual Meeting as Association policy.

1. The Introduction to the Interpretive Comments notes: In the thirty years since their promulgation,
the principles of the 1940 “Statement of Principles on Academic Freedom and Tenure” have undergone a
substantial amount of refinement. This has evolved through a variety of processes, including customary
acceptance, understandings mutually arrived at between institutions and professors or their representa-
tives, investigations and reports by the American Association of University Professors, and formulations
of statements by that association either alone or in conjunction with the Association of American

13
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 97 of 120

 

The purpose of this statement is to promote public
understanding and support of academic freedom
and tenure and agreement upon procedures to
ensure them in colleges and universities. Institu-
tions of higher education are conducted for the
common good and not to further the interest of
either the individual teacher or the institution as a
whole.” The common good depends upon the free
search for truth and its free exposition.

Academic freedom is essential to these
purposes and applies to both teaching and
research. Freedom in research is fundamental to
the advancement of truth. Academic freedom in
its teaching aspect is fundamental for the
protection of the rights of the teacher in teaching
and of the student to freedom in learning. It
carries with it duties correlative with rights.

Tenure is a means to certain ends; specifically:
(1) freedom of teaching and research and of
extramural activities, and (2) a sufficient degree
of economic security to make the profession

Colleges. These comments represent the attempt of the
two associations, as the original sponsors of the 1940
“Statement,” to formulate the most important of these
refinements. Their incorporation here as Interpretive
Comments is based upon the premise that the 1940
“Statement” is not a static code but a fundamental
document designed to set a framework of norms to guide
adaptations to changing times and circumstances.

Also, there have been relevant developments in the law
itself reflecting a growing insistence by the courts on due
process within the academic community which parallels
the essential concepts of the 1940 “Statement”; particularly
relevant is the identification by the Supreme Court of
academic freedom as a right protected by the First
Amendment. As the Supreme Court said in Keyishian v.
Board of Regents, 385 US 589 (1967), “Our Nation is deeply
committed to safeguarding academic freedom, which is of
transcendent value to all of us and not merely to the teachers
concerned. That freedom is therefore a special concern of the
First Amendment, which does not tolerate laws that cast a
pall of orthodoxy over the classroom.”

2. The word “teacher” as used in this document is
understood to include the investigator who is attached to
an academic institution without teaching duties.

3. First 1970 comment: The Association of American
Colleges and the American Association of University
Professors have long recognized that membership in the
academic profession carries with it special responsibilities. Both
associations either separately or jointly have consistently
affirmed these responsibilities in major policy statements,
providing guidance to professors in their utterances as citizens,
in the exercise of their responsibilities to the institution and to
students, and in their conduct when resigning from their
institution or when undertaking government-sponsored
research. Of particular relevance is the “Statement on
Professional Ethics” adopted in 1966 as Association policy
(AAUP, Policy Documents and Reports, 11th ed. [Balti-
more: Johns Hopkins University Press, 2015], 145-46).

14

attractive to men and women of ability. Freedom
and economic security, hence, tenure, are indispens-
able to the success of an institution in fulfilling its
obligations to its students and to society.

Academic Freedom

J. Teachers are entitled to full freedom in
research and in the publication of the results,
subject to the adequate performance of their
other academic duties; but research for
pecuniary return should be based upon an
understanding with the authorities of the
institution.

2. Teachers are entitled to freedom in the
classroom in discussing their subject, but they
should be careful not to introduce into their
teaching controversial matter which has no
relation to their subject.* Limitations of
academic freedom because of religious or other
aims of the institution should be clearly stated
in writing at the time of the appointment.°

3. College and university teachers are citizens,
members of a learned profession, and officers
of an educational institution. When they speak
or write as citizens, they should be free from
institutional censorship or discipline, but their
special position in the community imposes
special obligations. As scholars and educational
officers, they should remember that the public
may judge their profession and their institu-
tion by their utterances. Hence they should at
all times be accurate, should exercise appropri-
ate restraint, should show respect for the
opinions of others, and should make every
effort to indicate that they are not speaking for
the institution.®

4. Second 1970 comment: The intent of this statement is
not to discourage what is “controversial.” Controversy is at
the heart of the free academic inquiry which the entire
statement is designed to foster. The passage serves to
underscore the need for teachers to avoid persistently
intruding material which has no relation to their subject.

5. Third 1970 comment: Most church-related institutions
no longer need or desire the departure from the principle of
academic freedom implied in the 1940 “Statement,” and we
do not now endorse such a departure.

6. Fourth 1970 comment: This paragraph is the subject of
an interpretation adopted by the sponsors of the 1940
“Statement” immediately following its endorsement:

if the administration of a college or university feels that a
teacher has not observed the admonitions of paragraph 3 of the
section on Academic Freedom and believes that the extramural
utterances of the teacher have been such as to raise grave
doubts concerning the teacher’s fitness for his or her position,
it may proceed to file charges under paragraph 4 of the section
on Academic Tenure. In pressing such charges, the administra-
tion should remember that teachers are citizens and should be
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 98 of 120

Academic Tenure
After the expiration of a probationary period,
teachers or investigators should have permanent
or continuous tenure, and their service should be
terminated only for adequate cause, except in the
case of retirement for age, or under extraordinary
circumstances because of financial exigencies.

In the interpretation of this principle it is
understood that the following represents accept-
able academic practice:

1. The precise terms and conditions of every
appointment should be stated in writing and be
in the possession of both institution and
teacher before the appointment is
consummated.

2. Beginning with appointment to the rank of
full-time instructor or a higher rank,’ the

accorded the freedom of citizens. In such cases the administra-
tion must assume full responsibility, and the American
Association of University Professors and the Association of
American Colleges are free to make an investigation.

Paragraph 3 of the section on Academic Freedom in the
1940 “Statement” should also be interpreted in keeping with
the 1964 “Committee A Statement on Extramural
Utterances,” Policy Documents and Reports, 31, which states
inter alia: “The controlling principle is that a faculty
member's expression of opinion as a citizen cannot constitute
grounds for dismissal unless it clearly demonstrates the
faculty member’s unfitness for his or her position.
Extramural utterances rarely bear upon the faculty
member's fitness for the position. Moreover, a final decision
should take into account the faculty member’s entire record
as a teacher and scholar.”

Paragraph 5 of the “Statement on Professional Ethics,”
Policy Documents and Reports, 146, also addresses the
nature of the “special obligations” of the teacher:

As members of their community, professors have the rights
and obligations of other citizens. Professors measure the
urgency of these obligations in the light of their responsibili-
ties to their subject, to their students, to their profession, and
to their institution. When they speak or act as private persons,
they avoid creating the impression of speaking or acting for
their college or university. As citizens engaged in a profession
that depends upon freedom for its health and integrity,
professors have a particular obligation to promote conditions
of free inquiry and to further public understanding of

academic freedom.

Both the protection of academic freedom and the
requirements of academic responsibility apply not only to
the full-time probationary and the tenured teacher, but also
to all others, such as part-time faculty and teaching
assistants, who exercise teaching responsibilities.

7. Fifth 1970 comment: The concept of “rank of full-time
instructor or a higher rank” is intended to include any
person who teaches a full-time load regardless of the
teacher's specific title. [For a discussion of this question, see
the “Report of the Special Committee on Academic

probationary period should not exceed seven
years, including within this period full-time
service in all institutions of higher education;
but subject to the proviso that when, after a
term of probationary service of more than
three years in one or more institutions, a
teacher is called to another institution, it may
be agreed in writing that the new appointment
is for a probationary period of not more than
four years, even though thereby the person’s
total probationary period in the academic
profession is extended beyond the normal
maximum of seven years.’ Notice should be
given at least one year prior to the expiration
of the probationary period if the teacher is not
to be continued in service after the expiration
of that period?

Personnel Ineligible for Tenure,” AAUP Bulletin 52
(September 1966): 280-82.]

8. Sixth 1970 comment: In calling for an agreement “in
writing” on the amount of credit given for a faculty
member's prior service at other institutions, the “Statement”
furthers the general policy of full understanding by the
professor of the terms and conditions of the appointment. It
does not necessarily follow that a professor’s tenure rights
have been violated because of the absence of a written
agreement on this matter. Nonetheless, especially because of
the variation in permissible institutional practices, a written
understanding concerning these matters at the time of
appointment is particularly appropriate and advantageous to
both the individual and the institution. [For a more detailed
statement on this question, see “On Crediting Prior Service
Elsewhere as Part of the Probationary Period,” Policy
Documents and Reports, 167-68]

9. Seventh 1970 comment: The effect of this subpara-
graph is that a decision on tenure, favorable or unfavorable,
must be made at least twelve months prior to the completion
of the probationary period. If the decision is negative, the
appointment for the following year becomes a terminal one.
If the decision is affirmative, the provisions in the 1940
“Statement” with respect to the termination of service of
teachers or investigators after the expiration of a probation-
ary period should apply from the date when the favorable
decision is made.

The general principle of notice contained in this
paragraph is developed with greater specificity in the
“Standards for Notice of Nonreappointment,” endorsed by
the Fiftieth Annual Meeting of the American Association
of University Professors (1964) (Policy Documents and
Reports, 99). These standards are:

Notice of nonreappointment, or of intention not to recommend
reappointment to the governing board, should be given in
writing in accordance with the following standards:

1. Not later than March 1 of the first academic year of
service, if the appointment expires at the end of that year;
or, if a one-year appointment terminates during an
academic year, at least three months in advance of its

termination.

15
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 99 of 120

3. During the probationary period a teacher
should have the academic freedom that all
other members of the faculty have."

4. Termination for cause of a continuous
appointment, or the dismissal for cause of a
teacher previous to the expiration of a term
appointment, should, if possible, be considered
by both a faculty committee and the governing
board of the institution. In all cases where the
facts are in dispute, the accused teacher should
be informed before the hearing in writing of
the charges and should have the opportunity to
be heard in his or her own defense by all
bodies that pass judgment upon the case. The
teacher should be permitted to be accompanied
by an advisor of his or her own choosing who
may act as counsel. There should be a full
stenographic record of the hearing available
to the parties concerned. In the hearing of
charges of incompetence the testimony should
include that of teachers and other scholars,
either from the teacher’s own or from other
institutions. Teachers on continuous appoint-
ment who are dismissed for reasons not in-
volving moral turpitude should receive their
salaries for at least a year from the date of
notification of dismissal whether or not they
are continued in their duties at the institution.”

2. Not later than December 15 of the second academic year of
service, if the appointment expires at the end of that year;
or, if an initial two-year appointment terminates during
an academic year, at least six months in advance of its
termination.

3. At least twelve months before the expiration of an
appointment after two or more years in the institution.

Other obligations, both of institutions and of individu-
als, are described in the “Statement on Recruitment and
Resignation of Faculty Members,” Policy Documents and
Reports, 153~54, as endorsed by the Association of
American Colleges and the American Association of
University Professors in 1961.

10. Eighth 1970 comment: The freedom of probationary
teachers is enhanced by the establishment of a regular
procedure for the periodic evaluation and assessment of the
teacher’s academic performance during probationary status.
Provision should be made for regularized procedures for the
consideration of complaints by probationary teachers that
their academic freedom has been violated. One suggested
procedure to serve these purposes is contained in the
“Recommended Institutional Regulations on Academic
Freedom and Tenure,” Policy Documents and Reports,
79-90, prepared by the American Association of University
Professors.

11. Ninth 1970 comment: A further specification of the
academic due process to which the teacher is entitled under
this paragraph is contained in the “Statement on Procedural
Standards in Faculty Dismissal Proceedings,” Policy
Documents and Reports, 91-93, jointly approved by the

16

5. Termination of a continuous appointment
because of financial exigency should be
demonstrably bona fide.

Endorsers

Note: Groups that changed names subsequent to
endorsing the statement are listed under their
current names.

Association of American Colleges and

Universities occ cerca cere nrenenees 1941
American Association of University

Professors.....c.ccsssccscssssecessesestesessesseeseseensenees 1941
American Library Association (adapted for

Librarians) ....c.c.ceccccsscesecceeceseeseesesneeseseeneneenes 1946
Association of American Law Schools............. 1946
American Political Science Association ........... 1947
American Association for Higher

Education and Accreditation.......ccccesceee 1950
American Association of Colleges for

Teacher Education. ........cccsceeseeseseeeerereeees 1950
Eastern Psychological Association ......ccce 1950
Southern Society for Philosophy and

Psychology... eccescscsscessecsetesvensenreneeeseeenteess 1953
American Psychological Association ............... 1961
American Historical Association......0..0.0..00+ 1961
Modern Language Association... 1962
American Economic Association... 1962
Agricultural and Applied Economic

ASSOCIALION. ccc cece cseeeescenece ns etene renee 1962
Midwest Sociological Society... 1963
Organization of American Historians............. 1963
Society for Classical Studies 0... eee 1963

  

American Council of Learned Societies........... 1963
American Sociological Association ...........00 1963

American Association of University Professors and the
Association of American Colleges in 1958. This interpretive
document deals with the issue of suspension, about which
the 1940 “Statement” is silent.

The “Statement on Procedural Standards in Faculty
Dismissal Proceedings” provides: “Suspension of the
faculty member during the proceedings is justified only if
immediate harm to the faculty member or others is
threatened by the faculty member's continuance. Unless
legal considerations forbid, any such suspension should be
with pay.” A suspension which is not followed by either
reinstatement or the opportunity for a hearing is in effect a
summary dismissal in violation of academic due process.

The concept of “moral turpitude” identifies the
exceptional case in which the professor may be denied a
year’s teaching or pay in whole or in part. The statement
applies to that kind of behavior which goes beyond simply
warranting discharge and is so utterly blameworthy as to
make it inappropriate to require the offering of a year’s
teaching or pay. The standard is not that the moral
sensibilities of persons in the particular community have
been affronted. The standard is behavior that would evoke
condemnation by the academic community generally.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 100 of 120

Southern Historical Association oo...
American Studies Association ............cccccc8
Association of American Geographers ..........
Southern Economic Association...

Classical Association of the Middle West

and South occ eceseeseeeeeeeseseeeeneeseeneeeens
Southwestern Social Science Association......
Archaeological Institute of America ..............
Southern Management Association...

American Theatre Association

(now dissolved) oo... ceececeeeestecteeteeeeeeeees

South Central Modern Language

ASSOCIATION... ccccccceccesceeteecsseensseneseeeseeens
Southwestern Philosophical Society..............
Council of Independent Colleges...
Mathematical Association of America...........
Arizona-Nevada Academy of Science............
American Risk and Insurance Association...
Academy of Management .........cccseeeeneee
American Catholic Historical Association...

American Catholic Philosophical

ASSOCIATION... coe cccccccsesesesesseceeeeeeesenseee

Association for Education in Journalism

and Mass Communication...
Western History Association «0.0.0.0...
Mountain-Plains Philosophical Conference...
Society of American Archivists...
Southeastern Psychological Association........

Southern States Communication

ASSOCIATION... ce cece cece neeeneeeneenes
American Mathematical Society...

Association for Slavic, East European,

and Eurasian Studies ........cccscccsscresseeees
College Theology Society... cesses
Council on Social Work Education........0000.

American Association of Colleges of

Pharmacy .....ceccccesseseesesesseeetereseeeseseeeeeanenes
American Academy of Religion 00.0.0...
Association for the Sociology of Religion .....

American Society of Journalism School
Administrators (now merged with the
Association of Schools of Journalism

and Mass Communication)...

John Dewey Society 00... ceceneneneeeneeen

South Atlantic Modern Language

ASSOCIATION... cc ccccceccececccsccesetseecseeneeeses
American Finance Association ..........c.cc0
Association for Social Economics ..........:0000
Phi Beta Kappa Society 0.00...
Society of Christian Ethics «00.0.0...

American Association of Teachers

OF French oo... cecescceesecesesesececeseceeeseetseseetenees
Eastern Finance Association .......0... cece
American Association for Chinese Studies ...
American Society of Plant Biologists.............
University Film and Video Association.........
American Dialect Society ...0..0...0 eee

American Speech-Language-Hearing

ASSOCIATION... eee teeter esienereeennee tee 1968
Association of Social and Behavioral]

SCIENTISTS oo. ec ce cee eeeene cs etereneesenseenies 1968
College English Association... cscs 1968
National College Physical Education

Association for Men......cceceeseeneereseeees 1969
American Real Estate and Urban Economics

ASSOCIATION... else cc neccene re reteeseneseees 1969
Council for Philosophical Studies 00.0... 1969
History of Education Society... cece 1969
American Musicological Society... en 1969
American Association of Teachers of

Spanish and Portuguese... 1969
Texas Community College Teachers

ASSOCIATION. ccc eseses ee tstseecseees 1970
College Art Association of America.........0.0. 1970
Society of Professors of Education... 1970
American Anthropological Association........... 1970
Association of Theological Schools .............0- 1970
Association of Schools of Journalism and

Mass Communication... ees 1971
Academy of Legal Studies in Business............. 1971
Americans for the Arts ....00..c.ecececeseneerees 1972
New York State Mathematics Association

of Two-Year Colleges... cesses: 1972
College Language Association... cee 1973
Pennsylvania Historical Association............... 1973
American Philosophical Association................ 1974
American Classical League... ccceeeeceeeees 1974
American Comparative Literature

ASSOCIATION. ccc ce rcetseseserseseeeneererseneneeees 1974
Rocky Mountain Modern Language

ASSOCIATION... cee ccc cteesseseeseseseseeenseseeeeees 1974
Society of Architectural Historians... 1975
American Statistical Association... 1975
American Folklore Society .......ccsecueeeeeenes 1975
Association for Asian Studies... cece 1975
Linguistic Society of America... cee 1975
African Studies Association .....cccceeseeeen 1975
American Institute of Biological Sciences .......1975
North American Conference on British

Studies... ce cceeeeeeeeesnsereseeseeeneetenneoeeesereeeens 1975
Sixteenth-Century Society and Conference ...1975
Texas Association of College Teachers............. 1976
Association for Jewish Studies ....cccccccseeee 1976
Association for Spanish and Portuguese

Historical Studies .....0...cccceeseseeessseeeeseeeeeeees 1976

Western States Communication Association..... 1976
Texas Association of Colleges for Teacher

Education...cccccsccssessscssssseeveccessecseneessasaetans 1977
Metaphysical Society of America... 1977
American Chemical Society ..00.0...:.cceceeeeen 1977
Texas Library Association... cece 1977
American Society for Legal History.......0.00.... 1977
Iowa Higher Education Association ............0.. 1977

American Physical Therapy Association......... 1979
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 101 of 120

North Central Sociological Association............ 1980
Dante Society of America... ccs 1980
Association for Communication

Administration ...0.c.cccccccccscccessseestverssesevens 1981
National Communication Association............. 1981
American Association of Physics Teachers......1982
Middle East Studies Association .........0ccccce 1982
National Education Association......cccccce 1985
American Institute of Chemists... 1985
American Association of Teachers

Of Germanic ccccccccccceessesesssessceseereseeeeras 1985

American Association of Teachers of Italian...1985
American Association for Applied

Linguistics... ese reeecteeerenseeees 1986
American Association for Cancer Education...1986
American Society of Church History............. 1986
Oral History Association... 1987
Society for French Historical Studies .............. 1987
History of Science Society... scence 1987
American Association of Pharmaceutical

SCIENTISTS ooo ccc cscs cstseseseseseseseeeeeseneees 1988
American Association for Clinical

Chemistry occ ecccseececcesecrssceserseteneereneesseeses 1988
Council for Chemical Research ...0..... cee 1988
Association for the Study of Higher

Education.......c.cceeeeccessesecsesseeeesveseseeseeees 1988
American Psychological Association ............4.. 1989
Association for Psychological Science.............. 1989
University and College Labor Education

ASSOCIATION... cece eens nseseeteneeeeeeneess 1989
Society for Neuroscience oes 1989
Renaissance Society of America... 1989
Society of Biblical Literature wo... cece 1989
National Science Teachers Association ............ 1989
Medieval Academy of America 00.0.0 1990
American Society of Agronomy ............0e 1990
Crop Science Society of America oe 1990
Soil Science Society of America... ccs 1990
International Society of Protistologists ........... 1990
Society for Ethnomusicology .....0...ccceee 1990
American Association of Physicists

in Medicine 00... ccc cssesseseeesserresrestenseneees 1990
Animal Behavior Society... ees 1990
Illinois Community College Faculty

ASSOCIATION... .ceccceseeesceeseesensnecestessnererseneesees 1990
American Society for Theatre Research.......... 1990
National Council of Teachers of English.......... 1991
Latin American Studies Association................ 1992
Society for Cinema and Media Studies............ 1992
American Society for Eighteenth-Century

Studies... ecceccceceesssseeeceeseerecsesessesseseeseaeeetens 1992
Council of Colleges of Arts and Sciences......... 1992
American Society for Aesthetics... 1992
Association for the Advancement

of Baltic Studies oe ceenesteeesecneneeeeees 1994

American Council of Teachers of Russian....... 1994

18

Council of Teachers of Southeast

Asian Languages .......ccccccc sects 1994
American Association of Teachers of Arabic...1994
American Association of Teachers of

JAPANCSC...escesecsctscssesseteneeecseeesnesssesreserenesee 1994
Academic Senate for California

Community Colleges 0.0.0.0. 1996
National Council] for the Social Studies........... 1996

Council of Academic Programs in
Communication Sciences and Disorders ....1996

Association for Women in Mathematics ......... 1997
Philosophy of Time Society... ccc 1998
World Communication Association... 1999
The Historical Society ...c.cccceceesseseenereeeeeees 1999
Association for Theatre in Higher Education ..1999
National Association for Ethnic Studies.......... 1999
Association of Ancient Historians «0... 1999
American Culture Association ......cccccinee 1999
American Conference for Irish Studies ........... 1999
Society for Philosophy in the

Contemporary World... eee 1999
Eastern Communication Association... 1999
Association for Canadian Studies

in the United States... ccc 1999
American Association for the History of

Medicine... cceecccscesesssesneeeseeeeestcarensstenens 2000
Missouri Association of Faculty Senates........ 2000
Association for Symbolic Logic .....ccceeeee 2000
American Society of Criminology............0-+ 2001
American Jewish Historical Society «00.0.0... 2001
New England Historical Association 0.00.0... 2001
Society for the Scientific Study of Religion ....2001
Society for German-American Studies ........... 2001
Society for Historians of the Gilded Age

and Progressive Era.....c.cccccssessseeceseeesesees 2001
Eastern Sociological Society... ccs 2001
Chinese Historians in the United States.......... 2001
Community College Humanities

ASSOCIATION 0. eee cece eeeee nee cnet re tetaes 2002

Immigration and Ethnic History Society........2002
Society for Early Modern Catholic Studies .....2002
Academic Senate of the California State

University occ ee eeeeecnescenseeterseenes 2004
Agricultural History Society... cece 2004
National Council for Accreditation

of Teacher Education .......ccccceeeteeeeeteee 2005
American Council on the Teaching

of Foreign Languages... eects 2005

Society for the Study of Social Biology.......... 2005
Society for the Study of Social Problems....... 2005

Association of Black Sociologists.....0....0:.00 2005
Dictionary Society of North America ............ 2005
Society for Buddhist-Christian Studies.......... 2005
Society for Armenian Studies... 2006
Society for the Advancement of

Scandinavian Study occ esseseeseseenns 2006
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 102 of 120

American Physiological Society.......ccecccee 2006
National Women’s Studies Association .......... 2006
National Coalition for History... 2006
Society for Military History... 2006
Society for Industrial and Applied

Mathematics oc cececcseecseeeseeeseseeseseesennenes 2006
Association for Research on Ethnicity and

Nationalism in the Americas 0.0... 2006
Society of Dance History Scholars... 2006
Association of Literary Scholars, Critics,

and WYiters .....ccceccccccesescsesteeatstesneseeeesees 2006
National Council on Public History................ 2006

College Forum of the National Council of
Teachers of English... cece 2006

Society for Music Theory .......:cccceeseeeeeeeeees 2006
Society for Historians of American

Foreign Relations... ccceeeeeeeeneereees 2006
Law and Society Association oc eeesen 2006
Society for Applied Anthropology.............05 2006
American Society of Plant Taxonomists......... 2006
Society for the History of Technology. ........... 2006
German Studies Association... cc 2006
Association of College and Research

Libraries oe... cccccsssesseseeseeseseeseseeteeteenseeeaeenees 2007
Czechoslovak Studies Association......0....008 2007

American Educational Studies Association.....2007
Southeastern Women’s Studies Association .. 2009
American Academy for Jewish Research......... 2014
American Association for Ukrainian

Studies... eeececesceseeeeeesteesecestenetseeeeeeeee 2014
American Association of Italian Studies ......... 2014
American Theatre and Drama Society ........... 2014
Central European History Society... 2014

Central States Communication Association....2014

Chinese Language Teachers Association ..
Coordinating Council for Women

In History... eeeceeteneenenees
Ecological Society of America... eee
Institute for American Religious and

Philosophical Thought... eee
Italian American Studies Association.......
Midwestern Psychological Association...
Modern Greek Studies Association...........
National Association of Professors

Of Hebrew... cccecceecessesseseeseestesreneeneesees
National Council of Less Commonly

Taught Languages .0...eeceeeceeenees
Population Association of America...........
Society for Italian Historical Studies........
Society for Psychophysiological Research
Society for Romanian Studies...
Society for Textual Scholarship...
Society for the History of Children and

Youth occ ceeceseeeeeeeemneneeeeteeneeeesees
Society for the Psychological Study

of Social [ssues..... cesses
Society for the Study of the Multi-Ethnic

Literature of the United States.............
Society of Civil War Historians................
Society of Mathematical Psychology........
Sociologists for Women in Society ...........
Urban History Association 0.
World History Association 00.000
American Educational Research

ASSOCIACION...ceeeeccsessesectessceseesestessonseases
Labor and Working-Class History

ASSOCIATION... cece eee ceeeeneescenseneeees
Paleontological Society ......cceceseeeeetee

19
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 103 of 120

Recommended Institutional
Regulations on Academic
Freedom and Tenure

(2018 REVISION)

The Recommended Institutional Regulations on Academic Freedom and Tenure sets forth, in language suitable
for use by an institution of bigher education, rules that derive from the chief provisions and interpretations of
the 1940 Statement of Principles on Academic Freedom and Tenure and of the Statement on Procedural
Standards in Faculty Dismissal Proceedings. The Recommended Institutional Regulations was first formu-
lated by Committee A on Academic Freedom and Tenure in 1957. A revised and expanded text, approved by
Committee A in 1968, reflected the development of Association standards and procedures. Texts with further
revisions were approved by Committee A in 1972, 1976, 1982, 1990, 1999, 2005, 2006, 2009, 2013, and
2018. When such revisions have constituted a change in the Association’s policies, they have been adopted

by the Council.

The current text is based upon the Association’s continuing experience in evaluating regulations actually in
force at particular institutions. It is also based upon further definition of the standards and procedures of the
Association over the years. The Association will be glad to assist in interpretation of the regulations or to con-
sult about their incorporation in, or adaptation to, the rules of a particular college or university.

Foreword

These regulations are designed to enable the [named
institution] to protect academic freedom and tenure
and to ensure academic due process. The principles
implicit in these regulations are for the benefit of all
who are involved with or are affected by the policies
and programs of the institution. A college or university
is a marketplace of ideas, and it cannot fulfill its
purposes of transmitting, evaluating, and extending
knowledge if it requires conformity with any ortho-
doxy of content and method. In the words of the
United States Supreme Court, “Teachers and students
must always remain free to inquire, to study and to
evaluate, to gain new maturity and understanding;
otherwise our civilization will stagnate and die.”

1. STATEMENT OF TERMS OF APPOINTMENT

a. The terms and conditions of every appointment
to the faculty will be stated or confirmed in writ-
ing, and a copy of the appointment document

will be supplied to the faculty member. Any
subsequent extensions or modifications of an
appointment, and any special understandings
or any notices incumbent upon either party to
provide, will be stated or confirmed in writing,
and a copy will be given to the faculty member.

. With the exception of special appointments

clearly limited to a brief association with the
institution, and reappointments of retired
faculty members on special conditions, all
full-time faculty appointments are of two kinds:
(1) probationary appointments; (2) appoint-
ments with continuous tenure. All part-time
faculty appointments are either (1) probationary
appointments; (2) appointments with continuous
tenure; or (3) other nontenured appointments.

. Except for faculry members who have tenure

status, every person with a teaching or research
appointment of any kind will be informed each

 

2018 BULLETIN i 13

 
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 104 of 120

year in writing of the renewal of the appoint-
ment and of all matters relative to eligibility for
the acquisition of tenure.

2. PROBATIONARY APPOINTMENTS

a. Probationary appointments may be for one year,
or for other stated periods, subject to renewal.
The total period of full-time service prior to the
acquisition of continuous tenure will not exceed
_.. years,' including all previous full-time
service with the rank of instructor or higher

in other institutions of higher learning, except
that the probationary period may extend to as
much as four years, even if the total full-time
service in the profession thereby exceeds seven
years; the terms of such extension will be stated
in writing at the time of initial appointment.’
Scholarly leave of absence for one year or less
will count as part of the probationary period

as if it were prior service at another institution,
unless the individual and the institution agree in
writing to an exception to this provision at the
time the leave is granted.

. The faculty member will be advised, at the
time of initial appointment, of the substantive
standards and procedures generally employed in
decisions affecting renewal and tenure. Any spe-
cial standards adopted by the faculty member’s
department or school will also be transmitted.
The faculty member will be advised of the time
when decisions affecting renewal or tenure are
ordinarily made and will be given the opportu-
nity to submit material believed to be helpful
to an adequate consideration of the faculty
member’s circumstances.

Regardless of the stated term or other provi-
sions of any appointments, written notice that a
probationary appointment is not to be renewed
will be given to the faculty member in advance
of the expiration of the appointment as follows:
(1) not later than March 1 of the first academic
year of service if the appointment expires at the
end of that year; or, if a one-year appointment
terminates during an academic year, at least
three months in advance of its termination; (2)
not later than December 15 of the second aca-
demic year of service if the appointment expires
at the end of that year; or, if an initial two-year
appointment terminates during an academic

Recommended Institutional Regulations on Academic Freedom and Tenure

year, at least six months in advance of its ter-
mination; (3) at least twelve months before the
expiration of an appointment after two or more
years of service at the institution.

d. The institution will normally notify faculty
members whose appointments are being
renewed of the terms and conditions of their
renewals by March 15, but in no case will such
information be given later than 3

e. When a decision not to renew an appointment
has been reached, the faculty member involved
will be informed of that decision in writing by
the body or individual making the decision; the
faculty member will be advised upon request of
the reasons which contributed to that decision.
The faculty member may request a reconsid-
eration by the body or individual making the
decision.

f. Ifthe faculty member so requests, the reasons
given in explanation of the nonrenewal will be
confirmed in writing.

g. Insofar as the faculty member alleges that the
decision against renewal was based on inad-
equate consideration, the committee? that
reviews the faculty member’s allegation will
determine whether the decision was the result of
adequate consideration in terms of the relevant
standards of the institution. The review commit-
tee will not substitute its judgment on the merits
for that of the body or individual that made the
decision. If the review committee believes that
adequate consideration was not given to the
faculty member’s qualifications, it will recom-
mend reconsideration by the body or individual
that made the decision, indicating the respects
in which it believes the consideration may have
been inadequate. It will provide copies of its
findings to the faculty member, the body or indi-
vidual that made the decision, and the president
or other appropriate administrative officer.

3. TERMINATION OF APPOINTMENT BY

Facutty MemsBers

Faculty members may terminate their appointments
effective at the end of an academic year, provided

that they give notice in writing at the earliest possible
opportunity, but not later than May 15, or thirty days
after receiving notification of the terms of appointment
for the coming year, whichever date occurs later.

 

 

14 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 105 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

Faculty members may properly request a waiver of this
requirement of notice in case of hardship or in a situa-
tion where they would otherwise be denied substantial
professional advancement or other opportunity.

4. TERMINATION OF APPOINTMENTS BY THE
INSTITUTION

a. Termination of an appointment with continuous

tenure, or of a probationary or other nonten-
ured appointment before the end of the speci-
fied term, may be effected by the institution
only for adequate cause.

If termination takes the form of a dismissal
for cause, it will be pursuant to the provisions
specified in Regulation 5.

Financial Exigency®

Cc.

(1) Termination of an appointment with

continuous tenure, or of a probationary or
other nontenured appointment before the
end of the specified term, may occur under
extraordinary circumstances because of a
demonstrably bona fide financial exigency,
i.e., a severe financial crisis that fundamen-
tally compromises the academic integrity of
the institution as a whole and that cannot
be alleviated by less drastic means.

[Note: Each institution in adopting reg-
ulations on financial exigency will need to
decide how to share and allocate the hard
judgments and decisions that are necessary
in such a crisis.

As a first step, there should be an
elected faculty governance body, or a
body designated by a collective bargaining
agreement, that participates in the deci-
sion that a condition of financial exigency
exists or is imminent and that all feasible
alternatives to termination of appointments
have been pursued, including expenditure
of one-time money or reserves as bridge
funding, furloughs, pay cuts, deferred-
compensation plans, early-retirement
packages, deferral of nonessential capital
expenditures, and cuts to noneducational
programs and services, including expenses
for administration.®

Judgments determining where within
the overall academic program termina-

tion of appointments may occur involve
considerations of educational policy,
including affirmative action, as well as of
faculty status, and should therefore be the
primary responsibility of the faculty or of
an appropriate faculty body.’ The faculty
or an appropriate faculty body should
also exercise primary responsibility in
determining the criteria for identifying
the individuals whose appointments are to
be terminated. These criteria may appro-
priately include considerations of length
of service.

The responsibility for identifying
individuals whose appointments are to
be terminated should be committed to a
person or group designated or approved
by the faculty. The allocation of this
responsibility may vary according to the
size and character of the institution, the
extent of the terminations to be made,
or other considerations of fairness in
judgment. The case of a faculty member
given notice of proposed termination
of appointment will be governed by the
following provisions.]

Before any proposals for program discon-
tinuance on grounds of financial exigency
are made, the faculty or an appropriate fac-
ulty body will have opportunity to render
an assessment in writing of the institution’s
financial condition.

[Note: Academic programs cannot
be defined ad hoc, at any size; programs
should be recognized academic units that
existed prior to the declaration of finan-
cial exigency. The term “program” should
designate a related cluster of credit-bearing
courses that constitute a coherent body of
study within a discipline or set of related
disciplines. When feasible, the term should
designate a department or similar adminis-
trative unit that offers majors and minors.]

(i) The faculty or an appropriate faculty
body will have access to at least five
years of audited financial statements,
current and following-year budgets,
and detailed cash-flow estimates for
future years.

 

2018 BULLETIN {| 15

 
 

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 106 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

(ii) In order to make informed recom-
mendations about the financial impact
of program closures, the faculty or
an appropriate faculty body will have
access to detailed program, depart-
ment, and administrative-unit budgets.

(iii) Faculty members in a program being
_considered for discontinuance because

of financial exigency will promptly be
informed of this activity in writing and
provided at least thirty days in which
to respond to it, Tenured, tenure-track,
and contingent faculty members will be
informed and invited to respond.

If the administration issues notice to a
particular faculty member of an intention
to terminate the appointment because of
financial exigency, the faculty member will
have the right to a full hearing before a
faculty committee. The hearing need not
conform in all respects with a proceeding
conducted pursuant to Regulation 5, but
the essentials of an on-the-record adjudica-
tive hearing will be observed. The issues in
this hearing may include the following:

(i) The existence and extent of the condi-
tion of financial exigency. The burden
will rest on the administration to prove
the existence and extent of the condi-
tion. The findings of a faculty commit-
tee in a previous proceeding involving
the same issue may be introduced.

(ii) The validity of the educational judg-

ments and the criteria for identification

for termination; but the recommenda-
tions of a faculty body on these matters
will be considered presumptively valid.

(iii) Whether the criteria are being properly
applied in the individual case.

If the institution, because of financial
exigency, terminates appointments, it will
not at the same time make new appoint-
ments, except in extraordinary circum-
stances where a serious distortion in the
academic program would otherwise result.
The appointment of a faculty member with
tenure will not be terminated in favor of
retaining a faculty member without tenure,

except in extraordinary circumstances
where a serious distortion of the academic
program would otherwise result.

Before terminating an appointment because
of financial exigency, the institution, with
faculty participation, will make every effort
to place the faculty member concerned

in another suitable position within the
institution.

In all cases of termination of appointment
because of financial exigency, the faculty
member concerned will be given notice or
severance salary not less than as prescribed
in Regulation 8.

In all cases of termination of appointment
because of financial exigency, the place

of the faculty member concerned will not
be filled by a replacement within a period
of three years, unless the released faculty
member has been offered reinstatement and
at least thirty days in which to accept or
decline it.

Discontinuance of Program or Department for
Educational Reasons‘

d. Termination of an appointment with continuous
tenure, or of a probationary or other nonten-
ured appointment before the end of the speci-
fied term, may occur as a result of bona fide
formal discontinuance of a program or depart-
ment of instruction. The following standards
and procedures will apply.

(1)

The decision to discontinue formally a
program or department of instruction

will be based essentially upon educational
considerations, as determined primarily by
the faculty as a whole or an appropriate
committee thereof.

[Note: “Educational considerations” do
not include cyclical or temporary variations
in enrollment. They must reflect long-range
judgments that the educational mission of
the institution as a whole will be enhanced
by the discontinuance. ]

Faculty members in a program being con-
sidered for discontinuance for educational
considerations will promptly be informed
of this activity in writing and provided at

 

16 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 107 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

least thirty days in which to respond to it.
Tenured, tenure-track, and contingent fac-
ulty members will be invited to participate
in these deliberations.

[Note: Academic programs cannot be
defined ad hoc, at any size; programs must
be recognized academic units that existed
prior to the decision to discontinue them.
The term “program” should designate a
related cluster of credit-bearing courses that
constitute a coherent body of study within
a discipline or set of related disciplines.
When feasible, the term should designate a
department or similar administrative unit
that offers majors and minors.]

Before the administration issues notice to a
faculty member of its intention to terminate
an appointment because of formal discon-
tinuance of a program or department of
instruction, the institution will make every
effort to place the faculty member concerned
in another suitable position. If placement
in another position would be facilitated by
a reasonable period of training, financial
and other support for such training will be
proffered. If no position is available within
the institution, with or without retraining,
the faculty member’s appointment then
may be terminated, but only with provi-
sion for severance salary equitably adjusted
to the faculty member’s length of past and
potential service, an amount which may
well exceed but not be less than the amount
prescribed in Regulation 8.

{Note: When an institution proposes to
discontinue a program or department of
instruction based essentially on educational
considerations, it should plan to bear the
costs of relocating, training, or otherwise
compensating faculty members adversely
affected.]

A faculty member who contests a proposed
relocation or termination resulting from a
discontinuance has a right to a full hearing
before a faculty committee. The hearing
need not conform in all respects with a pro-
ceeding conducted pursuant to Regulation
5, but the essentials of an on-the-record
adjudicative hearing will be observed. The
issues in such a hearing may include the

institution’s failure to satisfy any of the
conditions specified in Regulation 4d. In
the hearing, a faculty determination that a
program or department is to be discontin-
ued will be considered presumptively valid,
but the burden of proof on other issues will
rest on the administration.

Review
e. Incases of termination of appointment, the gov-

erning board will be available for ultimate review.

5. Dismissat PRoceDURES

a. Adequate cause for a dismissal will be related,

directly and substantially, to the fitness of
faculty members in their professional capaci-
ties as teachers or researchers. Dismissal will
not be used to restrain faculty members in their
exercise of academic freedom or other rights of
American citizens.’

. Dismissal of a faculty member with continu-

ous tenure, or with a probationary or other
nontenured appointment before the end of the
specified term, will be preceded by (1) discus-
sions between the faculry member and appro-
priate administrative officers looking toward a
mutual settlement; (2) informal inquiry by the
duly elected faculty committee [insert name of
committee], which may, if it fails to effect an
adjustment, determine whether in its opinion
dismissal proceedings should be undertaken,
without its opinion being binding upon the
president; (3) a statement of charges, framed
with reasonable particularity by the president or
the president’s delegate.

A dismissal, as defined in Regulation 5a, will
be preceded by a statement of charges, and the
individual concerned will have the right to be
heard initially by the elected faculty hearing
committee [insert name of committee].1° Mem-
bers deeming themselves disqualified for bias or
interest will remove themselves from the case,
either at the request of a party or on their own
initiative. Each party will have a maximum of
two challenges without stated cause."

(1) Pending a final decision by the hearing
committee, the faculty member will be
suspended, or assigned to other duties in
lieu of suspension, only if immediate harm

 

2018 BULLETIN | 17

 
 

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 108 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

to the faculry member or others is threat-
ened by continuance. Before suspending

a faculty member, pending an ultimate
determination of the faculry member’s
status through the institution’s hearing
procedures, the administration will consult
with the Faculty Committee on Academic
Freedom and Tenure [or whatever other
title it may have] concerning the propriety,
the length, and the other conditions of the
suspension. A suspension that is intended
to be final is a dismissal and will be treated
as such, Salary will continue during the
period of the suspension.

The hearing committee may, with the
consent of the parties concerned, hold
joint prehearing meetings with the part-
ies in order to (i) simplify the issues, (ii)
effect stipulations of facts, (iii) provide
for the exchange of documentary or other
information, and (iv) achieve such other
appropriate prehearing objectives as

will make the hearing fair, effective, and
expeditious.

Service of notice of hearing with specific
charges in writing will be made at least
twenty days prior to the hearing. The
faculty member may waive a hearing or
may respond to the charges in writing at
any time before the hearing. If the faculty
member waives a hearing, but denies the
charges or asserts that the charges do not
support a finding of adequate cause, the
hearing tribunal will evaluate all available
evidence and rest its recommendation upon
the evidence in the record.

The committee, in consultation with the
president and the faculty member, will exer-
cise its judgment as to whether the hearing
should be public or private.

During the proceedings the faculty mem-
ber will be permitted to have an academic
adviser and counsel of the faculty member’s
choice.

At the request of either party or the hearing
committee, a representative of a responsible
educational association will be permitted to
attend the proceedings as an observer.

(7) A verbatim record of the hearing or hear-
ings will be taken, and a copy will be made
available to the faculty member without
cost, at the faculty member’s request.

(8) The burden of proof that adequate cause
exists rests with the institution and will be
satisfied only by clear and convincing evi-
dence in the record considered as a whole.

(9) The hearing committee will grant adjourn-
ments to enable either party to investigate
evidence as to which a valid claim of sur-
prise is made.

(10) The faculty member will be afforded an
opportunity to obtain necessary witnesses
and documentary or other evidence. The
administration will cooperate with the
hearing committee in securing witnesses
and in making available documentary and
other evidence.

(11) The faculty member and the administration
will have the right to confront and cross-
examine all witnesses. Where the witnesses
cannot or will not appear, but the commit-
tee determines that the interests of justice
require admission of their statements,
the committee will identify the witnesses,
disclose their statements, and, if possible,
provide for interrogatories.

(12) In the hearing of charges of incompetence,
the testimony will include that of qualified
faculty members from this or other institu-
tions of higher education.

(13) The hearing committee will not be bound
by strict rules of legal evidence and may
admit any evidence which is of probative
value in determining the issues involved.
Every possible effort will be made to obtain
the most reliable evidence available.

(14) The findings of fact and the decision will be
based solely on the hearing record.

(15) Except for such simple announcements
as may be required, covering the time of
the hearing and similar.matters, public
statements and publicity about the case
by either the faculty member or admin-
istrative officers will be avoided so far as
possible until the proceedings have been

 

18 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 109 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

completed, including consideration by the
governing board of the institution. The
president and the faculty member will

be notified of the decision in writing and
will be given a copy of the record of the
hearing.

(16) If the hearing committee concludes that
adequate cause for dismissal has not been
established by the evidence in the record,
it will so report to the president. If the
president rejects the report, the president
will state the reasons for doing so, in writ-
ing, to the hearing committee and to the
faculry member and provide an opportunity
for response before transmitting the case to
the governing board. If the hearing com-
mittee concludes that adequate cause for a
dismissal has been established, but that an
academic penalty less than dismissal would
be more appropriate, it will so recommend,
with supporting reasons.

6. AcTION BY THE GoveRNING BoarD

If dismissal or other severe sanction is recommended,
the president will, on request of the faculty member,
transmit to the governing board the record of the case.
The governing board’s review will be based on the
record of the committee hearing, and it will provide
opportunity for argument, oral or written or both,

by the principals at the hearing or by their representa-
tives. The decision of the hearing committee will
either be sustained or the proceedings returned to the
committee with specific objections. The committee will
then reconsider, taking into account the stated objec-
tions and receiving new evidence, if necessary. The
governing board will make a final decision only after
study of the committee’s reconsideration.

7. PROCEDURES FOR IMPOSITION OF SANCTIONS
OTHER THAN DismissaL

a. If the administration believes that the conduct
of a faculty member, although not constitut-
ing adequate cause for dismissal, is sufficiently
grave to justify imposition of a severe sanction,
such as suspension from service for a stated
period, the administration may institute a pro-
ceeding to impose such a severe sanction; the
procedures outlined in Regulation 5 will govern
such a proceeding.

b. If the administration believes that the conduct of
a faculty member justifies imposition of a minor
sanction, such as a reprimand, it will notify the
faculty member of the basis of the proposed
sanction and provide the faculty member with an
opportunity to persuade the administration that
the proposed sanction should not be imposed.

A faculty member who believes that a major
sanction has been incorrectly imposed under this
paragraph, or that a minor sanction has been
unjustly imposed, may, pursuant to Regulation
16, petition the faculty grievance committee for
such action as may be appropriate.

8. TERMINAL SALARY or Notice

If the appointment is terminated, the faculty member
will receive salary or notice in accordance with the
following schedule: at least three months, if the final
decision is reached by March 1 {or three months prior
to the expiration) of the first year of probationary ser-
vice; at least six months, if the decision is reached by
December 15 of the second year (or after nine months
but prior to eighteen months) of probationary service;
at least one year, if the decision is reached after eigh-
teen months of probationary service or if the faculty
member has tenure.'?

This provision for terminal notice or salary need
not apply in the event that there has been a finding
that the conduct which justified dismissal involved
moral turpitude. On the recommendation of the fac-
ulty hearing committee or the president, the governing
board, in determining what, if any, payments will be
made beyond the effective date of dismissal, may take
into account the length and quality of service of the
faculty member.

9. AcApEemic FREEDOM AND PROTECTION AGAINST
DiscRIMINATION

a. All members of the faculty, whether tenured
or not, are entitled to academic freedom as set
forth in the 1940 Statement of Principles on
Academic Freedom and Tenure, formulated
by the Association of American Colleges and
Universities and the American Association of
University Professors.

b. All members of the faculty, whether tenured
or not, are entitled to protection against illegal
or unconstitutional discrimination by the
institution, or discrimination on a basis not
demonstrably related to the faculty member’s

 

2018 BULLETIN | 19

 
 

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 110 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

professional performance, including but not lim-
ited to race, sex, religion, national origin, age,
disability, marital status, or sexual orientation.

10. CompLaints oF VIOLATION oF ACADEMIC
FREEDOM OR OF DISCRIMINATION IN
NONREAPPOINTMENT

é

If a faculty member on probationary or other non-
tenured appointment alleges that a decision against
reappointment was based significantly on consid-
erations that violate (a) academic freedom or (b)
governing policies on making appointments without
prejudice with respect to race, sex, religion, national
origin, age, disability, marital status, or sexual
orientation, the allegation will be given preliminary
consideration by the [insert name of committee],
which will seek to settle the matter by informal
methods. The allegation will be accompanied by

a statement that the faculty member agrees to the
presentation, for the consideration of the faculty com-
mittee, of such reasons and evidence as the institution
may allege in support of its decision. If the difficulty
is unresolved at this stage and if the committee so rec-
ommends, the matter will be heard in the manner set
forth in Regulations 5 and 6, except that the faculty
member making the complaint is responsible for stat-
ing the grounds upon which the allegations are based
and the burden of proof will rest upon the faculty
member. If the faculty member succeeds in establish-
ing a prima facie case, it is incumbent upon those who
made the decision against reappointment to come
forward with evidence in support of their decision.
Statistical evidence of improper discrimination may be
used in establishing a prima facie case.

11. ADMINISTRATIVE PERSONNEL

The foregoing regulations apply to administrative
personnel who hold academic rank, but only in their
capacity as faculty members. Administrators who
allege that a consideration that violates academic
freedom or governing policies against improper dis-
crimination, as stated in Regulation 10, significantly
contributed to a decision to terminate their appoint-
ment to an administrative post or not to reappoint
them are entitled to the procedures set forth in Regula-
tion 10.

12. Potiticat Activities of Facutty MEMBERS
Faculty members, as citizens, are free to engage in
political activities. Where necessary, leaves of absence

may be given for the duration of an election campaign
or a term of office, on timely application, and

for a reasonable period of time. The terms of such
leave of absence will be set forth in writing, and the
leave will not affect unfavorably the tenure status

of a faculty member, except that time spent on such
leave will not count as probationary service unless
otherwise agreed to.”

13. Part-Time Facutty Appointments *

a. After having been reappointed beyond an
initial term, a part-time faculty member who
is subsequently notified of nonreappointment
will be advised upon request of the reasons that
contributed to the decision. Upon the faculty
member’s further request, the reasons will be
confirmed in writing. The faculty member will
be afforded opportunity for review of the deci-
sion by a faculty committee.

b. For part-time faculty members who have served
for three or more terms within a span of three
years, the following additional protections of
academic due process apply:

(1} Written notice of reappointment or non-
reappointment will be issued no later than
one month before the end of the existing
appointment. If the notice of reappointment
is to be conditioned, for example, on suf-
ficiency of student enrollment or on financial
considerations, the specific conditions will
be stated with the issuance of the notice.

(2) When the part-time faculty member is
denied reappointment to an available
assignment (one with substantially identical
responsibilities assigned to another part-
time faculty member with less service), if the
nonreappointed faculty member alleges that
the decision was based on inadequate con-
sideration, the allegation will be subject to
review by a faculty body. If this body, while
not providing judgment on the merits of the
decision, finds that the consideration has
been inadequate in any substantial respects,
it will remand the matter for further consid-
eration accordingly.

c. Prior to consideration of reappointment beyond
a seventh year, part-time faculty members who
have taught at least twelve courses or six terms

 

20 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 111 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

within those seven years shall be provided a
comprehensive review with the potential result
of (1) appointment with part-time tenure [where
such exists], (2) appointment with part-time con-
tinuing service, or (3) nonreappointment. Those
appointed with tenure shall be afforded the same
procedural safeguards as full-time tenured fac-
ulty. Those offered additional appointment with-
out tenure shall have continuing appointments
and shall not be replaced by part-time appointees
with less service who are assigned substantially
identical responsibilities without having been
afforded the procedural safeguards associated
with dismissal as set forth in Regulation 5.

14. Grabuate Stupent EmpLoyvees
a. The length, terms, and conditions of every

university appointment of a graduate student
employee will be stated in writing at the time
of the initial appointment. A copy of the
appointment document will be supplied to
the appointee.'*

. The graduate student employee on recurring
appointments will be advised at the time of
initial appointment of the substantive stan-
dards, expectations, and procedures generally
employed at the institution in decisions affecting
renewal and of any special standards adopted
by the graduate student employee’s department
or school. The graduate student employee will
be advised of the time when decisions affect-
ing renewals are made and will be given the
opportunity to submit material believed to be
helpful to an adequate consideration of his or
her circumstances.

In a case of dismissal before the end of the period
of an academic or professional appointment,

the graduate student employee will be provided
with a statement of reasons for the action and
will have the right to a pretermination hearing
before a duly constituted committee. The hearing
need not conform in all respects with a proceed-
ing conducted pursuant to Regulation 5, but

the essentials of an on-the-record adjudicative
hearing will be observed. In such a hearing, the
administration will have the burden of showing
adequate cause for dismissal.!’7 Adequate cause
for a dismissal will be related, directly and sub-
stantially, to the fitness of the graduate student
employee in his or her professional capacity

regarding teaching, research, or other academic
duties. Dismissal will not be used to restrain
graduate student employees in their exercise of
academic freedom or constitutional rights.

. Written notice of reappointment or nonreap-

pointment will be issued to graduate student
academic or professional employees no later
than one month before the end of the existing
appointment.

Graduate student academic or professional
employees who are notified of nonreappoint-
ment will be advised upon request of the
reasons that contributed to the decision. Upon
the employee’s further request, the reasons will
be confirmed in writing. The employee will be
afforded the opportunity for review of the deci-
sion by a duly constituted committee.

In a case of nonreappointment, if a graduate
student academic or professional employee
establishes a prima facie case to the satisfac-
tion of a duly constituted committee that
considerations that violate academic freedom
or governing policies against improper discrimi-
nation based on race, sex, national origin, age,
disability, marital status, or sexual orientation
significantly contributed to his or her nonreten-
tion, it is incumbent on those who made the
decision to come forward with evidence in sup-
port of that decision.

If a graduate student employee who is denied
reappointment to an available academic or
professional position alleges that the decision
was based on inadequate consideration, the
allegation will be subject to review by a duly
constituted body."* If this body, while not pro-
viding judgment on the merits of the decision,
finds that the consideration has been inadequate
in any substantial respects, it will remand the
matter, recommending to the department that it
assess the merits once again, this time remedy-
ing the inadequacies of its prior consideration.”

. Graduate student academic or professional

employees will have access to the faculty griev-
ance committee, as specified in Regulation 16.

15. OTHER AcCADEmiIc STAFF

a. In no case will a member of the academic staff

who is not otherwise protected by the preceding

 

2018 BULLETIN : 21

 
 

Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 112 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

regulations that relate to dismissal proceedings
be dismissed without having been provided with
a statement of reasons and an opportunity to be
heard before a duly constituted committee.”° (A
dismissal is a termination before the end of the
period of appointment.)

b. With respect to the nonreappointment of a
member of such academic staff who establishes
a prima facie case to the satisfaction of a duly
constituted committee that considerations that
violate academic freedom, or of governing poli-
cies against improper discrimination as stated in
Regulation 10, significantly contributed to the
nonreappointment, the academic staff member
will be given a statement of reasons by those
responsible for the nonreappointment and an
opportunity to be heard by the committee.

16. GRIEVANCE PROCEDURE

If any faculty member alleges cause for grievance in
any matter not covered by the procedures described
in the foregoing regulations, the faculty member may
petition the elected faculty grievance committee [here
name the committee] for redress. The petition will
set forth in detail the nature of the grievance and will
state against whom the grievance is directed. It will
contain any factual or other data that the petitioner
deems pertinent to the case. Statistical evidence of
improper discrimination, including discrimination

in salary, may be used in establishing a prima facie
case. The committee will decide whether or not the
facts merit a detailed investigation; if the faculty
member succeeds in establishing a prima facie case,
it is incumbent upon those who made the decision

to come forward with evidence in support of their
decision. Submission of a petition will not automati-
cally entail investigation or detailed consideration
thereof. The committee may seek to bring about a
settlement of the issue(s) satisfactory to the parties.
If in the opinion of the committee such a settlement
is not possible or is not appropriate, the committee
will report its findings and recommendations to

the petitioner and to the appropriate administrative
officer and faculty body, and the petitioner will, upon
request, be provided an opportunity to present the
grievance to them. The grievance committee will con-
sist of three [or some other number] elected members
of the faculty. No officer of the administration will
serve on the committee.

Note on Implementation

The Recommended Institutional Regulations here pre-
sented will require for their implementation a number
of structural arrangements and agencies. For example,
the Regulations will need support by

1. channels of communication among all the
involved components of the institution and
between them and a concerned faculty member;

2. definitions of corporate and individual faculty
status within the college or university govern-
ment and of the role of the faculty in decisions
relating to academic freedom and tenure; and

3. appropriate procedures for the creation and
operation of faculty committees, with particular
regard to the principles of faculty authority and
responsibility.

The forms which these supporting elements assume
will of course vary from one institution to another.
Consequently, no detailed description of the elements
is attempted in the Recommended Institutional
Regulations. With respect to the principles involved,
guidance will be found in the Association’s Statement
on Government of Colleges and Universities.

 

NOTES

1. Under the 1940 Statement of Principles on Academic Freedom
and Tenure, this period may not exceed seven years. However, the As-
sociation’s 2001 Statement of Principles on Family Responsibilities and
Academic Work (AAUP, Policy Documents and Reports, 11th ed. [Balti-
more: Johns Hopkins University Press, 2015], 339-46) provides that “a
faculty member be entitled to stop the clock or extend the probationary
period, with or without taking a full or partial leave of absence, if the
faculty member (whether male or female) is a primary coequal caregiver
of newborn or newly adopted children” and that “institutions allow the
tenure clock to be stopped for up to one year for each child, and...
that faculty be allowed to stop the clock only twice, resulting in no more
than two one-year extensions of the probationary period.”

2. The exception here noted applies only to an institution where the
maximum probationary period exceeds four years.

3. April 15 is the recommended date.

4. This committee, which can be the grievance committee noted in
Regulation 16, is to be an elected faculty body. Similarly, the members
of the committees noted in Regulations 4c(3), 4d(4), 10, and 13 are to
be elected. A committee of faculty members appointed by an elected
faculty body can substitute for a committee that is elected directly.

5. See The Role of the Faculty in Conditions of Financial Exigency,

 

22 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 113 of 120

Recommended Institutional Regulations on Academic Freedom and Tenure

in Policy Documents and Reports, 292-308. The definition of “financial
exigency” offered in that report and adopted here is intended to be
more responsive to actual institutional conditions and extends the stan-
dard of exigency to situations not covered by Committee A’s previous
definition.

6. See The Role of the Faculty in Budgetary and Salary Matters,
in Policy Documents and Reports, 289-91, especially the following

passages:

The faculty should participate both in the preparation of the total
institutional budget and (within the framework of the total budget)

in decisions relevant to the further apportioning of its specific fiscal
divisions (salaries, academic programs, tuition, physical plant and
grounds, and so on). The soundness of resulting decisions should be
enhanced if an elected representative committee of the faculty par-
ticipates in deciding on the overall allocation of institutional resources
and the proportion to be devoted directly to the academic program.
This committee should be given access to all information that it
requires to perform its task effectively, and it should have the oppor-
tunity to confer periodically with representatives of the administration
and governing board... .

Circumstances of financial exigency obviously pose special prob-
lems. At institutions experiencing major threats to their continued
financial support, the faculty should be informed as early and specifi-
cally as possible of significant impending financial difficulties. The
faculty—with substantial representation from its nontenured as well
as its tenured members, since it is the former who are likely to bear
the brunt of the reduction—should participate at the department,
college or professional school, and institution-wide levels in key
decisions as to the future of the institution and of specific academic
programs within the institution. The faculty, employing accepted
standards of due process, should assume primary responsibility for
determining the status of individual faculty members.

7. See Statement on Government of Colleges and Universities,
in Policy Documents and Reports, 117~22, especially the following
passage: “Faculty status and related matters are primarily a faculty re-
sponsibility; this area includes appointments, reappointments, decisions
hot to reappoint, promotions, the granting of tenure, and dismissal. The
primary responsibility of the faculty for such matters is based upon the
fact that its judgment is central to general educational policy.”

8. When discontinuance of a program or department is mandated
by financial exigency of the institution, the standards of Regulation 4c,
above, will apply.

9. For cause relating to physical or mental disability, see Accommo-
dating Faculty Members Who Have Disabilities, in Policy Documents
and Reports, 374-78.

10. This committee should not be the same as the committee
referred to in Regulation 5b(2).

11. Regulations of the institution should provide for alternates or
for some other method of filling vacancies on the hearing committee
resulting from disqualification, challenge without stated cause, illness,
resignation, or other reason,

12. For renewable term appointments not specifically designated

as probationary for tenure, see “The Applicability of the ‘Standards for
Notice of Nonreappointment'’ to All Full-Time Faculty on Renewable
Term Appointments,” in “Report of Committee A, 1994-95” (Academe,
September-October 1995, 51-54), which states:

While academic institutions commonly adhere to the Association’s
Standards for Notice of Nonreappointment with respect to faculty
appointments that they recognize as probationary, in many cases
they have not considered those standards to be applicable to those
full-time faculty members whose service under non-tenure-track
appointments has involved more than “a brief association with the
institution” and who continue to serve on annual appointments that
are indefinitely renewable at the discretion of the administration.
Typically, although the terms of their appointments may stipulate
that they are for one year only, the faculty members are given reason
to expect that, so long as they perform creditably and so long as
enough courses remain available, the appointments will be renewed.
Frequently, however, at or near the end of an academic year, these
individuals are suddenly notified that their appointments are not in
fact being renewed for the following year. Despite what may have
been an extended affiliation with the institution, the faculty members
are not viewed as entitled to the notice of nonreappointment that
would be given to colleagues who hold appointments designated as
probationary.

Committee A considers all full-time faculty members holding
renewable term appointments, whatever their title or status, to be
entitled to notice of nonreappointment as called for in the Associa-
tion’s recommended standards. We do not view it as necessary,
or indeed as equitable, to deprive full-time “non-tenure-track”
faculty members of the safeguards that the standards for notice are
intended to provide.

13. See Statement on Professors and Political Activity, in Policy
Documents and Reports, 39.

14. There should be no invidious distinctions between those who
teach and/or conduct research in higher education, regardless of
whether they hold full-time or part-time appointments or whether
their appointments are tenured, tenure-track, or contingent. All faculty
members should have access to the same due-process protections and
procedures; Regulations 1-10, 12, and 16 therefore apply to all faculty
members. The reality however, is that distinctions do exist in the acad-
emy. For that reason, Regulation 13 contains recommended provisions
that apply only to part-time faculty appointments. This regulation does
not apply to faculty members with reduced loads who are probationary
for tenure and who have the protections of academic due process that
are provided in Regulation 2. It does apply to all other faculty members
whose appointments are less than full time, regardless of rank or
title and of whether they are paid on a pro-rata, per-course, or any
other basis.

15. See Statement on Procedural Standards in the Renewai or Non-
renewal of Faculty Appointments, in Policy Documents and Reports,

94-98, especially the following passages:

It is easier to state what the standard “adequate consideration” does
not mean than to specify in detail what it does. it does not mean that

 

2018 BULLETIN : 23

 
 

Case 1:21-cv-02802-TWT Documenti1 Filed 07/13/21

Recommended Institutional Regulations on Academic Freedom and Tenure

the review committee should substitute its own judgment for that of
members of the cepartment on the merits of whether the candidate
should be reappointed or given tenure. The conscientious judgment
of the candidate's departmental colleagues must prevail if the invalu-
able tradition of departmental autonomy in professional judgments

is to prevail. The term “adequate consideration” refers essentially

to procedural rather than to substantive issues: Was the decision
conscientiously arrived at? Was all available evidence bearing on the
relevant performance of the candidate sought out and considered?
Was there adequate deliberation by the department over the import
of the evidence in the light of the relevant standards? Were irrelevant
and improper standards excluded from consideration? Was the deci-
sion a bona fide exercise of professional academic judgment? These
are the kinds of questions suggested by the standard "adequate
consideration.”

If, in applying this standard, the review committee concludes
that adequate consideration was not given, its appropriate response
should be to recommend to the department that it assess the merits
once again, this time remedying the inadequacies of its prior consid-
eration.

16. Universities assume responsibilities when they accept graduate
students with a promise of financial support. Graduate student employ-
ees have a legitimate expectation of fulfillment of the promise unless
legitimate cause to terminate support is shown. If the cause relates to
the graduate student employee’s work and/or academic performance or
progress, the employee should be given sufficient time and opportunity
to address the concern.

17. According to the Association's Statement on Collective Bargain-
ing (Policy Documents and Reports, 323-24), “Participation in a strike
or other work action does not by itself constitute grounds for dismissal
or nonreappointment or for imposing other sanctions against faculty
members.”

18. For comment on the term adequate consideration, see note 15,
above.

19. Nonreappointment conditioned on inadequate academic perfor-
mance as a graduate student may be reviewed in the manner provided
in Committee A’s statement The Assignment of Course Grades and
Student Appeals, in Policy Documents and Reports, 29-30.

20. Each institution should define with particularity who are members
of the academic staff.

Page 114 of 120

 

24 2018 BULLETIN
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 115 of 120

 

Statement on Procedural Standards
in the Renewal or Nonrenewal
of Faculty Appointments

The statement that follows, a revision of a statement originally adopted in 1971,

was approved by the Association’s Committee A on Academic Freedom and
Tenure, adopted by the Association’s Council in November 1989, and endorsed
by the Seventy-Sixth Annual Meeting.

 

Except for special appointments clearly designated
at the outset as involving only a brief association
with the institution, all full-time faculty appoint-
ments are either with continuous tenure or
probationary for tenure. Procedures bearing on
the renewal or nonrenewal of probationary
appointments are this statement’s concern.

The Probationary Period: Standards and Criteria
The 1940 Statement of Principles on Academic
Freedom and Tenure prescribes that “during the
probationary period a teacher should have the
academic freedom that all other members of the
faculty have.” The Association’s Recommended
Institutional Regulations on Academic Freedom
and Tenure! prescribe further that “all members
of the faculty, whether tenured or not, are entitled
to protection against illegal or unconstitutional
discrimination by the institution, or discrimina-
tion on a basis not demonstrably related to the
faculty member’s professional performance. .. .
A number of the rights of nontenured faculty
members provide support for their academic
freedom and protection against improper
discrimination. They cannot, for example, be
dismissed before the end of a term appointment
except for adequate cause that has been demon-
strated through academic due process—a right
they share with tenured members of the faculty.
If they assert that they have been given notice of
nonreappointment in violation of academic
freedom or because of improper discrimination,
they are entitled to an opportunity to establish
their claim in accordance with Regulation 10 of
the Recommended Institutional Regulations.
They are entitled to timely notice of nonreap-
pointment in accordance with the schedule
prescribed in the statement on Standards for
Notice of Nonreappointment.” Lacking the
reinforcement of tenure, however, academic
freedom and protection against improper

u"

94

discrimination for probationary faculty members
have depended primarily upon the understanding
and support of their tenured colleagues, the
administration, and professional organizations,
especially the American Association of University
Professors. In the Statement on Government of
Colleges and Universities, the Association has
asserted that “faculty status and related matters
are primarily a faculty responsibility; this area
includes appointments, reappointments, decisions
not to reappoint, promotions, the granting of
tenure, and dismissal.” Collegial deliberation of
the kind envisioned by the Statement on Govern-
ment will minimize the risk of a violation of
academic freedom, of improper discrimination,
and of a decision that is arbitrary or based on
inadequate consideration.

Frequently, young faculty members have had
no training or experience in teaching, and their
first major research endeavor may still be
uncompleted at the time they start their careers as
college teachers. Under these circumstances, it is
particularly important that there be a probation-
ary period—a maximum of seven years under the
1940 Statement of Principles on Academic
Freedom and Tenure—before tenure is granted.
Such a period gives probationary faculty members
time to prove themselves, and their colleagues
time to observe and evaluate them on the basis of
their performance in the position rather than on
the basis only of their education, training, and
recommendations.

Good practice requires that the institution
(department, college, or university) define its
criteria for reappointment and tenure and its
procedures for reaching decisions on these
matters. The 1940 Statement of Principles
prescribes that “the precise terms and conditions
of every appointment should be stated in writing
and be in the possession of both institution and
teacher before the appointment is consummated.”
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 116 of 120

Moreover, fairness to probationary faculty
members prescribes that they be informed, early
in their appointments, of the substantive and
procedural standards that will be followed in
determining whether or not their appointments
will be renewed or tenure will be granted.

The Association accordingly recommends:

1. Criteria and Notice of Standards
Probationary faculty members should be
advised, early in their appointment, of the
substantive and procedural standards generally
accepted in decisions affecting renewal and
tenure. Any special standards adopted by their
particular departments or schools should also
be brought to their attention.

The Probationary Period:

Evaluation and Decision

The relationship of the senior and junior faculty
should be one of colleagueship, even though
nontenured faculty members know that in time
they will be judged by their senior colleagues.
Thus the procedures adopted for evaluation and
possible notification of nonrenewal should not
endanger this relationship where it exists, and
should encourage it where it does not. Nontenured
faculty members should have available to them
the advice and assistance of their senior col-
leagues; and the ability of senior colleagues to
make a sound decision on renewal or tenure will
be enhanced if an opportunity is provided for a
regular review of the candidate’s qualifications.
A conjunction of the roles in counseling and
evaluation may be productive: for example, an
evaluation, whether interim or at the time of final
determination of renewal or tenure, should be
presented in such a manner as to assist nonten-
ured faculty members as they strive to improve
their performance.

Any recommendation regarding renewal or
tenure should be reached by an appropriate
faculty group in accordance with procedures
approved by the faculty. Because it is important
to both the faculty member and the decision-
making body that all significant information be
considered, the candidate should be notified that
a decision is to be made regarding renewal of
appointment or the granting of tenure and
should be afforded an opportunity to submit
material that the candidate believes to be relevant
to the decision.

The Association accordingly recommends:

2. a. Periodic Review
There should be provision for periodic review
of a faculty member’s situation during the
probationary service.

b. Opportunity to Submit Material
Probationary faculty members should be
advised of the time when decisions affecting
renewal and tenure are ordinarily made, and
they should be given the opportunity to
submit material that they believe will be
helpful to an adequate consideration of their
circumstances.

Observance of the practices and procedures
outlined above should minimize the likelihood of
reasonable complaint if nontenured faculty
members are given notice of nonreappointment.
They will have been informed of the criteria and
procedures for renewal and tenure; they will have
been counseled by faculty colleagues; they will
have been given an opportunity to have all
material relevant to their evaluation considered;
and they will have a timely decision representing
the views of faculty colleagues.

Notice of Reasons

Since 1971 it has been the Association's position,
reached after careful examination of advantages
and disadvantages, that nontenured faculty
members notified of nonreappointment should,
upon request, receive a statement of the reasons
for the decision. In reaching this position, the
Association considered the needs both of the
institution and of the individual faculry member.

A major responsibility of the institution is to
recruit and retain the best-qualified faculty within
its goals and means. In a matter of such funda-
mental importance, the institution, through the
appropriate faculty agencies, must be accorded the
widest latitude consistent with academic freedom,
equal opportunity, and the standards of fairness.
The Association recognized that the requirement
of giving reasons could lead, however erroneously,
to an expectation that the decision-making body
must justify its decision. A notice of nonreappoint-
ment could thus become confused with dismissal
for cause, and under these circumstances the
decision-making body could become reluctant to
reach adverse decisions that might culminate in
grievance procedures. As a result there was some
risk that the important distinction between tenure
and probation would be eroded.

Weighed against these important institutional
concerns, however, were the interests of the
individual faculty members. They could be
honestly unaware of the reasons for a negative
decision, and the decision could be based on a
judgment of shortcomings which they could easily
remedy if informed of them. A decision not to
renew an appointment could be based on errone-
ous information which the faculty member could

95
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 117 of 120

readily correct if informed of the basis for the
decision. Again, the decision could be based on
considerations of institutional policy or program
development that have nothing to do with the
faculty member’s professional competence, and if
not informed of the reasons, the faculty member
could mistakenly assume that a judgment of
inadequate performance has been made. In the
face of a persistent refusal to supply the reasons, a
faculty member may be more inclined to attribute
improper motivations to the decision-making

body or to conclude that its evaluation has been
based upon inadequate consideration. If the
faculty member wished to request a reconsidera-
tion of the decision, or a review by another body,
ignorance of the reasons for the decision would
create difficulties both in reaching a decision
whether to initiate such a request and in present-
ing a case for reconsideration or review.

The Association's extensive experience with
specific cases since 1971 has confirmed its
conclusion that the reasons in support of the
faculty member’s right to be informed outweigh
the countervailing risks, Every notice of nonre-
appointment, however, need not be accompanied
by a written statement of the reasons for nonreap-
pointment. It may not always be to the advantage
of the faculty member to be informed of the
reasons for nonreappointment, particularly in
writing. The faculty member may be placed under
obligation to divulge them to the appointing body
of another institution if it inquired. Similarly, a
written record is likely to become the basis for
continuing responses by the faculty member's
former institution to prospective appointing bodies.

At many institutions, moreover, the proce-
dures of evaluation and decision may make it
difficult, if not impossible, to compile a statement
of reasons that precisely reflects the basis of the
decision. When a number of faculty members
participate in the decision, they may oppose a
reappointment for a variety of reasons, few or
none of which may represent a majority view. To
include every reason, no matter how few have
held it, in a written statement to the faculty
member may misrepresent the general view and
damage unnecessarily both the morale and the
professional future of the faculty member.

In many situations, of course, a decision not to
reappoint will not reflect adversely upon the
faculty member. An institution may, for example,
find it necessary for financial or other reasons to
restrict its offerings in a given department. The
acquisition of tenure may depend not only upon
satisfactory performance but also upon a long-
term opening. Nonrenewal in these cases does not
suggest a serious adverse judgment. In these

96

situations, providing a statement of reasons, either
written or oral, should pose no difficulty, and such
a statement may in fact assist the faculty member

in searching for a new position.

Should the faculty member, after weighing the
considerations cited above, decide to request the
reasons for the decision against reappointment,
the reasons should be given. The faculty member
also should have the opportunity to request a
reconsideration by the decision-making body.

The Association accordingly recommends:

3. Notice of Reasons
In the event of a decision not to renew an
appointment, the faculty member should be
informed of the decision in writing, and, upon
request, be advised of the reasons which
contributed to that decision. The faculty
member should also have the opportunity to
request a reconsideration by the body or
individual that made the decision.

Written Reasons

Having been given orally the reasons that
contributed to the decision against reappointment,
the faculty member, to avoid misunderstanding,
may request that they be confirmed in writing.
The faculty member may wish to petition the
appropriate faculty committee, in accordance with
Regulation 10 of the Association’s Recommended

- Institutional Regulations, to consider an allega-

tion that the reasons given, or other reasons that
were not stated, constitute a violation of academic
freedom or improper discrimination. The faculty
member may wish to petition a committee, in
accordance with Regulation 16 of the Recom-
mended Institutional Regulations, to consider

a complaint that the decision resulted from
inadequate consideration and was therefore unfair.
The faculty member may believe that a written
statement of reasons might be useful in pursuing
a professional career.

If the department chair or other appropriate
institutional officer to whom the request is made
believes that confirming the oral statement in
writing may be damaging to the faculty member
on grounds such as those cited earlier in this
statement, it would be desirable for that officer to
explain the possible adverse consequences of
confirming the oral statement in writing. If, in
spite of this explanation, the faculty member
continues to request a written statement, the
request should be honored.

The Association accordingly recommends:

4. Written Reasons
If the faculty member expresses a desire to
petition the grievance committee (such as is
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 118 of 120

described in Regulations 10 and 16 of the
Association’s Recommended Institutional
Regulations), or any other appropriate
committee, to use its good offices of inquiry,
recommendation, and report, or if the request
is made for any other reason satisfactory to the
faculty member alone, the reasons given in
explanation of the nonrenewal should be
confirmed in writing.

Review Procedures: Allegations of Violation

of Academic Freedom or of Discrimination

The best safeguard against a proliferation of
grievance petitions on a given campus is the
observance of sound principles and procedures of
academic freedom and tenure and of institutional
government. Observance of the procedures
recommended in this statement—procedures
that would provide guidance to nontenured
faculty members, help assure them of a fair
professional evaluation, and enlighten them
concerning the reasons contributing to key
decisions of their colleagues—should contribute
to the achievement of harmonious faculty
relationships and the development of well-
qualified faculties.

Even with the best practices and procedures,
however, faculty members will at times think that
they have been improperly or unjustly treated and
may wish another faculty group to review a
decision of the faculty body immediately in-
volved. The Association believes that fairness to
both the individual and the institution requires
that the institution provide for such a review
when it is requested. The possibility of a violation
of academic freedom or of improper discrimina-
tion is of vital concern to the institution as a
whole, and where either is alleged it is of cardi-
nal importance to the faculty and the administra-
tion to determine whether substantial grounds
for the allegation exist. The institution should
also be concerned to see that decisions respect-
ing reappointment are based upon adequate
consideration, and provision should thus be made
for a review of allegations by affected faculty
members that the consideration has been
inadequate.

Because of the broader significance of a
violation of academic freedom or of improper
discrimination, the Association believes that the
procedures to be followed in these two kinds of
complaints should be kept separate from a
complaint over adequacy of consideration.
Regulation 10 of the Recommended Institutional
Regulations provides a specific procedure for the
review of complaints of academic freedom
violation or of discrimination?

Ifa faculty member on probationary or other
nontenured appointment alleges that a decision
against reappointment was based significantly on
considerations that violate (1) academic freedom or
(2) governing policies on making appointments
without prejudice with respect to race, sex, religion,
national origin, age, disability, marital status, or
sexual orientation, the allegation will be given
preliminary consideration by the [insert name of
committee], which will seek to settle the matter by
informal methods. The allegation will be accompa-
nied by a statement that the faculty member agrees
to the presentation, for the consideration of the
faculty committee, of such reasons and evidence as
the institution may allege in support of its decision.
If the difficulty is unresolved at this stage, and if the
committee so recommends, the matter will be heard
in the manner set forth in Regulations 5 and 6,
except that the faculty member making the
complaint is responsible for stating the grounds
upon which the allegations are based, and the

burden of proof will rest upon the faculty member.
If the faculty member succeeds in establishing a
prima facie case, it is incumbent upon those who
made the decision against reappointment to come
forward with evidence in support of their decision.
Statistical evidence of improper discrimination may
be used in establishing a prima facie case.

The Association accordingly recommends:

5. Petition for Review Alleging an Academic
Freedom Violation or Improper Discrimination
Insofar as the petition for review alleges a
violation of academic freedom or improper
discrimination, the functions of the committee
that reviews the faculty member’s petition
should be the following:

a. to determine whether or not the notice of
nonreappointment constitutes on its face a
violation of academic freedom or improper
discrimination;

b. to seek to settle the matter by informal
methods;

c. if the matter remains unresolved, to decide
whether or not the evidence submitted in
support of the petition warrants a recom-
mendation that a formal proceeding be
conducted in accordance with Regulations 5
and 6 of the Recommended Institutional
Regulations, with the burden of proof
resting upon the complaining faculty
member.

Review Procedures: Allegations

of Inadequate Consideration

Complaints of inadequate consideration are likely
to relate to matters of professional judgment,

97
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 119 of 120

where the department or departmental agency
should have primary authority. For this reason,
the basic functions of the review committee
should be to determine whether the appropriate
faculty body gave adequate consideration to the
faculty member's candidacy in reaching its
decision and, if the review committee determines
otherwise, to request reconsideration by that
body.

It is easier to state what the standard “adequate
consideration” does not mean than to specify in
detail what it does. It does not mean that the
review committee should substitute its own
judgment for that of members of the department
on the merits of whether the candidate should be
reappointed or given tenure.* The conscientious
judgment of the candidate’s departmental
colleagues must prevail if the invaluable tradition
of departmental autonomy in professional
judgments is to prevail. The term “adequate
consideration” refers essentially to procedural
rather than to substantive issues: Was the decision
conscientiously arrived at? Was all available
evidence bearing on the relevant performance of
the candidate sought out and considered? Was
there adequate deliberation by the department
over the import of the evidence in light of the
relevant standards? Were irrelevant and improper
standards excluded from consideration? Was the
decision a bona fide exercise of professional
academic judgment? These are the kinds of
questions suggested by the standard “adequate
consideration.”

If, in applying this standard, the review
committee concludes that adequate consideration
was not given, its appropriate response should be
to recommend to the department that it assess the
merits once again, this time remedying the
inadequacies of its prior consideration.

An acceptable review procedure, representing
one procedural system within which such
judgments may be made, is outlined in Regulation
16 of the Recommended Institutional Regula-
tions, as follows:

If any faculty member alleges cause for grievance in
any matter not covered by the procedures described
in the foregoing regulations, the faculty member
may petition the elected faculty grievance commit-
tee [here name the committee] for redress. The
petition will set forth in detail the nature of the
grievance and will state against whom the grievance
is directed. It will contain any factual or other data
which the petitioner deems pertinent to the case.
Statistical evidence of improper discrimination,
including discrimination in salary, may be used in
establishing a prima facie case. The committee will

98

decide whether or not the facts merit a detailed
investigation; if the faculty member succeeds in
establishing a prima facie case, it is incumbent upon
those who made the decision to come forward with
evidence in support of their decision. Submission of
a petition will not automatically entail investigation
or detailed consideration thereof. The committee
may seek to bring about a settlement of the issue
satisfactory to the parties. If in the opinion of the
committee such a settlement is not possible or is not
appropriate, the committee will report its findings
and recommendations to the petitioner and to the
appropriate administrative officer and faculty body,
and the petitioner will, upon request, be provided an
opportunity to present the grievance to them. The
grievance committee will consist of three [or some
other number] elected members of the faculty. No
officer of administration will serve on the
committee.

The Association accordingly recommends:

6. Petition for Review Alleging

Inadequate Consideration

Insofar as the petition for review alleges

inadequate consideration, the functions of the

committee which reviews the faculty member's
petition should be the following:

a. to determine whether the decision was the
result of adequate consideration, with the
understanding that the review committee
should not substitute its judgment on the
merits for that of the body or individual
that made the decision;

b. to request reconsideration by the faculty
body when the committee believes that
adequate consideration was not given to
the faculty member's qualifications (in
such instances, the committee should
indicate the respects in which it believes
that consideration may have been inad-
equate); and

c. to provide copies of its report and recom-
mendation to the faculty member, the body
or individual that made the decision, and
the president or other appropriate adminis-
trative officer.

Notes

1. AAUP, Policy Documents and Reports, 11th ed.
(Baltimore: Johns Hopkins University Press, 2015), 85.

2. Ibid., 99.

3. Faculties processing complaints under Regula-
tions 10 and 16 may wish to secure the further advice of
the Association’s Washington office.

4. As used here, “department” may refer to any
institutional body or individual responsible for making
a recommendation or decision on reappointment.
Case 1:21-cv-02802-TWT Document 1 Filed 07/13/21 Page 120 of 120

VERIFICATION
I, K. Jeff Carney, M.D., Pharm D., after being sworn, upon personal

knowledge, state that the facts set forth in my Complaint in the within action are

MW Cunuy’

K. Jeff Carey, M.D., PharmD //

true and correct.

Sworn to and subscribed before
me this\2S'“* day of July, 2021.

j ) p YY ip 4,
e F “ é ° 7 * R etter tees,
Attn b2ugt $ 2M Oo

; wo O Se A
~ £ oa
Notary Public / > 3° N Tap ;
